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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                         :
IN RE MILLENNIAL MEDIA, INC.                             :   14 Civ. 7923 (PAE)
SECURITIES LITIGATION                                    :
                                                         :
                                                         :   JURY TRIAL DEMANDED
                                                         :   Consolidated with: 14 Civ. 8330 (PAE)
                                                         :
                                                         :
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                AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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       Co-Lead Plaintiffs Public Employees’ Retirement System of Mississippi (“Mississippi

PERS”) and the Bernard T. Selz 2008 15-Year Charitable Lead Annuity Trust; the Bernard T.

Selz 2008 20-Year Charitable Lead Annuity Trust; Karnak Partners, L.P.; and GAM Selection

Hedge Investments Inc. (collectively, the “Selz Funds” and, together with Mississippi PERS,

“Co-Lead Plaintiffs”) bring this action individually and on behalf of all persons and entities who

purchased or otherwise acquired the common stock of Millennial Media, Inc. (“Millennial

Media” or the “Company”) between March 28, 2012 and August 11, 2014, inclusive (the “Class

Period”), and were damaged thereby (the “Class”). Excluded from the Class are Defendants (as

set forth herein), present or former executive officers of Millennial Media and their immediate

family members (as defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and (1)(b)(2)).

       Co-Lead Plaintiffs bring this class action pursuant to the Securities Exchange Act of 1934

(the “Exchange Act”) on behalf of the Class. The Exchange Act claims allege that certain

Defendants engaged in a fraudulent scheme to artificially inflate the price of Millennial Media’s

common stock during the Class Period. Co-Lead Plaintiff Mississippi PERS also brings this

action pursuant to the Securities Act of 1933 (the “Securities Act”) on behalf of all persons or

entities who purchased the common stock of Millennial Media pursuant and/or traceable to two

registered public offerings. On or about March 28, 2012, Millennial Media commenced its initial

public offering (the “IPO”) through which the Company and certain of its shareholders sold more

than 11.7 million shares of common stock (including the full exercise of an underwriters’ option)

at $13.00 per share for aggregate gross proceeds of more than $152 million. Through a second

stock offering, commenced on or about October 24, 2012 (the “Secondary Offering” and together

with the IPO, the “Offerings”), Millennial Media and certain of its shareholders sold an

additional 11.5 million shares (including the full exercise of an underwriters’ option) at $14.15
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per share for aggregate gross proceeds of more than $162 million. The shareholders selling

through the Secondary Offering included venture capital firms and Defendants Bessemer Venture

Partners, Columbia Capital, Charles River Ventures, and New Enterprise Associates, Inc.

(“NEA”), who were members of Millennial Media’s board of directors (the “Board”). These

shareholders liquidated approximately 7.7 million of their privately held shares through the

Secondary Offering.

       Pursuant to the Securities Act, the Securities Act Defendants (as defined herein) are

strictly liable for material misstatements in the Registration Statements and Prospectuses issued

in connection with the Offerings (the “Offering Documents”), and the Securities Act claims

alleged herein specifically exclude any allegations of knowledge or scienter. The Securities Act

claims are based solely on strict liability and negligence, and are not based on any reckless or

intentionally fraudulent conduct by or on behalf of Defendants—i.e., the Securities Act claims do

not allege, arise from, or sound in, fraud. Co-Lead Plaintiff Mississippi PERS specifically

disclaims any allegation of fraud, scienter, or recklessness in its non-fraud claims.

       Co-Lead Plaintiffs allege the following based upon personal knowledge as to themselves

and their own acts and upon information and belief as to all other matters. Co-Lead Plaintiffs’

information and belief is based on, inter alia, the independent investigation of Court-appointed

Co-Lead Counsel, which included a review of U.S. Securities and Exchange Commission

(“SEC”) filings by Millennial Media; securities analysts’ reports about the Company; transcripts

of investor conference calls; press releases and media reports about the Company; interviews of

confidential witnesses (“CWs”); economic analyses of securities movements and pricing data;

and other publicly available material and data identified herein. Co-Lead Counsel’s investigation

into the factual allegations contained herein is continuing, and relevant facts are known only to




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the Defendants named herein, or are exclusively within their custody or control. Co-Lead

Plaintiffs believe that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for further investigation and discovery.

I.     INTRODUCTION

       1.      This case is about the executives who took Millennial Media public based on

materially false and misleading claims about the Company and the capabilities of its advertising

technology. Millennial Media is an online advertising company that reports its revenues based

on the number of times mobile users click on its clients’ advertisements or download its clients’

apps. It is therefore critically important to the Company and its investors that Millennial Media

accurately report those key user metrics to its clients, and that the Company had the technology

to track and report such data.

       2.      During the Class Period, the Company and its executives falsely and misleadingly

claimed that the Company accurately measured user behavior, attributed actions to specific users,

and provided developers with accurate reports of user behavior. For example, in the Registration

Statement filed on March 27, 2012 and the Prospectus filed on March 29, 2012 (together, the

“IPO Offering Documents”), the Company claimed that Millennial Media’s reports help

developers “gain insight into user interaction and behavior and the performance of their apps”

and that the Company has “sophisticated reporting and analytics,” which include

“comprehensive ad revenue generation reports.”

       3.      These claims were materially false and misleading because, unbeknownst to

investors, products and services crucial to Millennial Media’s business model were not fully

functional, and, in fact, were still in nascent stages when announced, leading to poor

performance and an inability to compete with more advanced competitors. Millennial Media in




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fact had little meaningful ability to accurately track and report end-user clicks, leading to

significant over-billing, which in turn led many of the Company’s customers to abandon it.

       4.      Specifically, third party data tracking companies hired by the Company’s own

clients found serious differences between the number of user interactions that Millennial Media

reported, and the actual number of user interactions the third parties tracked. The discrepancies

between Millennial Media’s reported numbers and those of the third party data trackers caused

Millennial Media’s clients to withdraw from the Company’s platform, or significantly reduce

their advertising expenditures with Millennial Media, resulting in significant losses in revenue.

       5.      Millennial Media and its executives also falsely and misleadingly claimed that the

Company’s technology platform, MYDAS, was “designed to address the needs” of performance

advertisers. Performance advertisers base their payments to Millennial Media not only on

advertising impressions but when users engage with an advertisement through, for example,

clicking on an advertisement or downloading an application (i.e., “conversions”). The claim that

the Company’s platform was “designed” for performance advertisers was materially false and

misleading because Millennial Media’s technology was unable to accurately track conversions,

which is a key requirement of performance-based advertisers. In fact, according to CW1,

Millennial Media did not have a competitive programmatic advertising business, and this

required the Company to engage in a costly acquisition of its competitor, Jumptap, which led to

significant dilution in the Company’s stock and loss of shareholder value.

       6.      After the Company acknowledged in November 2013, at the time it completed its

acquisition of Jumptap, that it needed to acquire Jumptap in order to “fill in real gaps” in

Millennial Media’s platform, it falsely represented to investors that the integration of Jumptap’s

technology with Millennial Media’s was “going well,” that the companies “fit very well




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together,” and that, “We’re rapidly bring[ing] the companies together as one.” In fact, numerous

confidential witnesses explained that these representations were false because it was nearly

impossible to integrate the Millennial Media and Jumptap technologies with one another because

of limitations inherent in each firm’s software.

       7.      The Defendants’ false and misleading statements to investors overstated the

Company’s true financial state and artificially inflated its stock price.     Millennial Media’s

executives and venture capital investors directly benefited from this inflation by selling tens of

millions of dollars of their own Millennial Media stock during the Company’s March 2012 IPO

and its October 2012 Secondary Offering without disclosing the truth to investors, and shortly

before the truth first began to emerge.

       8.      For example, Millennial Media co-founder and former CEO Paul J. Palmieri

(“Palmieri”) sold more than $8.85 million of his shares in the IPO and $14.80 million of his

shares in the Secondary Offering, which represented 25% of the shares that he held as of the

IPO. Former CFO Michael Avon (“Avon”) also sold more than $897,000 of his shares in the

IPO and $1.59 million of his shares in the Secondary Offering, which represented 43% of the

shares he held as of the IPO.

       9.      As the truth about Millennial Media’s operations and outlook became known to

investors, the artificial inflation was removed and the price of Millennial Media’s common stock

fell, declining by more than 89% from its Class Period high, causing significant damages to Co-

Lead Plaintiffs and the Class.

       10.     The revelation of the Defendants’ misstatements occurred through a series of

partial disclosures that included announcements of disappointing revenues and guidance, and that

Millennial Media needed to acquire competing businesses (such as Jumptap) in order to fill the




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gaps in its technology platform. Within approximately two years of the Company’s IPO, the

Company also announced the resignations of its Chief Technology Officer (“CTO”) and co-

founder, Chris Brandenburg (“Brandenburg”), its Chief Operating Officer (“COO”), Stephen

Root (“Root”), its Chief Executive Officer (“CEO”), Defendant Palmieri, and its Chief Financial

Officer (“CFO”), Defendant Avon. The reason for their resignations is clear: unbeknownst to

investors, Millennial Media simply could not deliver on the false claims the Defendants made

about the purported strength of the Company’s technology and its supposed financial success.

II.     JURISDICTION AND VENUE

        11.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the SEC,

17 C.F.R. § 240.10b-5; and Sections 11, 12(a)(2), and 15 of the Securities Act, 15 U.S.C. §§ 77k,

77l(a)(2) and 77o. Accordingly, this Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and Section 22

of the Securities Act, 15 U.S.C. § 77v.

        12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), Section 27 of the

Exchange Act, and Section 22(a) of the Securities Act. The Company conducted the Offerings in

this District and many of the acts that constitute the violations of law complained of herein,

including dissemination to the public of materially false and misleading information to the

investing public in connection with those transactions, occurred in and/or were issued from this

District. Additionally, a number of the Underwriter Defendants (as defined herein) maintain

their principal places of business in this District.

        13.     In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not




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limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

III.   THE EXCHANGE ACT CLAIMS

       A.      THE EXCHANGE ACT PARTIES

               1.     The Co-Lead Plaintiffs

       14.     Mississippi PERS, headquartered in Jackson, Mississippi, is a defined benefit

retirement system, established for the benefit of current and retired public employees of the State

of Mississippi, including individuals employed by the state’s public school districts,

municipalities, counties, community colleges, and state universities. As set forth in Exhibit B,

Mississippi PERS purchased Millennial Media common stock at artificially inflated prices

during the Class Period and was damaged thereby.

       15.     The Bernard T. Selz 2008 15-Year Charitable Lead Annuity Trust and the Bernard

T. Selz 2008 20-Year Charitable Lead Annuity Trust (the “Trusts”) are charitable lead annuity

trusts. Karnak Partners, L.P. (“Karnak”) is a private investment limited partnership. GAM

Selection Hedge Investments Inc. (“GAM”) is a private investment fund. The Trusts, Karnak

and GAM are collectively referred to herein as the “Selz Funds.” As set forth in Exhibit C, the

Selz Funds purchased Millennial Media common stock at artificially inflated prices during the

Class Period and were damaged thereby.

               2.     The Exchange Act Defendants

                      (a)     The Company

       16.     Defendant Millennial Media is a Delaware corporation that maintains its principal

executive offices at 2400 Boston Street, Suite 201, Baltimore, Maryland. At all relevant times,

Millennial Media’s common stock traded under the ticker symbol “MM” on the New York Stock

Exchange (the “NYSE”).


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                      (b)     The Individual Exchange Act Defendants

       17.     Defendant Palmieri was, at all relevant times prior to January 25, 2014, President

and CEO of Millennial Media, and a member of the Company’s Board. Defendant Palmieri was

also the co-founder of the Company. He resigned from Millennial Media less than two years

after the IPO. During the Class Period, CEO Palmieri made materially false and misleading

statements to investors, including in the Company’s periodic financial reports that he certified

and filed with the SEC, during investor conference calls and in statements to the media.

       18.     Defendant Avon was, at all relevant times prior to July 1, 2014, CFO and an

Executive Vice President of the Company. During the Class Period, CFO Avon made materially

false and misleading statements to investors, including in the Company’s periodic financial

reports that he certified and filed with the SEC, during investor conference calls and in

statements to the media.

       19.     Defendant Andrew J. Jeanneret (“Jeanneret”) was Chief Accounting Officer

(“CAO”) and a Senior Vice President of the Company during the Class Period and currently

serves as its CFO.     During the Class Period, CAO Jeanneret made materially false and

misleading statements to investors, including in the Company’s periodic financial reports that he

certified and filed with the SEC, during investor conference calls and in statements to the media.

       20.     Defendant Michael Barrett (“Barrett”) was, at all relevant times after January 25,

2014, President and CEO of the Company, and a member of the Company’s Board. During the

Class Period, CEO Barrett made materially false and misleading statements to investors,

including in the Company’s periodic financial reports that he certified and filed with the SEC,

during investor conference calls and in statements to the media.




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       21.     The Defendants described in paragraphs 17 to 20 are referred to collectively as

the “Individual Exchange Act Defendants.” Collectively, Defendant Millennial Media and the

Individual Exchange Act Defendants are referred to herein as the “Exchange Act Defendants.”

       B.      BACKGROUND ON MILLENNIAL MEDIA AND THE MOBILE
               ADVERTISING INDUSTRY

       22.     As Co-Lead Plaintiffs’ investigation has revealed, and as described by numerous

confidential witnesses discussed below: (a) Millennial Media’s success was critically dependent

on its technology; (b) the Company’s technology was not fully functional, was in nascent stages

when announced and lacked the capability to capitalize on performance advertisements; (c) the

Company’s revenues failed to meet Company and analyst expectations because its technology

was flawed and third parties exposed serious discrepancies in Millennial Media’s ability to

accurately track and report user data; and (d) the Company’s attempts at integrating its own

technology with the technology of its acquisition target utterly failed.

               1.      Millennial Media’s Business Depended on Its Technology

       23.     As a mobile advertising platform company, Millennial Media offers services to

two constituencies:

               a.      Advertisers and advertising agencies seeking to advertise to consumers on
                       mobile devices such as smartphones and tablets; and

               b.      Mobile application and website developers seeking to “monetize” their
                       software applications—otherwise known as “apps,” where consumers
                       engage with and consume digital content on their personal mobile
                       devices—by displaying advertisements to users.

       24.     Advertising clients pay Millennial Media to deliver their advertisements to

consumers on apps, and Millennial Media in turn pays developers a fee to place client

advertisements on their apps.




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       25.       In order to integrate the developers’ software into Millennial Media’s platform

and collect and transfer users’ data, developers downloaded Millennial Media’s “Software

Development Kits,” or SDKs, along with other data tools into their apps from the Company’s

“mMedia” self-service portal. An SDK is a set of software tools that can be used to develop

software applications targeting a specific platform. SDKs allow the developer’s app to display

several types of advertisements, including:

             •   “display banners,” which are static, animated or expandable advertisements that
                 appear on part of the screen in an app;

             •   “rich media,” which are interactive advertisements that exhibit dynamic motion
                 over time or in response to user interaction, such as a streaming ticker or an
                 interactive animated presentation; and

             •   “interactive videos,” which are videos that include buttons allowing the consumer
                 to interact with the advertisement by visiting a website, purchasing a product, or
                 recommending the product or video on social media sites.

       26.       Millennial Media generated revenue by charging advertisers to deliver

advertisements to mobile users. It recognized that revenue on three bases:

             •   cost per thousand (or “mille”) advertising impressions (“CPM”), where the
                 Company charged advertisers for each advertisement delivered to a consumer;

             •   cost per click (“CPC”), where the Company charged advertisers for each
                 advertisement clicked on by a consumer; or

             •   cost per action (“CPA”), where the Company charged advertisers each time a
                 consumer took a specified action, such as downloading an app.

       27.       Millennial Media’s “brand” advertisers, who purchased advertisements intended

only to be displayed before a user, such as display banners, rich media or video advertisements,

typically used CPM pricing. Millennial Media’s “performance” advertisers, who purchased

advertisements intended to spur users to engage in some action, such as interactive

advertisements, typically used CPC or CPA pricing.



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        28.     The core of Millennial Media’s proprietary technology was, at the time of its IPO,

a data platform called “MYDAS.” According to the Company’s Preliminary Prospectus filed

with the SEC on January 5, 2012, MYDAS purportedly matches advertising campaigns with

target audiences automatically in real time, “with the objective of delivering the right mobile ad

to the right person at the right time in the right place.”

        29.     When developers download and implement Millennial Media’s SDK, they

provide the Company with anonymous data about their apps and the users of their apps.

        30.     According to the Company, its platform provides developers with “sophisticated

reporting and analytics through an integrated dashboard on [the Company’s] mMedia portal,

which includes comprehensive ad revenue generation reports for their apps across all major

operating systems.” The Company also claims that these reports help developers gain insight

into user interaction and behavior to improve their apps and maximize their ad revenue.

        31.     Throughout the Class Period, the securities analysts that covered Millennial

Media reiterated the Company’s claims about its technology and reported that the Company’s

purportedly superior technology was the key to its success. For example:

                •       On May 8, 2012, Morgan Stanley commented that Millennial Media’s
                        suite of analytics was “a key retention product for existing users, and a key
                        selling point for new users” and that “real-time audience profiling” was a
                        feature that “may be unique to [the Company] among competing mobile
                        ad networks.”

                •       On July 19, 2012, ThinkEquity also wrote that “Millennial’s advertiser
                        and publisher services are built upon the company’s core technology
                        engine, MYDAS” which performs its “ key functions with high reliability,
                        speed (within 50 milliseconds) and scale (over 1.5B ad requests per day).”
                        ThinkEquity further stated that the Company’s “specialized and advanced
                        MYDAS mobile ad technology platform” was a “competitive advantage”
                        and represented “significant sources of competitive differentiation” that
                        raised “barriers to competitive entry.”

                •       On August 9, 2012, Capstone Investments stated: “Technology
                        Increasingly A Differentiator. Mgmt highlighted technological


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                       competitive advantages that we believe are overlooked by investors but
                       are important for MM to continue stealing share in mobile. In addition to
                       analytics for advertisers MM provides developers strong analytic software
                       in its SDK. For example, developers can choose among many ad formats
                       and track performance across its inventory. It will be difficult for startups
                       to replicate this efficiently, in our opinion.”

               2.      Advertisers and Developers Depended on Millennial Media’s Ability
                       to Accurately Track and Report User Data

       32.     As discussed above, Millennial Media’s business includes brand advertising and

performance advertising. Performance advertisements are intended to spur mobile users to

engage in some action, including clicking on the advertisement and further interacting with it

(such as by purchasing the advertised product or filling out a form with the user’s contact

information). A user taking additional steps after clicking on an advertisement is called a

“conversion” because a customer’s click has translated – or “converted” – into business, and the

conversion reflects the advertisement’s ability to involve the user.

       33.     It is critically important for advertisers to accurately track each conversion

because tracking allows the advertiser to understand which of its advertisements are driving

conversions and which are not. This process is called “conversion tracking” and it allows

advertisers to understand the return they are receiving on their advertising investments, i.e., how

much “bang” they are receiving for their advertising “buck.”

       34.     Millennial Media’s ability to accurately track conversions was therefore critical to

its ability to attract and retain advertising and developer clients and generate revenue.         If

advertisers or developers were to find that Millennial Media were overstating the number of its

users’ conversions, that would severely damage the advertisers’ and developers’ confidence in

Millennial Media’s platform and its value to them. Millennial Media has attempted to track user

conversions in at least three different ways. First, “mobile web tracking” allows advertisers or

developers to pass conversion data directly from their servers to Millennial Media’s server.


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Second, “application tracking” allows Millennial Media to track conversions using its SDK after

an advertiser or developer embeds the SDK into its application. A third way that Millennial

Media may track conversions is by collecting conversion data from third party data tracking

services.

        35.   Millennial Media admits on its website that “[t]he tricky part for conversion

tracking is the matching” of a conversion to the initial click that led to the conversion.1

Millennial Media acknowledges that this process “can be difficult” because, for example, there

may sometimes be a significant time gap between a click and its conversion. However, the

Company claims that Millennial Media’s technology has been developed “to deliver very

effective matching results.” As alleged below, such claims are materially false and misleading.

        C.    THE DEFENDANTS’ FRAUDULENT SCHEME

              1.      In the March 2012 IPO, Millennial Media and Company Insiders Sold
                      More than $152 Million in Stock to Investors Based on Material
                      Misrepresentations and Omissions

        36.   On January 5, 2012, Millennial Media filed a Form S-1 Registration Statement

with the SEC in connection with the Company’s contemplated IPO. The Company filed five

amended versions of the IPO Registration Statement between February 10 and March 27, 2012.

        37.   On March 28, 2012, Millennial Media’s IPO Registration Statement was declared

effective and the Company finalized its completed IPO Prospectus. As set forth in the IPO

Offering Documents, Millennial Media registered 10.2 million shares of common stock plus an




    1
      http://docs.millennialmedia.com/conversion-tracking/references/what-is-conversion-
tracking.html

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underwriters’ over-allotment option for an additional 1,530,000 shares to be offered to the public

at $13.00 per share.2

        38.    On March 29, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the IPO Offering Documents pursuant to Rule 424(b)(4) with the

SEC. The IPO Offering Documents included materially false and misleading descriptions of the

Company and its technology in the four respects discussed below.

                        (a)   Millennial Media Misstated the Company’s Ability to
                              Accurately Measure, Attribute and Report User Behavior

        39.    In the IPO Offering Documents, the Company and Exchange Act Defendants

Palmieri, Avon and Jeanneret, made the materially false and misleading claims that:

               Each time an app makes a request to receive an ad, the MYDAS
               platform performs several tasks automatically and in real-time,
               including identifying unique users; targeting ads based on user
               interest, behavior and location; delivering those ads to millions of
               users through tens of thousands of apps, running on thousands of
               different device types; ensuring that the ads will work over
               wireless connections of varying quality and speed; and measuring
               user engagement and ad performance.

                                            *            *   *

               We offer developers sophisticated reporting and analytics through
               an integrated dashboard on our mmDev portal, which includes
               comprehensive ad revenue generation reports for their apps
               across all major mobile operating systems. These reports help
               developers gain insight into user interaction and behavior and
               the performance of their apps. We share this performance data
               with developers to help them improve their apps and their
               deployment of our [software development kits, or “SDK”s] in
               order to maximize their ad revenue.3




    2
       On or about April 4, 2012, Millennial Media completed its IPO, including the full exercise
of the underwriters’ over-allotment option.
     3
       A chart of the false and misleading statements alleged herein is attached hereto as Exhibit
A.

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       40.     The foregoing statements were materially false and misleading because they

misstated and overstated the Company’s ability to “measure[e] user engagement and ad

performance”; issue reports that “help developers gain insight into user interaction and behavior

and the performance of their apps”; “gain important insights about users”; and how Millennial

Media had “sophisticated reporting and analytics,” which include “comprehensive ad revenue

generation reports.”

       41.     In reality, as discussed below, third party data tracking companies were able to

expose serious deficiencies in how Millennial Media reported to developers the amount of user

interaction on Millennial Media’s platform; the Company was unable to accurately perform

conversion matching; and the Company’s reports to developers were inaccurate, which was

causing Millennial Media’s clients to depart or significantly reduce their advertising

expenditures with the Company.

       42.     According to CW2, in or around February and March of 2012, Millennial Media’s

clients began employing “third party tracking services,” which exposed the Company’s inability

to accurately track and report advertisement-related clicks and actions by users. CW2 joined the

Company in October 2011 in its home office in Baltimore as an account associate on the

performance team, and relocated to the San Francisco office in September 2012 where he was

promoted to account executive. In October 2013, CW2 left the Company in part because of

Millennial Media’s chronic technology issues. CW2 explained that, once third party tracking

services began tracking revenue and customer lifetime value information (i.e., the projected

revenue that a customer will generate during their lifetime) for apps, it became apparent that

Millennial Media had “huge integration issues” with how it integrated its technology with




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developers’ apps, which, while it was not common knowledge, would force Millennial Media to

entirely rebuild its systems.

       43.     Specifically, CW2 stated that he learned from Millennial Media’s engineers that

the Company’s technology was originally built very quickly, and adaptations were built on top of

that foundation, making adaptation to changes time consuming. As a result, Millennial Media’s

foundation needed to be completely rebuilt.        According to CW2, Millennial Media had

difficulty matching conversions by users. For example, CW2 explained that, when a user opened

an app, a conversion event occurred, which was then transmitted to the third party to track. The

third party then in turn sent the conversion event to Millennial Media to “match” the conversion.

But a disconnect occurred when Millennial Media tried to match the conversions. And when

Millennial Media tracked user conversions directly (as opposed to when they were tracked by

third parties), according to CW2, Millennial Media over-counted user conversions.

       44.     CW2 stated that, after Millennial Media’s clients began employing these tools, the

Company’s revenue decreased substantially, by approximately 60%. This included clients who

had been spending $50,000 per day on advertising through Millennial Media, and suddenly, with

the advent of third party trackers, the amount they spent on advertising dropped to $6,000 per

day because of huge discrepancies in user tracking data between what Millennial Media reported

and what the data trackers reported.

       45.     For example, CW2 stated that Millennial Media saw a significant decline in the

revenue generated from Supercell (the developer of the video game “Clash of Clans,” among

others), who began using a third party tracking service known as “HasOffers” in February and

March of 2012.




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       46.      Millennial Media’s inability to collect and report clean and accurate user data is

corroborated by confidential witnesses by CW3, who was a User Interface Architect in

Millennial Media’s Baltimore office from May 2011 through March 2013. According to CW3,

data reporting at Millennial Media was not sophisticated and an overhaul was long overdue.

According to CW3, there were seven or eight tools on the Company’s “backend” from which the

Company needed to collect data, which made it difficult to perform reporting. In addition, a

former salesperson at Millennial Media, who did not have a programming background, was the

person responsible for handling internal queries for reporting purposes, and, overall, the

Company’s approach was not an effective way to report its data.

       47.      The fact that these technological failings existed at Millennial Media at the time

of the IPO is corroborated by developments that occurred after the IPO. For example, according

to CW2, Danielle Repetti (currently Vice President of Performance at Millennial Media) met

regularly with Defendant Palmieri in the Fall of 2012 about discrepancies in Millennial Media’s

revenue due to the introduction of third party trackers. The third party trackers were able to

expose Millennial Media’s inability to accurately track users and report accurate data (which

existed at the time of the IPO) and caused the Company to lose clients and revenue. By the time

CW2 left Millennial Media in October 2013, the Company was no closer to finding a solution to

this problem.

       48.      CW5 corroborated Millennial Media’s loss of customers after the emergence of

third party tracking. CW5 was a Millennial Media account executive and director of sales from

approximately March 2010 to August 2012, and Regional Vice President of Performance from

approximately August 2012 to November 2013. CW5 focused on driving users of an application

or game to view an advertiser’s website or to download their application. To do so, CW5’s team




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paired advertisers with application and game developers.       According to CW5, significant

customers such as Zillow, a real-estate website, and DeNA, a Japanese mobile developer,

materially reduced or eliminated their budgets at Millennial Media beginning in late 2012 due to

the increased usage of third party tracking services. As a result, CW5 stated that CW5’s

performance advertising team lost “well over” 50% of their revenue in early 2013, a trend that

progressively worsened.

                      (b)      Millennial Media Misstated that the Company’s Technology
                               Was “Designed to Address” the Needs of Performance
                               Advertising Clients

       49.    In the IPO Offering Documents, the Company and Exchange Act Defendants

Palmieri, Avon and Jeanneret, made the materially false and misleading claims that Millennial

Media was successfully selling performance advertisements to large and small clients:

              Our solutions are designed to address the needs of large brand
              advertisers and advertising agencies as well as smaller,
              performance-based advertisers. Large brand and performance
              advertisers typically buy ads on our platform through our sales
              teams.

       50.    The foregoing statements in paragraph 49 were materially false and misleading

because they misstated that the Millennial Media platform was “designed to address” the needs

of performance-based advertisers – i.e., companies whose advertisements depend on the ability

to track user actions and conversions. As discussed above in paragraphs 40 through 48, these

claims were materially false and misleading because the Company was unable to accurately track

and report user conversions.

       51.    The Company’s true lack of performance advertising capability is also

corroborated by the fact that Millennial Media announced its need to acquire its competing

mobile advertising platform, Jumptap, approximately 17 months after the IPO. As Palmieri told

investors on August 13, 2013, when announcing the acquisition of Jumptap, “where Millennial is


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known as the leader in mobile brand advertising, Jumptap has more of a focus on the

performance advertising side of the business.”

       52.     CW6, an executive previously at Jumptap from August 2012 until November

2013, and then an executive at Millennial Media until October 2014, confirmed that it was

“necessary” for Millennial Media to acquire Jumptap because Millennial Media did not have the

technological capability to grow its performance business, which was “dwindling fast.”

Moreover, after CW6 joined Millennial Media from Jumptap, CW6 found out that not only was

Millennial Media’s technology lacking, but that it was having issues with attribution – i.e., its

ability to attribute user actions to advertisements.

       53.     In addition, CW1, a senior executive at Fiksu, Inc., a media buying entity that

represents over 1000 clients, such as Zillow, confirmed that Millennial Media needed to acquire

Jumptap because its then-current platform could not capitalize on programmatic advertising. At

Fiksu, CW1 oversees Fiksu’s operations, strategic management, planning and implementation

across all of the company’s groups. According to CW1, one of Fiksu’s missions is to track,

attribute, and optimize mobile advertising for clients. CW1 stated that Millennial Media needed

to acquire Jumptap because Millennial Media’s programmatic tools were not competitive and

did not yield the installs necessary for client optimization.

                       (c)     Millennial Media Misrepresented the True Condition of Its
                               mMedia Self-Service Function

       54.     In the IPO Offering Documents, the Company and Exchange Act Defendants

Palmieri, Avon and Jeanneret, also made the materially false and misleading claim that, “Smaller

advertisers typically buy ads either through our sales team or through our self-service advertising

portal, mMedia.” This statement was materially false and misleading because the Company’s

technological products and services crucial to Millennial Media’s business model, such as the



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mMedia self-service advertising portal, were still in nascent stages when announced, leading to

rushed, slipshod programming, poor performance, failure and an inability to compete with more

advanced competitors.

       55.     CW7 stated that CW7’s testing of the Company’s mMedia software often revealed

that it was not functioning well enough to be released. CW7 was a Quality Assurance Manager

at Millennial Media from approximately October 2010 to May 2013. CW7 managed a team of

five employees who tested new software and software updates related to the Company’s mMedia

self-service advertising portal. CW7’s team was responsible for testing how mMedia’s software

interacted across various platforms and operating systems, such as how the software might

function on an Android system and Apple’s iOS system simultaneously. During CW7’s time at

the Company, Millennial Media published software that was not functioning properly. Yet, CW7

was pressured by the Vice President of Technology to approve the release of software updates

and releases almost simultaneously with “hot” or “bug” fixes for the underlying, malfunctioning

software. Significantly, even though CW7 voiced objections to the release of malfunctioning

software on Millennial Media’s internal Production Software Release Forms, which were signed

by the Vice President of Technology, Millennial Media still released the malfunctioning software.

According to CW7, the Vice President of Technology was pressured by upper management to

push out software releases, often commenting that “management wants this thing out, [so] it’s

going out,” regardless of whether the software was ready to be released.

                      (d)     Millennial   Media       Misstated   Its     “Real-Time   Bidding”
                              Capability

       56.     In the IPO Offering Documents, the Company and Exchange Act Defendants

Palmieri, Avon and Jeanneret, also made the materially false and misleading claim that

Millennial media had “real-time bidding” (“RTB”) capability. RTB capability is a means by



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which advertising inventory is bought and sold on a per-impression basis, via programmatic,

instantaneous auction, similar to financial markets. The IPO Offering Documents claimed that:

               After MYDAS identifies the unique user associated with a specific
               ad request, the context around the ad request and the audiences to
               which the user belongs, MYDAS delivers the request to a real-
               time, bidded marketplace in which it matches available ads with
               available ad requests. MYDAS performs a sophisticated statistical
               analysis to automatically run an instantaneous virtual auction in
               which each qualified ad campaign bids on each available ad
               request. We call this process optimization and decisioning . . . .
               When MYDAS enters an ad request into the marketplace, each
               agent bids on the ad request, and the platform then matches the
               best available ad to the specific ad request.

       57.     These claims were materially false and misleading because Millennial Media’s

platform did not have a “real time, bidded marketplace” until it acquired another company called

Metaresolver with apparent RTB expertise one year later, in April 2013. In fact, as Palmieri told

investors on May 8, 2013, Millennial Media acquired Metaresolver because Metaresolver offered

“programmatic buying and selling” – i.e., real-time bidded marketplace technology, which was

an admission that the Company had this significant gap in its own technological capabilities.

                      (e)     The Offering Documents Did Not Satisfy Item 303 or
                              Regulation C

       58.     Pursuant to Item 303 of SEC Regulation S-K, the Offering Documents were

required to disclose, “any known trends or uncertainties that have had, or that you reasonably

expect will have, a material favorable or unfavorable impact on sales or results of operations.”

17 C.F.R. § 229.303. In addition to the identification of such “known trends,” Item 303 requires

disclosure of (i) whether those trends have had or are reasonably expected to have a material

unfavorable impact on revenue; and (ii) the extent of any such impact on revenue.

       59.     Accordingly, the Company and Defendants Palmieri, Avon and Jeanneret had a

duty to disclose: (i) whether the increasing presence of “third party tracking services” in the



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market had or was reasonably expected to have a “material . . . unfavorable impact on . . .

revenues,” and (ii) to what extent those trends had impacted or were reasonably expected to

impact Millennial Media’s revenue. Nevertheless, Defendants omitted this information from the

Offering Documents and/or otherwise failed to adequately disclose it during the Class Period.

Specifically, in violation of Item 303, the IPO and Secondary Offering Registration Statements

and Prospectuses failed to disclose that:   the known trends of increasing third party tracking

services in the market and the Company’s increasing technological failures were having a

material unfavorable impact on Millennial Media’s revenues and financial results. See ¶¶ 40-48.

       60.     Finally, the Offering Documents were also materially false and misleading

because they failed to disclose the information required by Rule 408 of SEC Regulation C,

pursuant to which registrants have an overarching duty to disclose material information

necessary to ensure that representations in a registration statement are not misleading.

Specifically, Rule 408 requires that, “[i]n addition to the information expressly required to be

included in a registration statement, there shall be added such further material information, if

any, as may be necessary to make the required statements, in light of the circumstances under

which they are made, not misleading.” 17 C.F.R. § 230.408(a).

       61.     The IPO Offering Documents, in their entirety, and as set forth specifically above,

were materially untrue and misleading and omitted to state material information necessary to

make them not misleading, in violation of Defendants’ duty of disclosure under Rule 408.

Similarly, the Secondary Offering Registration Statement and Prospectus, in their entirety, and as

set forth specifically below, were materially untrue and misleading and omitted to state material

information necessary to make them not misleading, in violation of Defendants’ duty of

disclosure under Rule 408. The Offering Documents specifically failed to disclose that the




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growing presence of third party tracking services in the market and the Company’s increasing

technological failures was having a material unfavorable impact on the Company’s revenues and

financial results. See ¶¶ 40-48.

                       (f)      Millennial Media and Company Insiders Sold Tens of Millions
                                of Dollars of Stock in the IPO

        62.    On March 29, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the IPO Registration Statement and filed its IPO Prospectus pursuant

to Rule 424(b)(4) with the SEC. Trading in Millennial Media shares commenced on the NYSE

on March 29, 2012. The Company’s stock price rose $12.00, or 92.31%, to close at $25.00 per

share during the trading session that day.

        63.    Based on the materially false and misleading public disclosures discussed above,

Millennial Media and certain of its officers and directors, including Exchange Act Defendants

Palmieri and Avon, sold more than $152 million in stock to public investors in the IPO. Insider

sales amounted to approximately 13% of the total value of the IPO. Indeed, Defendants Palmieri

and Avon, and CTO Brandenburg and COO Root, alone, sold nearly $20 million in stock, as

reflected in the chart below:

              Individual                     Number of      Price4             Value of
                                             Shares Sold                      Shares Sold
Former CEO Paul Palmieri                       732,562      $12.09           $8,856,674.58
Former CTO Chris Brandenburg                   605,605      $12.09          $7,321,764.45
Former COO Stephen Root                        237,936      $12.09          $2,876,646.24
Former CFO Michael Avon                        74,241       $12.09            $897,573.69
             Total                            1,650,344                     $19,952,658.96




    4
       $12.09 was the proceeds per share to selling stockholders in the IPO. $13.00 was the price
to the public.

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               2.      Defendants Artificially Inflated the Price of Millennial Media Stock in
                       the Months Leading Up to the Company’s October 2012 Secondary
                       Offering

       64.     For the six months following Millennial Media’s IPO, a massive percentage of the

Company’s shares were restricted from being sold by the Company or its executives in

connection with “lock-up agreements” between the Company and the underwriters for the IPO.

This included shares held by the selling stockholders in the IPO.

       65.     As alleged below, during the lock-up period, in the months before Millennial

Media executives Palmieri and Avon could again sell their shares, the Exchange Act Defendants

continued to issue materially false and misleading statements to the public that inflated the

Company’s share price. As Seeking Alpha wrote on September 20, 2012, “[o]n September 25,

64.3 million shares, representing 84.5% of shares outstanding, of Millennial Media come off of

lock-up . . . . With the upcoming lock-up expiration, management has chosen not to maintain a

low profile, but instead has been actively touting their story.”

                       (a)     The Company’s False and Misleading Disclosures Concerning
                               First Quarter 2012 Financial Results

       66.     On May 14, 2012, after the markets had closed, the Company issued a press

release on Form 8-K signed by Defendant Avon announcing its results of operations for the first

quarter of 2012. The Company reported that “total revenue was $32.9 million,” gross margin

was 39.5%, and the Company had 300 million monthly unique users worldwide. The Company

also offered revenue guidance for: (1) the second quarter of between $37 million and $38

million; and (2) the full year 2012 of between $173 million and $176 million.

       67.     In connection with these results, in the Company’s May 14, 2012 press release,

CEO Palmieri made the materially false and misleading claim that:

               Our first quarter performance exceeded expectations with strong
               year over year revenue growth, as well as expansion in the


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              numbers of unique users and apps on the Millennial Media
              platform. . . . As a market leader, we believe Millennial Media is
              well-positioned to drive the business model of the worldwide app
              economy.

       68.    That same day, Millennial Media hosted a conference call for investors and

analysts to discuss these results. As part of his prepared remarks, CEO Palmieri made the

materially false and misleading claim:

              We designed MYDAS for the mobile environment, where the
              delivery and targeting of ads must allow for a much greater
              number of variables than in traditional online advertising. When
              an ad request comes to the system, MYDAS accounts for and
              analyzes hundreds of variables in real time. The system uses our
              own anonymous identifier; appends profile, location, usage and
              audience data; and operates a realtime marketplace to determine ad
              placement. We then use our technology to handshake with our
              SDK software that developers have already embedded in their apps
              to determine and execute the best display of the ad within the app
              for mobile site.

       69.    Equity analysts reported positively on the Company’s results and disclosures. For

example, on May 14, 2012, Morgan Stanley issued a report entitled Millennial Media Inc

CQ1:2012: A Great Start, which stated in part:

              Our take: MM’s 1Q outperformance across revenue, gross
              margin, and EBITDA metrics underscores our belief that MM
              delivers market-leading ad targeting capabilities to advertisers and
              superior monetization to developers. At a closing price of $15.45,
              our risk/reward view improves relative to our May 8 report “A
              Pure Play on Mobile Advertising, but Upside May Be Priced In”.

       70.    On May 15, 2012, prior to the opening of the markets, Millennial Media filed its

quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon, which

also reported revenue of $32.93 million.

       71.    The Company’s May 15, 2012 Form 10-Q included a certification pursuant to

Section 302 of the Sarbanes-Oxley Act of 2002 signed by CEO Palmieri, incorporated therein as

Exhibit 31.1, which made the materially false and misleading claims that:


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     I, Paul J. Palmieri, certify that:

     1. I have reviewed this Quarterly Report on Form 10-Q of
     Millennial Media, Inc.;

     2. Based on my knowledge, this report does not contain any untrue
     statement of a material fact or omit to state a material fact
     necessary to make the statements made, in light of the
     circumstances under which such statements were made, not
     misleading with respect to the period covered by this report;

     3. Based on my knowledge, the financial statements, and other
     financial information included in this report, fairly present in all
     material respects the financial condition, results of operations and
     cash flows of the registrant as of, and for, the periods presented in
     this report;

     4. The registrant’s other certifying officer(s) and I are responsible
     for establishing and maintaining disclosure controls and
     procedures (as defined in Exchange Act Rules 13a-15(e) and 15d-
     15(e)) and internal control over financial reporting (as defined in
     Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:

             a) designed such disclosure controls and procedures, or
             caused such disclosure controls and procedures to be
             designed under our supervision, to ensure that material
             information relating to the registrant, including its
             consolidated subsidiaries, is made known to us by others
             within those entities, particularly during the period in
             which this report is being prepared;

             b) designed such internal control over financial reporting,
             or caused such internal control over financial reporting to
             be designed under our supervision, to provide reasonable
             assurance regarding the reliability of financial reporting
             and the preparation of financial statements for external
             purposes in accordance with generally accepted accounting
             principles;

             c) evaluated the effectiveness of the registrant’s disclosure
             controls and procedures and presented in this report our
             conclusions about the effectiveness of the disclosure
             controls and procedures, as of the end of the period covered
             by this report based on such evaluation; and

             d) disclosed in this report any change in the registrant’s
             internal control over financial reporting that occurred


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                      during the registrant’s most recent fiscal quarter (the
                      registrant’s fourth fiscal quarter in the case of an annual
                      report) that has materially affected, or is reasonably likely
                      to materially affect, the registrant’s internal control over
                      financial reporting; and

              5. The registrant’s other certifying officer(s) and I have disclosed,
              based on our most recent evaluation of internal control over
              financial reporting, to the registrant’s auditors and the audit
              committee of the registrant’s board of directors (or persons
              performing the equivalent functions):

                      a) all significant deficiencies and material weaknesses in
                      the design or operation of internal control over financial
                      reporting which are reasonably likely to adversely affect
                      the registrant’s ability to record, process, summarize and
                      report financial information; and

                      b) any fraud, whether or not material, that involves
                      management or other employees who have a significant
                      role in the registrant’s internal control over financial
                      reporting.

       72.    The Company’s May 15, 2012 Form 10-Q also included a substantially similar

materially false and misleading certification, signed by CFO Avon, as Exhibit 31.2.

       73.    The foregoing statements made by the Company and Defendants Palmieri and

Avon in paragraphs 66 to 68 and 70 to 72, when reporting on the Company’s results of

operations for the first quarter of 2012, including the Company’s reported revenues and the

features of its technology, were materially false and misleading for the reasons set forth in

paragraphs 40 to 48, 51 to 55 and 57 above.

       74.    In addition, the foregoing statements in the Sarbanes Oxley certifications signed

by Defendants Palmieri and Avon regarding the Company’s purported internal controls over

financial reporting to reflect the Company’s results of operations were materially false and

misleading because the Company lacked adequate internal control to ensure that its reporting of




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critical user metrics (like user clicks and conversions) were accurate, and the Company’s

reported revenues were inaccurate as a result.

                       (b)    Palmieri’s Statements to CNBC on May 22, 2012

         75.    In his first television interview following the Company’s IPO, with CNBC on

May 22, 2012, Defendant Palmieri made the materially false and misleading claim that “We’re

seeing incredible growth.”5     When asked how Millennial Media was monetizing apps for

developers with users clicking on advertisements in those apps, Palmieri responded, “The

technology is difficult to do . . . . This transition based on the technologies of all different

handsets with different flavors of the operating systems is what’s difficult to do, [but] it’s what

we’ve focused on for the last six years, it’s the reason for our success.”

         76.    Palmieri’s statements touting the Company’s growth, and about the Company’s

ability to accomplish the “difficult” task of tracking user clicks based on the Company’s

technology in paragraph 75 were materially false and misleading when made for the reasons set

forth in paragraphs 40 to 48, 51 to 55 and 57 above.

                       (c)    The Company’s False and Misleading Disclosures Concerning
                              Second Quarter 2012 Financial Results

         77.    On August 8, 2012, after the markets had closed, the Company issued a press

release on Form 8-K signed by Defendant Avon announcing the Company’s results of operations

for the second quarter of 2012. The Company reported that “total revenue was $39.4 million,”

gross margin was 39.7%, and there were more than 350 million monthly unique users

worldwide. The Company also offered revenue guidance for: (1) the third quarter of between

$43.5 million and $45 million; and (2) the full year 2012 of between $176 million and $179

million.


    5
        http://video.cnbc.com/gallery/?video=3000091712

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       78.     That same day, Millennial Media hosted a conference call for investors and

analysts to discuss these results. As part of his prepared remarks, CEO Palmieri made the

materially false and misleading claims that:

               We have built the technologies and products that solve for the
               complexities and challenges inherent in mobile, while also taking
               advantage of an entirely new opportunity presented by mobile...

                                         *       *      *

               [O]nce a campaign has run, we are able to provide increasingly
               more comprehensive analytics and insights, enabling them to
               develop even more effective campaigns in the future on our
               platform.

       79.     On August 9, 2012, prior to the opening of the markets, Millennial Media filed its

quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon, which

also reported revenue of “$39.4 million” as set forth in the Company’s August 8, 2012 press

release. The Company’s Form 10-Q also included certifications pursuant to Section 302 of the

Sarbanes-Oxley Act of 2002, signed by Defendants Palmieri and Avon, substantially similar to

those described in paragraphs 71 and 72.

       80.     The foregoing statements made by the Company and Defendants Palmieri and

Avon in paragraphs 77 to 79 when reporting on the Company’s results of operations for the

second quarter of 2012, including their materially false and misleading statements that Millennial

Media had “built the technologies and products that solve for the complexities and challenges

inherent in mobile” and that “once a campaign has run, [Millennial Media is] able to provide

increasingly more comprehensive analytics and insights,” were materially false and misleading

for the reasons set forth in paragraphs 40 to 48, 51 to 55, 57 and 74 above.




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                      (d)     The August 14, 2012 Oppenheimer Technology, Internet &
                              Communications Conference

       81.     On August 14, 2012, Millennial Media presented at the Oppenheimer Technology,

Internet & Communications Conference. During the Company’s presentation, Defendant Avon

made the materially false and misleading statement that:

               We designed MYDAS for the mobile environment where the
               delivery and targeting of ads must allow for a larger number of
               variables that are not traditional in online advertising . . . . We
               have built an industry-leading technology and data asset, and we
               believe we will drive meaningful leverage in our model moving
               forward.

       82.     Defendant Avon’s statement that the Company had an “industry-leading

technology asset” in paragraph 81 was materially false and misleading for the reasons set forth in

paragraphs 40 to 48, 51 to 55 and 57 above.

                      (e)     The August 15, 2012 Canaccord Global Growth Conference

       83.     On August 15, 2012, CFO Avon conducted a presentation in connection with

Canaccord’s Global Growth Conference. As part of his prepared remarks, CFO Avon made the

materially false and misleading claims that:

               [W]e offer sophisticated reporting and analytics for developers
               through an integrated dashboard. Our deep level of technical
               integration with apps across our platform drives our ability to
               deliver rich, differentiated ad experiences to advertisers.
               Advertisers use our platform to reach[,] target and engage specific
               audiences of consumers via apps on the platform.

       84.     These statements in paragraph 83 were materially false and misleading for the

reasons set forth in paragraphs 40 to 48, 51 to 55 and 57 above.

                      (f)     Palmieri’s Statements to CNBC on September 12, 2012

       85.     On September 12, 2012, Defendant Palmieri was a guest on Jim Cramer’s CNBC

television show “Mad Money” and touted the Company’s purported ability to track conversions



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and provide advertisers with hard, actionable data regarding the return on their investment.

Palmieri made the materially false and misleading claim on the broadcast that: “I love to close

the loop. So, not only show an ad but then come back and say, ‘well, how did that work and did

it really deliver return on investment for the advertiser?’ Because return on investment [“ROI”]

for the advertiser is the way that advertisers care less about price and I can be more aggressive on

pricing, when we’re really hitting ROI.”6

        86.    Defendant Palmieri’s statements in paragraph 85 that Millennial Media was able

to “close the loop” through conversion tracking and inform advertisers about their “return on

equity” for an advertisement, and therefore increase the Company’s prices for its advertising

clients, were materially false and misleading for the reasons set forth in paragraphs 40 to 48, 51

to 55 and 57 above.

                       (g)    The September 20, 2012 Goldman Sachs Communacopia
                              Conference

        87.    On September 20, 2012, Millennial Media presented at the Goldman Sachs

Communacopia Conference. During the Company’s presentation Defendant Palmieri falsely and

misleadingly claimed with respect to Millennial Media’s technology that,

               [W]e . . . believe that the largest companies in the world with
               unlimited resources couldn’t really replicate what we’ve been
               building over the past six years or so, given how much investment
               and time and expertise that we have specifically in utilizing this
               data from mobile consumers.

        88.    This statement in paragraph 87 was materially false and misleading for the

reasons set forth in paragraph 40 to 48, 51 to 55 and 57 above.




    6
      http://www.stockrants.com/2012/09/12/millennial-media-ceo-desktop-to-mobile-
advertising.html

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               3.     In Its October 2012 Secondary Offering, Millennial Media Insiders
                      Sold More than $38.7 Million in Stock to Investors Based on Material
                      Misrepresentations and Omissions

       89.     The Defendants’ statements to the media leading up to the Secondary Offering

artificially inflated the price of Millennial Media stock and allowed them to sell their own shares

of the Company at inflated prices. For example, on September 11, 2012, Canaccord issued a

report on its meetings with Millennial Media entitled “Upbeat Management Meetings; Sound

Competitive Position,” which stated in part:

               • We believe business trends remain strong for the long term, and
               we note potential for Q3 and Q4 to show upside based on seasonal
               factors including election ad spending, shift to higher mix of brand
               advertising, and Apple device launches.

               • We believe that Millennial’s model offers more forecasting
               visibility than would appear at first glance, and that the risk of a
               miss in the short term appears low.

       90.     As Seeking Alpha also reported, CFO Avon had participated in investor meetings

with Canaccord Genuity analyst Michael Graham, “which left Graham gushing.” As Canaccord

reported on September 12, 2012, based on the investor meetings with Avon, “We believe there is

room for increased sponsorship for MM stock as investors grow their comfort levels with key

pillars of the story, mostly around market growth and competitive position.”

       91.     On October 15, 2012, less than seven months after its IPO, Millennial Media filed

a Form S-1 Registration Statement with the SEC in connection with the Company’s

contemplated Secondary Offering. The Company filed an amended version of the Secondary

Offering Registration Statement on October 18, 2012.

       92.     On October 23, 2012, the Secondary Offering Registration Statement, signed by

Exchange Act Defendants Palmieri, Avon and Jeanneret, was declared effective and the

Company finalized the Secondary Offering Prospectus.



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       93.     On October 24, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the Secondary Offering Registration Statement and filed its Secondary

Offering Prospectus pursuant to Rule 424(b)(4) with the SEC. As set forth in the Registration

Statement and the Prospectus for the Secondary Offering (together, the “Secondary Offering

Documents”), Millennial Media registered 10 million shares of common stock plus an

underwriters’ over-allotment option for an additional 1.5 million shares to be offered to the

public at $14.15 per share.

       94.     The Secondary Offering Documents included false and misleading claims

concerning the Company’s abilities to accurately track and report user data; its “design” for

performance advertising; the mMedia self-service platform; and a real-time bided marketplace,

in substantially the same way as the IPO Offering Documents. For example, in the Secondary

Offering Prospectus the Company and Defendants Palmieri, Avon and Jeanneret made the

materially false and misleading claims that:

               We enable advertisers to gain insights into the performance of their
               ad campaigns and to manage their campaigns with a view to
               maximizing return on their advertising investment. Our solutions
               are designed to address the needs of large brand advertisers and
               advertising agencies as well as smaller, performance-based
               advertisers. Large brand and performance advertisers typically
               buy ads on our platform through our sales teams. Smaller
               advertisers typically buy ads either through our inside sales team or
               through our mMedia self-service advertising portal.

                                         *       *      *

               As a result of the amount and nature of the data we collect through
               our platform, our reporting to advertisers goes beyond traditional
               post-campaign analysis to provide actionable insights for current
               ad campaigns and future marketing strategies. We offer real-
               time reporting and analytics to help advertisers understand why
               some campaigns perform better than others.

                                         *       *      *



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               After MYDAS identifies the unique user associated with a specific
               ad request, the context around the ad request and the audiences to
               which the user belongs, MYDAS delivers the request to a real-
               time, bidded marketplace in which it matches available ads with
               available ad requests. MYDAS performs a sophisticated
               statistical analysis to automatically run an instantaneous virtual
               auction in which each qualified ad campaign bids on each
               available ad request. We call this process optimization and
               decisioning . . . . When MYDAS enters an ad request into the
               marketplace, each agent bids on the ad request, and the platform
               then matches the best available ad to the specific ad request.

                                        *       *      *

               We offer developers sophisticated reporting and analytics
               through an integrated dashboard on our mMedia portal, which
               includes comprehensive ad revenue generation reports for their
               apps across all major mobile operating systems. These reports help
               developers gain insight into user interaction and behavior and the
               performance of their apps. We share this performance data with
               developers to help them improve their apps and their deployment
               of our SDKs in order to maximize their ad revenue. In addition,
               through the more than 1.5 billion ad requests that we typically
               receive each day, we are able to gain important insights about users
               that we are able to share with developers on an aggregated basis.

       95.     The foregoing statements made in the Company’s Secondary Offering Documents

in paragraph 94 were materially false and misleading for the reasons set forth in paragraphs 40 to

48, 51 to 55 and 57 above. Specifically, according to CW2, Danielle Repetti (currently Vice

President of Performance at Millennial Media’s Baltimore office) met regularly with CEO

Palmieri in the fall of 2012 to discuss the Company’s significant loss of revenue caused by third-

party tracking services exposing the Company’s inability to accurately track and report user data.

Despite these significant material internal developments, and the Defendants’ failure to disclose

the material omitted facts set forth in paragraph 171 below, the Company and the selling

shareholders went forward with the Secondary Offering.

       96.     On or about October 30, 2012, Millennial Media completed the Secondary

Offering including the full exercise of the underwriters’ over-allotment option. The Principal


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Shareholder Defendants (as defined herein) approximately 7.7 million of their privately held

shares through the Secondary Offering.

         97.     Millennial Media executives, including Individual Defendants, used the

Company’s October 2012 Secondary Offering to sell more than $38.7 million of their personally-

held Millennial Media shares to unwitting investors, while the same insiders were in possession

of material adverse non-public information about the Company. As set forth below, these

individuals sold the following massive amounts of Millennial Media shares at artificially-inflated

prices on or about October 29, 2012:

                Individual                   Number of           Price             Value of
                                             Shares Sold                         Shares Sold7
Former CEO Paul Palmieri                       1,100,862        $13.4425           $14,798,337.44
Former CTO Chris Brandenburg                     895,672        $13.4425           $12,040,070.86
Former COO Stephen Root                          355,861        $13.4425            $4,783,661.49
Former CFO Michael Avon                          118,349        $13.4425            $1,590,906.43
Former Director Alan MacIntosh                   205,273        $13.4425            $2,759,382.30
Former Director John D. Markley, Jr.              88,423        $13.4425            $1,188,626.18
Director Wenda H. Millard                         85,155        $13.4425            $1,144,696.09
Director James A. Tholen                          30,025        $13.4425              $403,611.06
Total                                          2,879,620                           $38,709,291.85

                 4.      Defendants Made Materially False and Misleading Statements in the
                         Third Quarter of 2012

         98.     On November 5, 2012, after the markets had closed, the Company issued a press

release on Form 8-K signed by Defendant Avon, announcing its final results of operations for the

third quarter of 2012. The Company reported that “revenue was $47.4 million,” gross margin

was 40.9%, and there were more than 380 million monthly unique users worldwide. The

Company also offered revenue guidance for: (1) the fourth quarter of between $61.5 million and

$63 million; and (2) the full year 2012 of between $181 million and $182.5 million.



    7
        The cost basis for almost all of the above transactions is not publicly available.

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       99.     That same day, Millennial Media hosted a conference call for investors and

analysts to discuss these results. As part of his prepared remarks CEO Palmieri made the

materially false and misleading claims that:

               Performance advertisers, such as app developers who want to
               drive downloads of their apps, use our platform to reach and
               target customers who will generate positive lifetime value for
               them. Lifetime value, or LTV, is a specific financial metric used
               by performance advertisers to determine the difference between the
               cost to drive a download and the revenue generated from that
               download over the lifetime of that app’s usage by a single
               consumer. Because we are able to deliver this long-term value--
               or lifetime value, by quality downloads in[] addition to the
               quantity of downloads, we have become an invaluable source for
               delivering differentiated value for this segment of our advertiser
               base.

       100.    Later, during the question-and-answer portion of the November 5, 2012

conference call, CFO Avon engaged in the following exchange, and made the following

materially false and misleading statements:

               [Analyst]: [I w]ould love to get your thoughts on real-time
               bidding as it relates to the mobile industry, specifically where are
               we currently in terms of adoption and how do you kind of see that
               evolving over the next 12 months or so?

               CFO Avon: Yes, you’re hearing a lot about real-time bidding
               [(“RTB”)] in mobile. I think it’s still the very early days for RTB
               and mobile. There are few companies out there that are starting to
               put offerings out in the market. I think it’s still some time before
               you see broad adoption of RTB in mobile given the complexities
               on the supply side of mobile, the many different devices and
               capabilities of the devices. But all that said, we run a real-time
               bidding exchange within our core platform internally and over the
               long term, we think we’re very well positioned if the market moves
               to real-time bidding. But I think it’s early days today. It’s a very
               small percentage of the market and we’ll see how it increases from
               there.

       101.    On November 6, 2012, prior to the opening of the markets, Millennial Media filed

its quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon, which



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included revenues of “47.4 million” as those set forth in the Company’s November 5, 2012 press

release. The Company’s November 6, 2012 Form 10-Q also included certifications substantially

similar to those described in paragraphs 71 and 72 signed by Defendants Palmieri and Avon.

       102.     The foregoing statements made by the Company and Defendants Palmieri and

Avon in paragraphs 98 to 101 when reporting on the Company’s results of operations for the

third quarter of 2012 were materially false and misleading for the reasons set forth in paragraphs

40 to 48, 51 to 55, 57 and 74 above. In addition, these statements were materially false and

misleading because, unbeknownst to investors, according to CW5, significant customers such as

Zillow, a real-estate website, and DeNA, a Japanese mobile developer, materially reduced or

eliminated their budgets at Millennial Media beginning in late 2012 due to the increased usage of

third party tracking services.

                5.       In February 2013, the Company Announced Disappointing Revenues
                         and the Need to Acquire Metaresolver, Yet Continued to Issue
                         Materially False and Misleading Statements to Reassure Investors

                         (a)     Defendants Disclosed Negative Fourth Quarter 2012 Financial
                                 Results and the Need to Acquire Metaresolver

       103.     On February 19, 2013, after the close of the markets, the Company issued a press

release announcing revenue for the fourth quarter of 2012 of $58 million—sharply below

analysts’ expectations of $62.9 million. Millennial Media also offered disappointing revenue

guidance for: (1) the first quarter of 2013 of between $48 million and $50 million; and (2) the

full year 2013 of between $270 million and $280 million.

       104.     In addition, on February 19, 2013, the Company disclosed that it would acquire

Metaresolver.        As alleged below, Millennial Media’s disclosure of its need to acquire

Metaresolver partially disclosed the Company’s technological gap in its ability to collect clean

and reliable user data, and its real-time bidding marketplace capabilities.



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        105.   Early rumors of Millennial Media’s potential acquisition of Metaresolver

circulated as early as February 11, 2013. As Advertising Age (or “AdAge”) reported that day,

Metaresolver would be attractive to Millennial Media because, as Metaresolver founder and

CEO Seamus McAteer had claimed, Metaresolver’s strength was in providing “clean” data

compared to other demand-side platforms that offered a glut of inaccurate information.8

According to AdAge, Metaresolver was able to target mobile advertisements based on device

type, mobile carrier, location and time of day and in turn allow for programmatic buying based

on such data.9   Millennial Media’s announcement on February 19, 2013 that it would be

acquiring Metaresolver reflected that Millennial Media lacked technology to collect such “clean”

user data. This is corroborated by the statements of confidential witness CW3 discussed above.

See ¶ 46.

        106.   Indeed, in Millennial Media’s February 20, 2013 press release, the Company

stressed that it was acquiring Metaresolver because “Metaresolver uses highly accurate data to

identify and build audiences that brands can target with campaigns” and collected “clean and

accurate foundational data.” Defendant Palmieri stressed the importance of Metaresolver’s

“clean” data technology and stated that “[a]ccurately gathering and categorizing this [mobile]

data can be the difference between serving an ad that is relevant to a consumer and one that is

not,” and stated that “Metaresolver’s data-driven approach and technology will allow our

platform to go one step further and provide additional value to our advertiser and developer

partners.”




    8
      http://adage.com/article/digital/millennial-media-talks-acquire-mobile-ad-buying-platform-
metaresolver/239729
    9
      Id.

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       107.    As analysts observed, the Company’s announcement of its acquisition of

Metaresolver also revealed the gaps in Millennial Media’s purported real-time bidding

technology.    For example, on February 20, 2013, Oppenheimer stated:               “Metaresolver

acquisition boosts RTB capabilities . . . . While [Millennial Media’s MYDAS] platform has

focused on leveraging analytics for premium advertisers, the company intends to offer RTB

inventory in 2013.” The same day, Janney Capital Markets stated similarly: “[Millennial

Media] management intends to use Metaresolver to give advertiser clients the option to buy

inventory from Millennial’s ad network on a direct, self-service basis, just using Millennial’s

targeting technology, audience data and segmentation, and RTB.”

       108.    In response to the partial disclosure of the true state of the Company’s financial

state and the poor state of its proprietary software and related technologies, Millennial Media’s

stock price fell $5.38 per share, or 37.54%, to close at $8.95 per share on February 20, 2013.

                      (b)     Defendants Continued to Falsely Tout the Effectiveness of the
                              Company’s Platform

       109.    In order to reassure investors about the Company’s financial state and the

purported capabilities of its technology, Millennial Media continued to issue materially false and

misleading statements to investors during the Class Period.

       110.    As discussed above, on February 19, 2013, after the close of the markets, the

Company issued a press release on Form 8-K signed by Defendant Avon, announcing its results

of operations for the fourth quarter and full year of 2012. The Company reported revenue in the

fourth quarter of “$58.0 million” as well as gross margin of 41.2%, and more than 400 million

monthly unique users worldwide. The Company’s full-year results included revenue of $177.7

million and gross margin of 40.5%.




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       111.   The February 19, 2013 press release also included the following materially false

and misleading statement by Defendant Palmieri:

              Our success in 2012 speaks to the effectiveness of our platform
              model in delivering highly targeted and compelling mobile
              advertising solutions. We delivered 68% revenue growth with
              record profitability in the fourth quarter.

       112.   In addition, on February 19, 2013, in connection with the earnings release,

Millennial Media hosted an earnings conference call. As part of his prepared remarks, CEO

Palmieri again falsely claimed that the Company had a “proven” technological platform and

attempted to falsely attribute the Company’s disappointing revenue from the fourth quarter of

2012 to certain “choices” that the Company had itself made:

              [A]s we conduct this call today, there is no question Millennial
              Media is the leading independent platform in the Mobile
              Advertising business and powering the app economy. There now
              also can be no doubt that our model is proven and strong. Our
              platform is having success and our investments in technology and
              data are delivering the solutions that show marketers the power and
              value of mobile.

                                       *       *      *

              [W]e have some choices that we made in Q4 consistent with our
              long-held strategy on whether to chase some business in some
              performance segments or to continue to focus on large budget
              brand campaigns and premium performance campaigns that have
              always been our bread-and-butter business. It wasn’t until very
              late in the quarter that we saw that our choice not to participate
              in some of these lower end performance segments, coupled with a
              few large brand deals that didn’t materialize would moderate our
              revenue growth metric for the quarter.

       113.   Moreover, CEO Palmieri falsely and misleadingly explained that his Company’s

failure to meet revenue expectations in 2012 would not be indicative of its “long-term

sustainable growth”:

              [W]hile we could have chosen to chase a lower value, incentivize
              downloads business segment where small companies with limited


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               technology battle to drive downloads that are of limited lifetime
               value, or LTV, to developers, we chose and will continue to
               choose adherence to our long-term strategy of providing value.
               We are building Millennial Media for long-term sustainable
               growth and plan to stay true to our core principles.

       114.    On February 20, 2013, prior to the opening of the markets, Millennial Media filed

its Annual Report for 2012 on Form 10-K with the SEC, signed by Defendants Palmieri, Avon

and Jeanneret, which included 2012 revenues of $177 million. The Company’s 2012 Annual

Report also included certifications substantially similar to those described in paragraphs 71 and

72, signed by Defendants Palmieri and Avon. In addition, the February 20, 2013 Form 10-K

made the following false and misleading statements about the MYDAS platform’s purported

ability to track conversions:

               Reporting and analysis. Once MYDAS has delivered an ad to a
               specific device, MYDAS analyzes the user's engagement with the
               ad, measuring whether the user clicked on the ad or engaged with
               the ad in some other meaningful way, such as swiping the ad,
               opening a video, sharing the ad with a friend or downloading an
               app in response to the ad. These results are then incorporated back
               into the MYDAS platform, which can use the data to analyze
               whether the specific ad served to the user was actually the best
               available ad to deliver to that user.

       115.    The foregoing statements made by the Company and Defendant Palmieri in

paragraphs 110 to 114 when reporting on the Company’s results of operations for the fourth

quarter and full year of 2012 were materially false and misleading for the reasons set forth in

paragraphs 40 to 48, 51 to 55, 57 and 74. For example, it was materially false and misleading for

Palmieri to tout the “effectiveness of our platform,” claim that Millennial Media’s “model is

proven and strong,” and attribute the decline in revenue to “choices” the Company had made

about performance advertising. Millennial Media’s decline in revenue that quarter was not due

to “choice[s]” the Company had made about certain performance advertising. Instead, as stated

above in paragraphs 40 to 48, confidential witnesses confirmed that, beginning in early 2012,


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Millennial Media’s clients began employing third party tracking devices that exposed the

Company’s inability to accurately track and report advertisement-related clicks and actions by

users, and Millennial Media lacked the capability to capitalize on performance advertising,

which caused a significant loss of business. Indeed, Palmieri had internally discussed the impact

that those deficiencies were having on the Company’s revenues in the Fall of 2012 (see ¶¶ 48,

95), not “very late in the [fourth] quarter” of 2012, as he falsely and misleadingly stated.

               6.      In March Through April 2013, Palmieri Established a Rule 10b-5
                       Trading Plan, the Company’s CTO and COO Resigned, and the
                       Company Terminated the Lead MYDAS Engineers

       116.    On March 8, 2013, in the wake of the Company’s disappointing financial results

issued in February 2013 and the market’s negative reaction to the Company’s disclosure of its

acquisition of Metaresolver, Defendant Palmieri entered into a Rule 10b5-1 trading plan that

would allow him to sell massive additional quantities of his personally-held Millennial Media

stock. At the time Palmieri entered into the plan, he was aware that the Company’s revenues had

been declining since the Fall of 2012 due to third party data trackers and that his explanation for

the Company’s disappointing results disclosed in February 2013—i.e., that they were purportedly

based on the Company’s own “choices”—were false and misleading. In addition, he entered into

the plan just weeks before the Company announced the resignations of its co-founder and CTO,

Brandenburg, and its COO, Root.

       117.    Indeed, on April 5, 2013, when Millennial Media issued a press release

announcing the completion of the Metaresolver acquisition, it also announced a “streamlin[ing]”

of the Company’s management, including the termination of employment of the Company’s co-

founder and CTO, Brandenburg, and the Company’s COO, Root, only one year after the IPO and

less than two months after announcing disappointing revenue for the fourth quarter of 2012 and

guidance for 2013. As CTO, Brandenburg had been “responsible for the overall technical


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direction of Millennial Media,” and, as COO, Root managed the Company’s “day-to-day

operations and results and for executing its overall growth and vision.” Like Brandenburg, Root

had been with Millennial Media for years and had served as the Company’s COO since

November 2006.

       118.   Unbeknownst to investors, in May 2013, only one month after Millennial Media’s

CTO and COO left the Company, Millennial Media terminated nearly the entire Millennial

Media engineering team responsible for the Company’s MYDAS platform. According to CW8,

who was a Senior Software Engineer at Millennial Media from September 2012 to June 2014,

“essentially the entire [MYDAS] platform team” was fired. This included the Senior Vice

President of Technology, Eric Hastings, the Principal Software Engineer in charge of the

MYDAS platform, Rick Kilkoyne, and seven or eight other key engineers. This is corroborated

by CW7, who said that s/he was terminated in early May 2013 along with seven others in top

engineering. This reflected an apparent internal shift away from the Company’s MYDAS

platform.

              7.      The Exchange Act Defendants Made Additional Materially False and
                      Misleading Claims Concerning the Company’s First Quarter 2013
                      Financial Results

       119.   On May 8, 2013, after the markets had closed, the Company issued a press release

on Form 8-K announcing its results of operations for the first quarter of 2013. The Company

reported revenue of “$49.4 million,” gross margin of 41.6%, and more than 420 million monthly

unique users worldwide. The Company also offered revenue guidance for: (1) the second quarter

of between $58 million and $60 million, which was below analyst estimates; and (2) the full year

2013 of between $270 million and $280 million.




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       120.    Later that same day, Millennial Media hosted a conference call for investors and

analysts to discuss these results. As part of his prepared remarks, CEO Palmieri made the

materially false and misleading claims that:

               The second area in making it easier for clients to buy and transact
               on the platform is programmatic buying and selling [i.e., real-time
               bidding]. We are determined to be a major player in premium
               programmatic media. We have made some aggressive moves in
               Q1 to move in that direction, and we intend to invest and make
               more moves in the coming quarters. It’s important to note that
               our MYDAS platform operates via a real-time bidded
               marketplace, and has throughout our history, so adding the
               interfaces for the strategic and growing sales channel is an
               extension of the platform, and not a change to it.

       121.    On May 9, 2013, prior to the opening of the markets, Millennial Media filed its

quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon, which

also stated that “Revenue was $49.4 million for the three months ended March 31, 2013.” The

Company’s Form 10-Q also included certifications substantially similar to those described in

paragraphs 71 and 72, signed by Defendants Palmieri and Avon.

       122.    The foregoing statements made by the Company and Defendants Palmieri and

Avon in paragraphs 119 to 121 when reporting on the Company’s results of operations for the

first quarter of 2013 were materially false and misleading for the reasons set forth in paragraphs

40 to 48, 51 to 55, 57, 74 and 117 to 118 above.

               8.     In July 2013, CEO Palmieri Sold an Additional $2.63 Million in Stock

       123.    From July 24 to 26, 2013, less than three weeks prior to the Company’s August

13, 2013 announcement that it was making a stock-based acquisition of competing, Boston-based

mobile advertising platform Jumptap that valued Jumptap at $200 million, and the Company’s

announcement that Millennial Media would not issue guidance for the third quarter of 2013,

CEO Palmieri engaged in another round of stock sales, selling 262,500 shares of his own



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Millennial Media stock at prices of $10.00-10.04, for gross proceeds of more than $2.63 million.

As explained in further detail in section III.D.1. below, these sales were highly suspicious in

scope and timing and stand in contrast to the balance of the Class Period after the Secondary

Offering when CEO Palmieri only disposed of 1,692 shares once for tax purposes.

               9.     In August 2013, the Company Announced its Acquisition of Jumptap
                      And Continued to Issue Materially False and Misleading Statements
                      to Reassure the Market

                      (a)     Defendants Disclose the Need to Acquire Jumptap

       124.    On August 13, 2013, Millennial Media issued a press release announcing that the

Company had reached an agreement to acquire Jumptap in a transaction that would be funded

nearly entirely by 24.6 million shares of Millennial Media stock. Concurrently, the Company

issued a press release announcing its results of operations for the second quarter of 2013, and the

Company reported revenue of $57 million (which was below analyst estimates). The Company

did not include guidance for the coming quarter or an update to its guidance for the full year in

the press release in a manner consistent with prior practice, but rather directed investors to a

presentation on its website and stated that guidance would be discussed on its earnings call that

day.

       125.    On Millennial Media’s conference call with investors and analysts held on August

13, 2013, Defendant Avon disclosed that the Company would not be separating out financial

guidance between Millennial Media and Jumptap. In this regard, he said:

               Also, note that the future outlook we’ll be giving today and
               moving forward will be on a pro forma combined basis. We
               decided to give combined guidance, because it will be extremely
               difficult to separate the discussion of results for these two
               businesses on a going-forward basis in a relevant manner.

       126.    In response to these disclosures, analysts raised questions about the performance

of Millennial Media’s core business.       Additionally, analysts expressed concern about the


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Company’s disclosure that it would thereafter issue pro forma, combined financial results of the

two companies, which would obscure how Millennial Media was performing as a stand-alone

entity.

          127.   For example, on August 13, 2013, Canaccord Genuity stated that “we believe that

in the short term [the acquisition of Jumptap] presents some execution risk along with less

transparency regarding Millennial stand-alone business progression, and we note that

management declined to provide guidance for Millennial ex-Jumptap.” The Canaccord analyst

continued, “we believe that the amount of dilution being incurred and potential

integration/customer overlap risks warrant caution in the near term. We will be looking for

signs that intended scale, data, and integration benefits are taking hold.” Likewise, on August

14, Morgan Stanley commented that, “MM acquiring a smaller, loss-making competitor may

suggest, in our view, that it is attempting to purchase market share it formerly believed it could

acquire organically.” PiperJaffray opined that, “[w]hile we view this transaction as likely long

term positive for the company, it does create some difficulty in assessing underlying

fundamentals at the core Millennial business, which investors will likely want to scrutinize

more carefully following two consecutive revenue misses.” Finally, analysts at Telsey Advisory

Group wrote that “[w]e think concerns over the outlook will linger given limited clarity into

MM’s standalone performance.”

          128.   Millennial Media apparently needed to acquire Jumptap to fix problems in

Millennial Media’s core business. Jumptap’s major strengths included third-party data and

programmatic buying, services that Millennial Media claimed its MYDAS platform already

provided. As CEO Palmieri claimed in the Company’s press release announcing the acquisition

on August 13, “Jumptap’s expertise in performance, cross-screen, real-time bidding and third-




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party data fit well with, and provide incremental scale to Millennial Media’s existing

platform.”

       129.    In response to the disclosure of the need to acquire Jumptap, partially exposing

additional weaknesses in the Company’s proprietary software and related technologies,

Millennial Media’s stock price fell $1.60 per share, or 18.82%, to close at $6.90 per share on

August 14, 2013.

                       (b)    The Company’s False and Misleading Disclosures Concerning
                              Second Quarter 2013 Financial Results

       130.    As discussed above, on August 13, 2013, Millennial Media issued press releases

announcing its acquisition of Jumptap and its results of operations for the second quarter of 2013

that reported revenue of $57 million. In the press release announcing the Jumptap acquisition,

Defendant Palmieri stated that “Jumptap’s expertise in performance, cross-screen, real-time

bidding and third-party data fit well with, and provide incremental scale to Millennial Media’s

existing platform.” On August 14, 2013, prior to the opening of the markets, Millennial Media

filed its quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon,

which included revenue of “57.0 million for the quarter ended June 30, 2013.” The Company’s

Form 10-Q also included certifications substantially similar to those described in paragraphs 71

and 72, signed by Defendants Palmieri and Avon.

       131.    The foregoing statements made by the Company and Defendant Palmieri in

paragraph 130 when reporting on the Company’s results of operations for the second quarter and

of 2013 and the announcement of the acquisition of Jumptap as simply providing “incremental

scale” to Millennial Media’s performance and real-time bidding capabilities were materially false

and misleading for the reasons set forth in paragraphs 40 to 48, 51 to 55, 57, 74 and 117 to 118,

including the fact that Millennial Media failed to disclose the extent to which it needed to acquire



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Jumptap’s performance advertising and real-time bidding technology business to fill a serious

gap in its technology portfolio.

       132.    As stated by CW1, Millennial Media needed to acquire Jumptap because its then-

current MYDAS platform could not capitalize on programmatic advertising. Specifically, CW1

stated that Millennial Media needed to acquire Jumptap because Millennial Media’s

programmatic tools were not competitive and did not yield the installs necessary for client

optimization. See ¶ 53.

       133.    CW6 also stated that it was “necessary” for Millennial Media to acquire Jumptap

because Millennial Media did not have the technological capability to grow its performance

business, which was “dwindling fast.”      Indeed, after CW6 joined Millennial Media from

Jumptap, he found out that not only was Millennial Media’s technology lacking, but that it was

having issues with attribution. Attribution is the measurement of user events in response to

advertisements. See ¶ 52.

               10.     In November 2013, The Company Completes the Acquisition of
                       Jumptap But Faces Undisclosed Difficulties Integrating Jumptap’s
                       Technology

                       (a)     Defendants Disclose Disappointing Financial Results and How
                               the Company’s Acquisitions in 2013 Filled “Real Gaps”

       134.    On November 13, 2013, after the markets had closed, the Company issued a press

release announcing its disappointing results of operations for the third quarter of 2013. The

Company reported pro forma combined revenue of $86.3 million, pro forma combined gross

margin of 38.6%, and more than 500 million monthly unique users worldwide on a non-

combined basis. The Company also offered total pro forma combined revenue guidance for the

fourth quarter of between $95 million and $100 million.




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       135.   On November 13, 2013, during the Company’s conference call with analysts and

investors, Defendant Palmieri admitted that the Company’s acquisitions in 2013 of Metaresolver

and Jumptap were to “fill in real gaps” in Millennial Media’s platform that existed at the time –

specifically “performance advertising and RTB buying capability.” Defendant Palmieri also

reiterated that a reason for Millennial Media’s acquisition of Jumptap was to obtain Jumptap’s

expertise in “aggregation strategy around third-party data.”

       136.   In response to this partial disclosure of the continued negative effect of

unresolved weaknesses in the Company’s proprietary software and related technologies on the

Company’s ability to generate revenue, Millennial Media’s stock price fell $0.86 per share, or

11.98%, to close at $6.32 per share on November 14, 2013.

                      (b)    Defendants Falsely Reassure Investors that Millennial Media’s
                             Integration of Jumptap Was Proceeding Efficiently

       137.   In its November 13, 2013 press release on Form 8-K signed by Defendant Avon

discussing the Company’s third quarter 2013 results, Defendant Palmieri made the following

materially false and misleading claims about the integration of Millennial Media’s technology

with Jumptap’s:

              We’ve made substantial progress building and strengthening our
              full-stack mobile advertising platform this year . . . . Through our
              acquisition of Jumptap, the global launch of MMX, our mobile ad
              exchange, and the introduction of our Omni Measurement suite,
              we are uniquely positioned to be the partner of choice to the
              world’s largest advertisers and agencies. In the third quarter we
              generated $86 million in combined pro forma revenues driven by
              strong brand and international results and growth in programmatic
              performance revenues via the newly acquired Jumptap capabilities.
              Our integration is going well and we are very enthusiastic about
              bringing our combined capabilities to the global mobile
              advertising market.




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       138.    Later that day, Millennial Media hosted its conference call for investors and

analysts.   As part of his prepared remarks, CEO Palmieri made the materially false and

misleading claim that:

               As we move through the integration phase of this acquisition,
               we’re even more excited about this combination than we were
               when we first announced the deal. Our companies fit very well
               together, with complementary strength in both our capabilities
               and our cultures. Our teams are working very well together.
               The two companies are culturally similar and share a history of
               competing in the same space. We’re rapidly bringing the
               companies together as one, and we’re very impressed with
               Jumptap’s team.

       139.    On November 14, 2013, prior to the opening of the markets, Millennial Media

filed its quarterly report on Form 10-Q with the SEC, signed by Defendants Palmieri and Avon,

reported pro forma combined revenue of $86.3 million.          The Company’s Form 10-Q also

included certifications substantially similar to those described in paragraphs 71 and 72, signed by

Defendants Palmieri and Avon.

       140.    The foregoing statements made by the Company and Defendant Palmieri in

paragraphs 137 to 139 when announcing the completion of the acquisition of Jumptap and

reporting on the Company’s results of operations for the third quarter of 2013 were materially

false and misleading for the reasons stated in paragraphs 40 to 48, 51 to 55, 57, 74 and 117 to

118.

       141.    In addition, it was materially false and misleading for CEO Palmieri to state that

the Company had a single “full-stack,” and that Millennial Media’s integration with Jumptap “is

going well,” that the companies “fit very well together,” their “teams are working very well

together,” and that, “We’re rapidly bring[ing] the companies together as one,” when, in fact,

numerous confidential witnesses confirmed that Millennial Media and Jumptap had severe




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difficulty integrating their respective teams and technologies and did not even begin the actual

integration until January 2014. For example:

              (a)     CW9 stated that Millennial Media’s and Jumptap’s respective “tech
                      stacks,” or layers of components and software used to provide advertising
                      solutions, failed to function together. CW9 worked at Jumptap’s Boston
                      headquarters from May 2011 until it was acquired by Millennial Media in
                      November 2013. CW9 remained at Millennial Media, in Boston, as a
                      Product Manager until November 2014, when CW9 left to join another
                      company. CW9 managed a creative team at Millennial Media tasked with
                      developing unique advertisements and rich media, such as images or video
                      advertisements that involve user interaction, for the Company’s brand
                      advertising.

                      CW9 explained that Millennial Media’s inability to merge its “tech stacks”
                      with that of Jumptap’s was discussed openly at weekly, monthly and
                      quarterly meetings of Millennial Media’s Product Development staff. The
                      meetings were run by the Senior Vice President of Product Development,
                      and were sometimes attended by Bob Hammond, the Chief Technology
                      Officer.

              (b)     CW6 stated that, when both companies tried to “smash” together their
                      technology platforms, they realized that they were “incomplete” even
                      before the acquisition. As a result, CW6 explained, eventually it became
                      clear that, in order to move forward, Millennial Media would need to keep
                      one platform and not the other because ultimately neither platform was as
                      complete as initially believed.

              (c)     CW8 stated that the executives from Millennial Media and Jumptap failed
                      to understand the “depth of functionality” of the two platform systems,
                      and confirmed that each “tech stacks” had its own functionality limits that
                      integration would not be able to solve. Additionally, CW8 explained that,
                      even though the Company completed the acquisition in November 2013, it
                      didn’t hold a “kick-off” meeting until January 2014. At that meeting, the
                      CTO from Jumptap, Bob Hammond, was put in charge and the
                      companies’ engineering teams were reorganized. The engineers from both
                      companies were divided into a “Blue Team,” from Jumptap’s platform,
                      and a “Green Team,” from Millennial Media’s MYDAS platform. These
                      two “tech stacks,” as described above, were run separately. However, as
                      of June 2014, when CW8 resigned from Millennial Media, the Company
                      was still running two separate systems and still employing a Blue Team
                      and a Green Team organizational structure.

              (d)     CW10 echoed that the efforts to integrate the technologies of Millennial
                      Media with Jumptap’s were a “mess.” Specifically, testing, updating, and
                      determining which part of which system to keep or discard and how best


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                       to integrate them was very difficult, because each system had to remain
                       operational to keep up with current operations. Each proprietary
                       technology had its own idiosyncrasies, the Jumptap engineers and sales
                       staff were not familiar with the Millennial Media systems and vice versa,
                       and to make matters worse, experienced engineers from both companies,
                       but particularly Millennial Media, had left. CW10 stated that, by the time
                       CW10 left the Company in July 2014, Millennial Media’s and Jumptap’s
                       technology stacks were still not integrated.

       142.    Postings by current and former Millennial Media employees on the website

Glassdoor.com also corroborate the accounts of the confidential witnesses detailed herein. These

postings independently highlighted that Millennial Media faced significant undisclosed

challenges with integrating its technology and culture with those of its acquisition targets:

               (e)     On June 19, 2014, a person identified as a then-current Millennial Media
                       employee wrote on Glassdoor to describe working at the Company in the
                       following terms: “Utter lack of direction since the merger. There has
                       been zero integration plan to date. No one is taking responsibility either
                       which is baffling to see at the senior exec level. Where is the
                       accountability? Engineers are leaving in record numbers, can’t get
                       necessary work done to operate efficiently or potentially scale. There is a
                       general inability to attract solid talent which is a vicious cycle. We have
                       far more attrition than anyone can keep up with. The identity of the
                       company since the merger seems in question. The Baltimore HQ no longer
                       has the weight it used to but those here haven’t fully recognized that.”

               (f)     On July 18, 2014, a person identified as a former Millennial Media
                       Software Engineer posted on Glassdoor that: “After the co-founder and
                       CTO [Brandenburg] left they went through a series of frankly bad moves.
                       First they fired all of the tech managers (including the people in charge of
                       QA [quality assurance].) This caused quality to seriously drop. So they
                       bought a much less successful company from Boston [Jumptap is
                       headquartered in Boston] and had their people replace all of the
                       managers they just fired. The new managers wanted to try to replace all
                       of the Baltimore tech (not perfect but was well tested and is making most
                       of our revenue) with Boston tech (many problems and frankly some parts
                       don’t work at all.) We basically spent 6 months trying to put features that
                       were already in the Baltimore tech into the Boston tech (and in most cases
                       the resultant product wasn’t as well engineered as what was always in the
                       Baltimore tech.) They are now backing off that position but the damage
                       has been done. A huge amount of the best people who knew the most
                       about the Baltimore tech have now left the company (Baltimore tech is
                       still making the lion’s share of the revenue and the Boston tech cannot
                       replace it without serious work and maybe even a re-write.) The people


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                      who are left are going to have to take years to relearn how everything
                      works. If you ask “does anyone know anything about such and such
                      software from the Baltimore tech?” and you get a lot of “no, everyone who
                      did left . . . .” The commenter’s “Advice to Management” was to “check
                      to see if a company’s algorithms actually work before you buy them; not
                      after you buy them, place all of the people at the new company in charge
                      of technology, and then have them try to replace all of your tech with
                      their tech (thus forcing many of your best people to find other
                      companies.).”

                (g)   On January 15, 2015, a person identified as a former Millennial Media
                      employee wrote in a Glassdoor post: “The company has made the choice
                      to grow through acquisition rather than innovation. The result of this is
                      multiple technology stacks all in varying states of decay.”

                (h)   On January 15, 2015, a person identified as a former Millennial Media
                      employee wrote on Glassdoor: “W[a]nder the halls and you’ll routinely
                      hear people referring to each other as green [the color of Millennial
                      Media’s logo] or blue (a reference to former Jumptap employees).”

                (i)   On January 16, 2015, a person identified as a former Millennial Media
                      employee also wrote on Glassdoor: “Most acquisitions or mergers bring
                      in further animosity into organization with people referring to each other
                      as team green (legacy millennial), or team blue (jumptap), or by Office
                      location name.”

       143.     Accordingly, Millennial Media’s integration with Jumptap was not “going well”

and the companies were not “working very well together” as of November 2013, let alone well

into 2014, as the Company represented.

                11.   January-May 2014: Millennial Media Announced the Resignation of
                      CEO Palmieri, Disappointing Revenue Guidance, and the Resignation
                      of CFO Avon

                      (a)    On January 25, 2014, CEO Palmieri Resigned

       144.     On January 25, 2014, Defendant Palmieri stepped down from the Board and as

CEO of the company that he had founded eight years prior. He left the Company less than two

years after its March 2012 IPO and became a Venture Advisor with Defendant NEA, one of the

original investors in Millennial Media that itself made millions of dollars in the Company’s

Offerings.    At the time of his departure, Palmieri stated that he had decided to leave the


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Company “some time ago,” and that Millennial Media had been conducting a search for his

replacement, for “months, not weeks.”10        This reflected that Palmieri’s recognition of the

problems at the Company stretched back months prior to January 2014.

         145.    That same day, Millennial Media appointed Defendant Barrett as the Company’s

President and CEO, effective immediately, and the Board appointed Barrett as a member.

                        (b)     The Company’s False and Misleading Disclosures Concerning
                                Fourth Quarter 2013 Preliminary Financial Results

         146.    Also on January 27, 2014, the Company issued a press release announcing

preliminary results for the fourth quarter of 2013. In connection with these preliminary results,

CFO Avon made the following materially false and misleading claims:

                 We are very pleased with Millennial Media’s strong fourth quarter
                 performance. With the addition of Jumptap’s capabilities we bring
                 to market an expanded suite of offerings, delivering solid results
                 for our brand and performance clients. The integration plan is
                 ahead of schedule, enabling us to complement our historical
                 strength among brand advertisers with market leading solutions for
                 our performance clients through our demand-side programmatic
                 buying capabilities and our premium exchange (MMX).
                 Millennial Media enters 2014 with a much stronger and more
                 comprehensive suite of capabilities than at this time last year
                 positioning us well to capitalize on these assets in the year ahead.

         147.    The Company did not offer guidance for the coming quarter or full year in

connection with its earnings pre-announcement. On January 30, 2014, Millennial Media filed a

Form 8-K with the SEC setting forth its January 27, 2014 press release announcing the

preliminary financial results for the fourth quarter of 2013.

         148.    The foregoing statements made by the Company and Defendant Avon in

paragraphs 146 to 147 when announcing preliminary results of operations for the fourth quarter

of 2013 were materially false and misleading for the reasons set forth in paragraphs 40 to 48, 51


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         http://technical.ly/baltimore/2014/02/05/millennial-media-paul-palmieri-qa/

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to 55, 57, 117 to 118 and 141 to 142. For example, it was false and misleading for CFO Avon to

state that “the integration plan [with Jumptap] is ahead of schedule,” when, in fact, as set forth in

paragraphs 141 to 142, Millennial Media and Jumptap had severe difficulty integrating their

teams and technologies. Additionally, it was false and misleading for CFO Avon to tout the

purported growing strength of the Company when, in fact, that same day—January 25, 2014—

Defendant Palmieri stepped down from the Board and as CEO of the Company that he had

founded less than two years after its March 2012 IPO, reflecting that problems at the Company

stretched back months prior to January 2014.

                       (c)     On February 19, 2014, the Company Issued Disappointing
                               Guidance

       149.    On February 19, 2014, after the markets had closed, the Company issued a press

release revealing disappointing revenue guidance for the first quarter of 2014 of between $72

million and $76 million—far below analysts’ expectations of $83 million—and weak guidance

for earnings before interest, taxes, depreciation and amortization (“EBITDA”), projecting a loss

of between $5 million and $6 million, which sharply diverged from analysts’ expectations of a

gain of $8.8 million. Millennial Media also revealed that, based on the then-current state of its

technology, it could not expect to achieve earlier growth projections.

       150.    In response to this partial disclosure that the Company’s proprietary software and

related technologies would require significant additional investment and development and were

not ameliorated by the Company’s costly corporate acquisitions, Millennial Media’s stock price

fell $1.05 per share, or 14.58%, to close at $6.15 per share on February 20, 2014.

       151.    In connection with the earnings release, Millennial Media hosted a conference call

on February 19, 2014 to discuss its results with analysts and investors. As part of his prepared

remarks, CEO Barrett made the materially false and misleading claim that:



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              In Q4 we delivered some very strong results, but we also had some
              revenue generation during the quarter, which is not likely to repeat
              in Q1. I believe this is a business that should grow its topline at
              20% or maybe a bit more, based on where the market is today,
              with some quarters growing faster and some quarters growing
              slower.

       152.   Later, as part of the question-and-answer session, CEO Barrett participated in the

following exchange and made the following false and misleading claims:

              [Analyst]: [J]umping in on the 20% general long-term revenue
              outlook. Most people probably think that the mobile industry is
              growing faster than that if you think about all of the different types
              of mobile ad product. So does that imply that there are things
              happening out there that Millennial’s not involved in and could
              Millennial [] get involved in those to potentially grow even faster
              than 20%?

              CEO Barrett: As far as the annual guidance again, it is my choice
              as the new kid on the block that the direction we’re going in this
              year is taking an overall look at both the market opportunities, with
              some of the capabilities we have, capabilities that we’re building
              upon, and we think that it’s fair to say that this is a company we
              expect to have 20% growth this year. I think that, that’s all we can
              say about it at this juncture.

       153.   CFO Avon also made the following false and misleading statements concerning

Millennial Media’s integration with Jumptap:

              Of course, our biggest move in 2013 was our acquisition of
              Jumptap, which closed in early November . . . .

              Integration is underway. Our cultures and combined abilities are
              meshing very well, and as evidenced by our fourth-quarter
              results, we began to see some immediate results from the
              acquisition.

              Both our Q4 revenue and adjusted EBITDA were well ahead of
              our initial guidance ranges of $95 million to $100 million, and
              break even to $2 million, respectively. Our out performance on
              revenue was driven by stronger-than-expected branded
              performance spending on our platform during the quarter. Our
              adjusted EBITDA performance was driven by a combination of
              better-than-expected revenues, combined with less operating
              expense than initially expected, driven largely by Jumptap’s


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               integration proceeding efficiently.

                                             *     *      *

               First of all, Jumptap, if you’re talking about Q1 in the guide, we
               don’t breakout Jumptap versus Millennial. We’re one company.
               We’ve been one company since we closed the deal back in early
               November.

       154.    The foregoing statements made by the Company and Defendants Barrett and Avon

in paragraphs 149 and 151 to 153, when announcing results of operations for the fourth quarter

and full year of 2013, were materially false and misleading as set forth in paragraphs 40 to 48, 51

to 55, 57, 117 to 118 and 141 to 142. For example, Defendant Barrett had no rational basis and

could not have subjectively believed his statement that the Company would grow by 20% in

2014. In fact, just three months later, on May 7, 2014, Defendant Barrett admitted that this claim

of Millennial Media’s growth by 20% was false, and attempted to explain that his 20% guidance

was “loose” and offered at a time when he had been with the Company for “about 14 days.” In

addition, it was misleading for CFO Avon to claim that the “combined abilities” of Millennial

Media and Jumptap were “meshing very well” and to claim that the two companies were one,

when, in fact, as set forth in paragraphs 141 to 142, Millennial Media and Jumptap had severe

difficulty integrating their technologies.

                       (d)     The Company’s False and Misleading Disclosures Concerning
                               Full Year 2013 Financial Results

       155.    On March 3, 2014, after the markets closed, Millennial Media filed its Annual

Report on Form 10-K with the SEC, signed by Defendants Barrett, Avon and Jeanneret, which

reported 2013 revenue of $259.17 million.              The Company’s Form 10-K also included

certifications substantially similar to those described in paragraphs 71 and 72, signed by

Defendants Barrett and Avon. These reported financial results and certifications were materially




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false and misleading for the reasons stated in paragraphs 40 to 48, 51 to 55, 57, 74, 117 to 118

and 141 to 142.

                       (e)    On May 7, 2014, CFO Avon Resigned

        156.   On May 7, 2014, after the markets had closed, the Company issued a press release

announcing its results of operations for the first quarter of 2014. The Company reported

disappointing revenue of $72.6 million compared to analysts’ expectations of $75.5 million. It

also gave dour revenue guidance for the second quarter of 2014 of between $70 million and $75

million, 22% below analysts’ expectations of $96.4 million.

        157.   In addition, Millennial Media announced that CFO Avon would leave the

Company “to pursue other career interests” effective July 1, at the end of the second quarter of

2014. However, the Company announced that it had not yet appointed a new or even interim

CFO, until CEO Barrett took over the role of principal finance officer on August 7 2014, and the

Company later appointed CAO Jeanneret as Executive Vice President and CFO on September 2,

2014.

        158.   In connection with this earnings release, on May 7, 2014, Millennial Media

hosted a conference call to discuss its results with analysts and investors. As part of his prepared

remarks, CEO Barrett stated in part:

               Based on what I have seen to this point, I’m enthusiastic . . . [b]ut,
               I also realize that we have some significant work to do.

                                         *       *       *

               [O]ur performance business, especially the app download business,
               was down year-over-year and substantially from Q4, and these
               trends continue.

                                         *       *       *

               In late 2013, the team recognized the need to shift much of the
               performance business to what are called programmatic platforms.


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             Through acquisitions, internal development and a big partnership
             last year, Millennial built out its programmatic platform. But there
             is still work to be done to capture the benefits of the shift to
             programmatic.

                                      *       *      *

             By self-service interfaces and the API’s, performance advertisers
             can access Millennial’s inventory, either directly or through a
             third-party DSP. For Millennial, this is a much more efficient way
             to serve small and mid-size performance advertisers, which will
             help us build a performance business that is based on many singles
             and doubles each quarter, instead of being reliant on the home
             runs. But shifting from this home run business, relying on big
             hits, spending a lot of money, to a more healthy longer-term
             business based on singles and doubles, is a shift that will take
             some time to work through.

      159.   Later, as part of the question-and-answer session, CEO Barrett participated in the

following exchange:

             [Analyst]: I think last quarter you had talked about looking at
             kind of a 20% full-year growth rate. I guess, our assumption
             would be that that may change a little bit. And I apologize if I
             missed it, but I am just wondering if you are updating that view for
             the full year?

             CEO Barrett: Yes, thanks, Jordan. For the 20% outlook, I will
             address that right on. Because that was the guide -- I said it, with
             the caveat that I was with the Company for about 14 days. But
             again, we are going back to the idea, this heavy concentration of a
             small number of advertisers in the performance app download
             business, it seemed like a reasonable projection at the time,
             because we saw brand strength. We saw the strength of the
             platform, our MMX, and we anticipated the renewal of -- renewal
             of these larger advertisers. At the same time, we had budgeted the
             client and their spend.

                                      *       *      *

             And that obviously hasn't happened, and that is the biggest change,
             in terms of my outlook as I looked at the Company. That guidance
             was loose. It was kind of -- we kind of expect it to grow in the
             20% range. Brand was growing over 30%, and they expect it to
             grow so -- at probably even at a faster rate in Q2. Performance is
             growing in the triple-digit area -- I mean, I'm sorry -- platform is


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                 growing in the triple-digit area. It is just that very difficult for me
                 to sit here, and try to do the same loose guidance I did in Q1. And
                 so, my approach now is to really back off any guidance, as it
                 relates to annual.

          160.   In response to this partial disclosure of the state of the Company’s competitive

position, low revenue visibility, poor outlook for growth and the deleterious effects of its weak

and underdeveloped technology on its prospects, Millennial Media’s stock price fell $1.99 per

share, or more than 37%, to close at $3.36 per share on May 8, 2014.

          161.   On May 8, 2014, prior to the opening of the markets, Millennial Media filed its

quarterly report on Form 10-Q with the SEC, signed by Defendants Barrett and Avon, which

reported first quarter 2014 revenues of $72.6 million. The Company’s Form 10-Q also included

certifications substantially similar to those described in paragraphs 71 and 72 executed by CEO

Barrett and CFO Avon. These reported financial results and certifications were materially false

and misleading for the reasons stated in paragraphs 40 to 48, 51 to 55, 57, 74, 117 to 118 and 141

to 142.

                 12.    In July 2014, Millennial Media’s New CEO Disclosed That He Was
                        Taking Drastic Steps to “Reshape” the Company

          162.   On the morning of July 8, 2014, AdAge published an article titled “Michael

Barrett Is Crafting a Plan to Keep Millennial Media in the Mobile-Ad Party: How Struggling

Company Will To [sic] Stay Afloat, Stand Apart In a Field Of Giants.” The article revealed for

the first time that the Company was on the brink of failure, and that its new CEO, Defendant

Barrett, was taking drastic steps to “reshape” the Company’s strategy.              Defendant Barrett

admitted that Millennial Media’s ad platform was not fully developed when he began his due

diligence before accepting a position with the Company. In his words: “But when I started to

take a look at all the assets that they had and the platform strategy -- that was embryonic at the

time -- that really became a huge appeal.” When he came aboard, contrary to the statements


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made by his predecessor, who proclaimed Millennial Media’s sophisticated advertising

placement and tracking technology, he instead observed that “[Millennial Media] ha[d] all the

pieces necessary to build a really important mobile platform company.” In response to this

disclosure, Millennial Media’s stock price fell $0.36 per share, or 8.55%, to close at $3.85 per

share on July 8, 2014.

               13.       In August 2014, the Company Again Disclosed Disappointing
                         Earnings, and Executive Vice President Spilman and Board Director
                         MacIntosh Resigned

       163.    On August 11, 2014, after the markets closed, Millennial Media issued a press

release reporting revenue for the second quarter of 2014 of just $67.3 million. The Company

also issued third quarter revenue guidance in the range of $65 million to $70 million, again short

of analysts’ expectation of $77.95 million. In addition, the Company announced the resignations

of Mary “Mollie” Spilman, Executive Vice President of Global Sales and Operations, and

Defendant Alan MacIntosh (“MacIntosh”), a member of the Board. The Company’s Prospectus

for the Secondary Offering had identified Spilman (along with Palmieri, Root and Brandenburg)

as the executives whose “continued service” the Company was “substantially dependent on.” By

the end of the Class Period, they had all resigned.

       164.    In connection with these results, CEO Barrett acknowledged that he was “not

happy” and that the Company would “continue to see challenges in the near future,” particularly

tied to its inability to capitalize on performance advertising. Barrett explained, in part:

               In the second quarter, we saw a significant year-over-year and
               sequential drop-off of performance revenues, largely attributable
               to a small number of very large app download advertisers.


                                          *       *       *

               As we mentioned in our last quarterly call in our summary of Q2,
               we’ve recently experienced a very significant drop-off in our


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                performance business, due mainly to a small number of large
                clients spending far less with us than at this time last year. While
                there are a number of factors at play here, clearly a few big players
                entering the mobile space are taking significant chunks of the app
                download business.

                                          *      *       *

                I continue to see a great early-stage opportunity here at Millennial.
                We have work to do and we’ll continue to see challenges in the
                near future.

                                          *      *       *

                I’m convinced we have many of the component pieces here to
                have a great mobile advertising business. This won’t happen
                overnight and it will take lots of hard work in some and some
                patience. It’s not going to take three years but it won’t happen in
                a quarter or two either.

        165.    CAO Jeanneret reiterated the “significant drop-off in the app download

performance business, both year-over-year on a pro forma combined basis, and sequentially

since last quarter”:

                As Michael mentioned, this decrease in performance revenue can
                be attributed to a number of factors, including a significant drop-
                off of a few large performance advertisers, as well as competitive
                pressures.

        166.    Millennial Media thereby disclosed the fact that it was losing significant clients

years after it first observed that clients were leaving based on the significant deficiencies in its

technology.

        167.    On the same day, August 11, 2014, Millennial Media filed its quarterly report on

Form 10-Q with the SEC, reporting revenue of just $67.3 million for the second quarter of 2014.

        168.    Early the next day, on August 12, 2014, the Wall Street Journal reported that

Millennial Media’s foundational brand advertising approach was failing and that its claims that it

could capitalize on programmatic advertising appeared to be simply “bluster”:



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               MOBILE SHORTFALL: Millennial Media, an early mover in
               mobile advertising, is having a really tough time in what has
               become an intensely competitive market. While the company’s
               second quarter revenue climbed 18% to $67.3 million, that was
               below Wall Street estimates. And the company’s losses are
               widening, reports WSJ’s CMO Today. Millennial CEO Michael
               Barrett acknowledged during Monday’s earnings call that he’s
               disappointed. And with the stock dropping 12% after hours, it
               seems so is the stock market. But beyond Wall Street, Millennial
               may have a tougher time winning back the interest of Madison
               Avenue. Sure, mobile ads are a hot growth sector. But Millennial’s
               business is built on mobile banners ads–even as Google,
               Facebook and Twitter become the dominant mobile ad players
               and the market moves away from mobile display ads in favor of
               video, search and native treatments. Millennial has looked to own
               mobile programmatic advertising, launching an exchange platform
               with the ad technology firm AppNexus. But early talk among the
               two partners about the billions of ad impressions that will change
               hands on that exchange is increasingly feeling like bluster.

       169.    Similarly, an Evercore analyst reported that key questions remained as Millennial

Media might be unable to compete in an industry that is based on ad targeting and attribution:

               Millennial reported a second disappointing quarter in a row, with
               both revenue and EBITDA missing the company’s own guidance
               and Street expectations. Though the performance business drove
               the y/y revenue declines, the guidance miss this quarter was
               attributed to lower than expected growth on the Brand side of the
               business due to a pipeline that did not materialize in June. While
               Millennial’s programmatic offering (MMX) continues to perform
               well, the company’s core non-programmatic ad network is hitting
               competitive headwinds from which it may be difficult to recover as
               larger platforms build an advantage around ad targeting, formats,
               and attribution, all critical on mobile. As such, until MMX can
               scale to the point of driving overall revenue growth, the question
               we have remains the value of the company’s software
               development kits installed on over 60k publishers, a number
               which has remained steady despite the declining revenue.

       170.    In response to the disclosure of the true state of the Company’s earnings outlook

and these resignations, Millennial Media’s stock price fell $0.43 per share, or 14.58%, to close at

$2.52 per share on August 12, 2014, marking a new all-time low, i.e., 80.62% below the IPO

price and $11.63 or 82.19% below the Secondary Offering price.


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              14.     The Exchange Act Defendants Failed To Disclose Material, Non-
                      Public Facts During the Class Period

       171.   The foregoing false and misleading statements were also false and misleading for

their failure to disclose material, non-public facts whose non-disclosure rendered the Exchange

Act Defendants’ statements materially misleading. During the Class Period, the Exchange Act

Defendants failed to disclose the material adverse facts below that were in existence at the time

each of the foregoing materially false and misleading statements was made, the disclosure of

which would have led to a sharp decline in the price of Millennial Media’s common stock:

              a.      technological products and services crucial to the Company’s business
                      model were not fully functional, but in fact were still in nascent stages
                      when announced, leading to rushed, slipshod programming, poor
                      performance, and failure;

              b.      the Company had little meaningful ability to accurately track and report
                      end-user clicks, leading to significant over-billing, which in turn led
                      customers to abandon Millennial Media;

              c.      third party data trackers had a serious negative impact on the Company’s
                      ability to retain clients and generate revenue as they revealed Millennial
                      Media’s reported user performance was materially overstated and its
                      backend analytics were not accurate or trustworthy, which led to a loss of
                      important Company clients;

              d.      Danielle Repetti (currently Vice President of Performance at Millennial
                      Media) met with Defendant Palmieri in the Fall of 2012 about
                      discrepancies in Millennial Media’s revenue due to the introduction of
                      third party trackers, which was a serious, undisclosed threat to Millennial
                      Media’s ability to retain clients and generate revenue;

              e.      In the Spring of 2013, Millennial Media’s Senior Vice President of
                      Technology, the principal software engineer in charge of the MYDAS
                      platform, and seven to eight key engineers left the Company;

              f.      Millennial Media undertook corporate acquisitions during the Class Period
                      to fill gaping holes in the Company’s technological capabilities;

              g.      The Jumptap acquisition was misrepresented as progressing well through
                      integration, when, in fact, the integration of the two technology “stacks”
                      proved impossible stemming from its own prior rushed and slipshod
                      development., and the Company’s operations were in fact divided among



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                      “team green” (Millennial Media) and “team blue” (Jumptap); and

               h.     Millennial Media’s revenues and user data included significant amounts of
                      traffic from “click fraud.” A December 2014 report by Pixalate (the
                      (“Pixalate Report”), a leading analytics platform for programmatic
                      advertising, confirms Millennial Media’s longstanding inability to
                      accurately track and report advertisement-related clicks and actions by
                      users. On December 10, 2014, Pixalate released a new rating standard
                      called the “Global Seller Trust Index.” The Index analyzed “more than
                      100 billion monthly impressions and deliver[ed] ratings based upon
                      inventory quality and ad performance, along with classic reach rating.” In
                      other words, the Index measured fake traffic on mobile advertisements that
                      are never seen by humans. According to the results of Pixalate’s Index
                      from November 2014, Millennial Media ranked number 300 out of the 400
                      companies analyzed, due to a “high ratio of fraudulent traffic” on its
                      platform.

                      According to CW11, a Sales Director in the Company’s San Francisco
                      office from May 2013 through December 2014, fraudulent traffic was
                      created by unscrupulous app developers. Because app developers were
                      paid every time a consumer or user clicked on an advertisement on their
                      app, they were incentivized to increase the number of clicks on the
                      advertisement. To increase the number of clicks, some app developers
                      utilized “Bots,” or automated programs to falsely inflate the number of
                      clicks an advertisement received.       However, according to CW11,
                      Millennial Media did not effectively police fraudulent Bot-driven traffic,
                      which was reflected in the Pixalate Report.

                      CW10 agreed. CW10 was a Director of Account Management at
                      Millennial Media from November 2013 through July 2014, and prior to
                      that worked at Jumptap. According to CW10, advertisers are not
                      interested in paying for internet traffic that is based on automated systems
                      (or “click fraud”), but Millennial Media did not invest much time, effort or
                      technology trying to police inflated internet traffic, and that failure was
                      fully reflected in the Pixalate Index.

       172.    The Exchange Act Defendants’ false statements and omissions during the Class

Period caused the Company’s stock to trade at artificially inflated prices during the Class Period.

However, as the truth about the Company’s flawed technology and failed integration efforts

described above were revealed to the market, the Company’s stock price fell by $22.48 per

share—or 89.92%—from its Class Period-high closing price of $25.00 per share on March 29,

2012, causing significant harm to Plaintiffs and the Class.


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       D.      LOSS CAUSATION / ECONOMIC LOSS

       173.    As set forth above, throughout the Class Period, Millennial Media executives

were aware or recklessly disregarded that Millennial Media’s technology was flawed, it was

unable to accurately track and report critical commercial metrics, it failed to integrate Jumptap’s

technology into its existing technology, and it was unable to sufficiently generate revenue. When

the Company revealed these truths to investors through a series of partial disclosures discussed

below, the Company’s share price fell precipitously, ultimately losing more than 89% of its value

from the Class Period high closing price of $25.00 per share and falling more than 80% below

the price at which shares were sold in the Company’s IPO.

       174.    On February 19, 2013, after the close of the markets, the Company issued a press

release announcing revenue for the fourth quarter of 2012 of $58 million—sharply below

analysts’ expectations of $62.9 million—and full-year revenues of $177.7 million, below the

Company’s own estimates. The Company also gave disappointing revenue guidance for 2013

and disclosed that it would acquire Metaresolver to “help [the Company] deliver additional

programmatic buying solutions and will enhance our ability to capture and analyze highly

relevant data to produce results for advertisers and developers.” In response to this partial

disclosure of the true state of the Company’s proprietary software and related technologies,

Millennial Media’s stock price fell $5.38 per share, or 37.54%, to close at $8.95 per share on

February 20, 2013.     However, the Company’s stock price remained inflated because the

Exchange Act Defendants offered false and misleading explanations for, and continued to

conceal, the true extent of the Company’s problems during the remainder of the Class Period, as

set forth above.

       175.    On August 13, 2013, Millennial Media issued press releases announcing the

Company’s disappointing results of operations for the second quarter of 2013 and that the


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Company had reached an agreement to acquire Jumptap. The Company reported revenue of $57

million, which was below analyst estimates. The Company did not include guidance for the

coming quarter or an update to its guidance for the full year in the press release in a manner

consistent with prior practice, but rather directed investors to a presentation on its website and

stated that guidance would be discussed on its earnings call that day. In response to this partial

disclosure and the need to acquire Jumptap, which revealed weaknesses in the Company’s

proprietary software and related technologies, Millennial Media’s stock price fell $1.60 per

share, or 18.82%, to close at $6.90 per share on August 14, 2013. However, the Company’s

stock price remained inflated because the Exchange Act Defendants offered false and misleading

explanations for, and continued to conceal, the true extent of the Company’s problems during the

remainder of the Class Period, as set forth above.

       176.    On November 13, 2013, after the markets had closed, the Company issued a press

release announcing disappointing results for the third quarter of 2013 and unexpectedly downcast

guidance for the fourth quarter. During a conference call for investors later that day, Defendant

Palmieri admitted that the reason for the Metaresolver and Jumptap acquistions to “fill in real

gaps” in Millennial Media’s platform that existed at the time – specifically “performance

advertising and RTB buying capability” – and that the reason for the Jumptap acquisition was

to obtain Jumptap’s expertise in third party data. In response to this partial disclosure of the

continued erosive effect of unresolved weaknesses in the Company’s proprietary software and

related technologies on the Company’s ability to generate revenue, Millennial Media’s stock

price fell $0.86 per share, or 11.98%, to close at $6.32 per share on November 14, 2013.

However, the Company’s stock price remained inflated because the Exchange Act Defendants




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offered false and misleading explanations for, and continued to conceal, the true extent of the

Company’s problems during the remainder of the Class Period, as set forth above.

       177.    On February 19, 2014, after the markets had closed, the Company issued a press

release revealing disappointing revenue guidance for the first quarter of 2014 of between $72

million and $76 million—far below analysts’ expectations of $83 million—and weak guidance

for EBITDA, projecting a loss of between $5 million and $6 million, which sharply diverged

from analysts’ expectations of a gain of $8.8 million. Millennial Media also revealed that, based

on the then-current state of its technology, it could not expect to achieve earlier growth

projections. In response to this partial disclosure that the Company’s proprietary software and

related technologies would require significant additional investment and development and were

not ameliorated by the Company’s costly corporate acquisitions, Millennial Media’s stock price

fell $1.05 per share, or 14.58%, to close at $6.15 per share on February 20, 2014. However, the

Company’s stock price remained inflated because the Exchange Act Defendants offered false and

misleading explanations for, and continued to conceal, the true extent of the Company’s

problems during the remainder of the Class Period, as set forth above.

       178.    On May 7, 2014, after the markets had closed, the Company issued a press release

announcing its results of operations for the first quarter of 2014. The Company reported revenue

of $72.6 million compared to analysts’ expectations of $75.5 million. It also gave dour revenue

guidance for the second quarter of 2014 of between $70 million and $75 million, 22% below

analysts’ expectations of $96.4 million. That day, the Company also announced that Defendant

Avon would step down “to pursue other career interests.” In response to this resignation and the

partial disclosure of the state of the Company’s competitive position, low revenue visibility, poor

outlook for growth and the deleterious effects of its weak and underdeveloped technology on its




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prospects, Millennial Media’s stock price fell $1.99 per share, or more than 37%, to close at

$3.36 per share on May 8, 2014. However, the Company’s stock price remained inflated because

the Exchange Act Defendants offered false and misleading explanations for, and continued to

conceal, the true extent of the Company’s problems during the remainder of the Class Period, as

set forth above.

       179.    On the morning of July 8, 2014, Advertising Age published an article titled

“Michael Barrett Is Crafting a Plan to Keep Millennial Media in the Mobile-Ad Party: How

Struggling Company Will To [sic] Stay Afloat, Stand In a Field Of Giants.” The article revealed

that the Company was on the brink of failure, and that its new CEO, Barrett, was taking drastic

steps to “reshape” the Company’s strategy. Defendant Barrett admitted that Millennial Media’s

ad platform was not fully developed when he began his due diligence before accepting a position

with the Company: “But when I started to take a look at all the assets that they had and the

platform strategy -- that was embryonic at the time -- that really became a huge appeal.” When

he came aboard, contrary to the statements made by his predecessor, who proclaimed Millennial

Media’s sophisticated advertising placement and tracking technology, he instead observed that

“[Millennial Media] ha[d] all the pieces necessary to build a really important mobile platform

company.” In response to this disclosure, Millennial Media’s stock price fell $0.36 per share, or

8.55%, to close at $3.85 per share on July 8, 2014. However, the Company’s stock price

remained inflated because the Exchange Act Defendants offered false and misleading

explanations for, and continued to conceal, the true extent of the Company’s problems during the

remainder of the Class Period, as set forth above.

       180.    On August 11, 2014, after the markets had closed, Millennial Media issued a press

release reporting revenue for the second quarter of 2014 of just $67.3 million. The Company




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also issued third quarter revenue guidance in the range of $65 million to $70 million, again short

of analysts’ expectation of $77.95 million. On an earnings call that same day, Defendant Barrett

acknowledged to the market that he was “not happy” with these results. Defendant Jeanneret

reiterated the “significant drop-off in the app download performance business, both year-over-

year on a pro forma combined basis, and sequentially since last quarter.” Millennial Media

thereby disclosed for the first time the full extent of the truth regarding it losing significant

clients years after it first observed that clients were leaving based on the significant deficiencies

in its technology. In addition, the Company announced the resignations of Spilman, Executive

Vice President of Global Sales and Operations, and Defendant MacIntosh, a member of the

Board. In response to the disclosure of the true state of the Company’s earnings outlook and

these resignations, Millennial Media’s stock price fell $0.43 per share, or 14.58%, to close at

$2.52 per share on August 12, 2014, marking a new all-time low, i.e., 80.62% below the IPO

price and 82.19% below the Secondary Offering price.

       E.      THE EXCHANGE ACT DEFENDANTS ACTED WITH SCIENTER

       181.    During the Class Period, the Exchange Act Defendants had motive and

opportunity to commit fraud. The Exchange Act Defendants had, by virtue of their positions in

the Company, the means to achieve a concrete and personal benefit, and they indeed benefitted

in a concrete and personal way, from the alleged fraud by, inter alia:

               a.      seeking to recoup their investments in the Company by inflating
                       Millennial Media’s share price through the false and misleading
                       statements so that they could “cash out” in the IPO, the Secondary
                       Offering and otherwise;

               b.      selling a portion of their holdings at inflated prices and thereby limiting
                       the risk on their investment;

               c.      establishing and benefiting from exorbitant pay packages that, according
                       to the Company’s Prospectuses, accelerated upon the officers’
                       resignations;


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               d.      with respect to Defendant Palmieri, limiting his risk of being CEO by
                       working out an exit plan to be employed by Defendant venture capital firm
                       Defendant NEA after he left the Company; and

               e.      with respect to Palmieri, engaging in short-swing profits transactions by
                       purchasing 20,000 shares of Company stock in November 2013 at prices
                       of $5.92 to $6.58 per share, less than six months after he sold 262,500
                       shares of his stock in July 2013 at prices of $10.00 to $10.04 per share.

       182.    In addition, the facts alleged herein give rise to a strong inference of scienter

because the Exchange Act Defendants engaged in deliberately illegal behavior; and acted

recklessly, knew facts or had access to information showing that their public statements were not

accurate; and/or failed to check information they had a duty to monitor. In so doing, the

Exchange Act Defendants committed the illegal acts alleged herein, and practiced and

participated in a course of business that operated as a fraud or deceit on purchasers of Millennial

Media’s stock during the Class Period.

               1.      The Exchange Act Defendants Profited from Massive Insider Sales

       183.    As discussed below, Millennial Media executives sold tens of millions of dollars

of their personally-held shares in the Company’s March 2012 IPO and the October 2012

Secondary Offering. These insider sales included sales by Exchange Act Defendants Palmieri

and Avon.

       184.    On or about April 3, 2012, in the Company’s March 2012 IPO, Defendants

Palmieri and Avon sold close to $10 million of their personally-held Millennial Media shares to

investors, while the same insiders were in possession of material adverse non-public information

about the Company.       As set forth below, these investors sold the following amounts of

Millennial Media shares at artificially-inflated prices:




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                                    No. of                     Value of
                Individual       Shares Sold      Price      Shares Sold
              Paul Palmieri        732,562        $12.09     $8,856,674.58
              Michael Avon          74,241        $12.09       $897,573.69
                   Total           806,803                   $9,754,248.27

       185.    On October 29, 2012, in the Company’s October 2012 Secondary Offering,

Defendants Palmieri and Avon also sold more than $16.3 million of their personally-held

Millennial Media shares to investors, while they were in possession of material adverse non-

public information about the Company. As set forth below, these Defendants sold the following

amounts of Millennial Media shares at artificially-inflated prices:

                                  No. of                       Value of
                Individual                        Price
                                Shares Sold                   Shares Sold
              Paul Palmieri       1,100,862     $13.4425       $14,798,337
              Michael Avon          118,349     $13.4425        $1,590,906
                   Total          1,219,211                    $16,389,243

       186.    These insider sales were highly suspicious in both scope and timing. First, the

massive size of these insiders’ sales (totaling more than $26.14 million in total value) was

staggering.

       187.    Second, these sales represent large percentages of the shares in Millennial Media

that Palmieri and Avon held prior to the IPO. Prior to the IPO, Defendant Palmieri beneficially

owned 7,397,327 shares of Company stock, and Defendant Avon held 448,541 shares of

Company stock. Through the IPO and the Secondary Offering, Palmieri sold 1,833,424 of his

Company shares and Avon sold 192,590 shares, which represented 25% (Palmieri) and 43%

(Avon) of the shares they held at the time of the IPO. In other words, the Company’s CEO sold

one quarter of his shares in the Company, and the CFO sold close to half his shares in the

Company in connection with, or within seven months of, the IPO. It is appropriate to aggregate

each of these Defendants’ sales in the IPO and in the Secondary Offering because Palmieri and



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Avon were restricted in the number of shares they could sell in the IPO. In addition, pursuant to

lock-up agreements between Millennial Media’s officers and the underwriters of the IPO,

Millennial Media officers could not sell Millennial Media shares – in addition to what they sold

in the IPO – until at least 6 months after the IPO. This lock-up period expired on September 25,

2012, and the Secondary Offering followed shortly thereafter.11

       188.    Third, the net profits from Defendants Palmieri’s and Avon’s sales were several

times greater than their customary salary and bonus compensation for 2012 and represent

massive profits for these executives. Defendant Avon’s cost basis for his shares sold on April 3,

2012 was $0.76 per share and his profits on this transaction were $841,151. Defendant Avon’s

cost basis for his shares sold on October 29, 2012 was also $0.76 and his profits on this

transaction were $1,500,961.

       189.    Since Defendant Palmieri sold shares of Millennial Media stock in the IPO and

the Secondary Offering that he acquired prior to the IPO, the cost basis of those shares he sold is

not publicly reported. To reach some approximation of Palmieri’s net profits, it is noted that

over a year prior to the IPO, in December 2010, Palmieri and other executives sold a portion of

their shares of Millennial Media to the Company’s venture capital investors for $3.2572 per

share. That price is likely significantly higher than Palmieri’s cost basis for the shares he sold in

the IPO and in the Secondary Offering. However, even using $3.2572 as a proxy for Palmieri’s




11
   Between the IPO and the Secondary Offering, Palmieri acquired 81,200 shares of Company
common stock through restricted stock units from the Company on September 11, 2012 (rather
than open market purchases), and those shares should accordingly be disregarded from this
analysis. Similarly, between the IPO and the Secondary Offering, Avon acquired a total of
57,307 shares of Company common stock through restricted stock units from the Company on
April 3, 2012 and September 11, 2012, and those shares should also accordingly be disregarded
from this analysis.

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cost basis for those shares, Palmieri’s imputed net profits in the IPO were at least $6.47 million,

and his imputed net profits in the Secondary Offering were at least $11.2 million.

         190.   The publicly-reported salary and bonus compensation for Palmieri and Avon, as

well as the multiple by which their net profits (including Palmieri’s imputed net profits) on their

IPO and Secondary Offering stock sales exceeded that compensation, is set forth in the table

below:

                                                        2012 Salary and
             Individual          Net Profits                                Multiple
                                                            Bonus
         Paul Palmieri               $17,683,184                $528,363      33.5x
                                       (imputed)
         Michael Avon                 $2,342,112               $367,898       6.4x

The fact that these executives engaged in insider sales whose value ranged from between 6.4 to

33.5 times each executive’s annual salary and bonus compensation is highly suspicious.

         191.   Fourth, the timing of these sales was highly suspicious because these executives

made the sales after they and the Company made a series of statements to investors, which

artificially inflated the value of Millennial Media stock in the run-up to the Secondary Offering.

For example: (1) on August 8, 2012, Millennial Media raised its projections for full-year 2012

by $3 million; (2) on September 12, 2012, Palmieri appeared on CNBC’s “Mad Money” with Jim

Cramer to promote the Company’s stock and claimed that he “love[d] to close the loop. So, not

only show an ad but then come back and say, ‘well, how did that work and did it really deliver

on investment for the advertiser?’ Because return on investment for the advertiser is the way that

advertisers care less about price and I can be more aggressive on pricing, when we’re really

hitting ROI.” This claim was false and misleading because of the Company’s serious problems

with tracking conversions; (3) also on September 12, 2012, it was reported that Avon

participated in “a series of investors meetings” hosted by Canaccord Genuity, resulting in




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Canaccord reporting that, “there is room for increased sponsorship for MM stock as investors

grow their comfort levels with key pillars of the story, mostly around market growth and

competitive position”; (4) on October 15, 2012, Millennial Media pre-announced its third quarter

2012 earnings, which claimed a revenue increase of 85% year over year, and quarter over quarter

growth of 19%; and (5) on October 23-24, 2012, the Company issued the materially false and

misleading Secondary Offering Documents, which made false claims about the Company’s

software tools and related technological services and features. The selling shareholders in the

Secondary Offering benefited from the positive impact that these disclosures had on the market

for Millennial Media’s common stock and allowed the Exchange Act Defendants to execute the

Secondary Offering and sell their shares at a price of $13.44 per share.

       192.    Fifth, the timing of these sales was highly suspicious because CW2 stated that

Danielle Repetti (who is currently Vice President of Performance at Millennial Media) met

regularly with Defendant Palmieri in the Fall of 2012 about discrepancies in Millennial Media’s

revenue due to the introduction of third party trackers, which was a serious negative trend that

threatened Millennial Media’s revenues at the time these sales were made, yet Defendants

Palmieri and Avon failed to disclose it prior to the Secondary Offering.

       193.    Sixth, the timing of the late October 2012 insider sales is highly suspicious

because they fell during the third quarter of 2012, and the Company disclosed on February 19,

2013 sharply disappointing financial results for the very next quarter—the fourth quarter of

2012, announcing the Company’s disappointing revenue guidance for 2013, and announcing the

Company’s acquisition of Metaresolver. Specifically, on February 19, 2013, Millennial Media

reported fourth quarter revenues of only $58 million—sharply below analysts’ expectations of

$62.9 million. The release of this information led to a 37.54% decline in Millennial Media’s




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stock price, to close at $8.95 on February 20, 2013. This price was $4.49 lower than the price at

which Palmieri and Avon sold their more than 1.2 million shares in October 2012. As a result,

their October 2012 sales resulted in the executives avoiding a loss in value of their shares of

more than $5.47 million.

       194.    The following chart reflects the suspicious timing of the October 29-30, 2012

insider sales with respect to these material events:




       195.    In addition, from July 24 to 26, 2013, CEO Palmieri engaged in another round of

stock sales, selling 262,500 shares of his own Millennial Media stock at prices of $10.00-10.04,

for gross proceeds of more than $2.63 million. The sales amounted to an additional 4.6% of

Palmieri’s holdings at the time of the sales. Palmieri’s cost basis for these shares was not

publicly available but using an imputed cost of $3.2572 as a proxy, Palmieri’s imputed profits

were approximately $1.78 million.




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       196.   Palmieri’s July 24 to 26, 2013 sales were highly suspicious in scope and timing

and stand in contrast to the balance of the Class Period after the Secondary Offering when CEO

Palmieri only disposed of 1,692 shares once for tax purposes.        Palmieri’s sales were also

suspicious because they were made pursuant to a Rule 10b5-1 plan that he entered into on March

8, 2013—at a time when Palmieri knew the true undisclosed reasons for the Company’s

disappointing financial results and Millennial Media was experiencing significant undisclosed

internal turmoil. For example, following the February 19, 2013 disclosure of the Company’s

disappointing fourth quarter 2012 results and its need to acquire Metaresolver, the Company’s

CTO and COO resigned on April 5, 2013, and the chief engineer of Millennial Media’s MYDAS

platform (and numerous other software engineers) were fired in May 2013. Palmieri entered into

his Rule 10b-5 plan in the middle of these negative developments.

       197.   Palmieri’s July 2013 sales are also suspicious in timing because, along with the

Millennial Media executives’ October 2012 sales, they represent a pattern of Millennial Media

insiders selling large quantities of personally-held stock shortly after the Company issued

materially false and misleading statements, and before the Company’s announcement of an

acquisition and the release of negative financial information. Specifically, prior to Palmieri’s

July 24 to 26, 2013 stock sales, the Company again issued materially false and misleading

statements on May 8 and 9, 2013 about the Company’s software tools and related technological

services and features, which led to a run-up in the Company’s stock price from May through July

2013. And, shortly after Palmieri’s July 2013 stock sales, less than three weeks later, on August

13, 2013, the Company announced that it was making a stock-based acquisition of Jumptap that

valued Jumptap at $200 million, and that Millennial Media would not issue guidance for the third

quarter of 2013 (or update its guidance for the full year in the expected manner). In response to




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that news, the price of Millennial Media’s stock fell $1.60 per share, or 18.82 percent, to close at

$6.90 per share on August 14, 2013. This was at least $3.10 lower than the price at which

Palmieri sold his 262,500 shares in July, and the timing of Palmieri’s July 2013 sales resulted in

him avoiding a loss of $813,750.

         198.   Palmieri also admitted months after his July 2013 stock sales that he understood

that the announcement of an acquisition like Millennial Media’s acquisition of Jumptap would

have been expected to result in dilution of the Company’s shares and a decline in its share price,

which it did. As Palmieri admitted during the AppNexus Summit in November 2013, he

understood that any time a company announces a stock-based acquisition like Millennial Media’s

acquisition of Jumptap, the acquisition will necessarily dilute the acquiring company’s shares. In

Palmieri’s words, when asked to comment on how the Jumptap acquisition had caused a decline

in Millennial Media’s share price: “[W]hen you acquire a company for stock and it is 22% of

your …22.5% of your new shares that you are issuing you would expect that the stock would

decline as people anticipate taking that dilution.”12 In fact, Millennial Media’s stock price did

decline in response to its August 2013 announcement of its acquisition of Jumptap, exactly as

Palmieri understood it would when he made his July 2013 sales.

         199.   In addition, the only open-market sales of Company stock by Defendant Jeanneret

during the Class Period occurred in the months leading up to the Company’s announcement that

it would be acquiring Jumptap. On June 10, 2013, Jeanneret sold 2,336 of his personally-held

shares at a weighted average sale price of $8.4569 for proceeds of $19,755, which represented

12.5% of the Company securities he beneficially owned at the time. According to Jeanneret’s




12
     https://www.youtube.com/watch?v=irMojDw7FAM

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Form 4 dated September 21, 2012, these shares were acquired as part of restricted stock unit

grants.13

        200.   The following chart reflects the suspicious timing of Jeanneret’s and Palmieri’s

June and July 2013 insider sales with respect to these material events:




13
  The lack of alleged insider sales by Exchange Act Defendant Barrett is not relevant to whether
the sales by the other Exchange Act Defendants support a strong inference of scienter because
Barrett joined Millennial Media as its CEO on January 25, 2014, when the price of Millennial
Media’s stock had already declined by 43% since its IPO price of $13.00.

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       2.     Additional Facts Give Rise to a Strong Inference of Scienter

201.   The following additional facts give rise to a strong inference of scienter:

       a.     Mobile Advertising Is Millennial Media’s Sole Business. Since Millennial
              Media is engaged in only one line of business – mobile advertising – the
              Company’s executives were responsible for understanding the Company’s
              technological offerings, and any material developments that could
              negatively impact the Company’s customer base and revenue stream.

       b.     By February and March 2012, Third Party Data Trackers Demonstrated
              the Unreliability of Millennial Media’s Ability to Track and Verify Users’
              Actions. According to CW2, by February and March of 2012, Millennial
              Media client Supercell (a leading developer of online games, including
              “Clash of Clans”) started to use a third-party tracking tool called
              HasOffers, which resulted in a steep decline in the revenue that Millennial
              Media was able to drive with Supercell.

       c.     By the Fall of 2012, Millennial Media Recognized the Discrepancies in Its
              Revenues Due to the Use of Third Party Data Trackers. According to
              CW2, Danielle Repetti (currently Vice President of Performance at
              Millennial Media) met regularly with Defendant Palmieri in the Fall of
              2012 about discrepancies in Millennial Media’s revenue due to the
              introduction of third party trackers, which was a serious, undisclosed
              threat to Millennial Media’s ability to retain clients and generate revenue.

       d.     The Suspicious Timing and Amount of Millennial Media’s October 2012
              Secondary Stock Offering Supports a Strong Inference of Scienter. As
              discussed in more detail above, the Company’s rush to execute its massive
              October 2012 secondary offering on the heels of its March 2012 IPO was
              highly suspicious. This is particularly the case because the Company was
              experiencing a declining trend in revenues at the time of the Secondary
              Offering as a result of third-party trackers demonstrating the Company’s
              overstated claims of user actions. As a result, in the Secondary Offering,
              Exchange Act Defendants Palmieri and Avon reaped more than $20
              million in profits from their personally-held Millennial Media stock (using
              imputed prices for Palmieri) on the basis of material undisclosed
              information.

       e.     CW Accounts Contradict Millennial Media’s Statements In the
              Company’s Offering Documents Touting the mMedia Self-Service
              Platform. In the Offering Documents, Millennial Media trumpted the
              mMedia self-service advertising portal. However, CW7 stated that
              Millennial Media published software relating to the mMedia portal that
              was not functioning properly over CW7’s objections to the Vice President
              of Technology, and on internal Production Software Release Forms.
              According to CW7, the Vice President of Technology was pressured by


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                      upper management to push out software releases, often commenting that
                      “management wants this thing out, [so] it’s going out,” regardless of
                      whether the software was ready to be released.

               f.     CW Accounts Contradict Millennial Media’s Claim That It Experienced
                      Poor Fourth Quarter 2012 Performance Only “Very Late in the Quarter”
                      Supports a Strong Inference of Scienter. On February 20, 2013, the
                      Company disclosed disappointing financial results that it attributed to
                      declining performance “very late in the quarter” due to strategic decisions
                      to shun “lower end performance” segments. However, as discussed
                      above, Millennial Media’s trend in declining revenue was apparent in the
                      Fall of 2012 and did not begin only at the very end of the fourth quarter of
                      2012, as Millennial Media claimed. In fact, when CW2 was read the
                      Company’s statement that Millennial Media had departed from its core
                      business of smaller advertisers, CW2 stated that the claim was inaccurate.
                      According to CW2, the issue during that time period was that the
                      Company’s core performance advertisers had begun to use third party
                      tracking tools such as HasOffers and Kochava, and that, once Millennial
                      Media clients began to use those tools, the Company saw revenue decrease
                      substantially, as much as 60%. According to CW2, this involved clients
                      who were typically spending $50,000 per day but their spend amounts
                      dropped to $6,000 because of huge discrepancies exposed by third party
                      data trackers.

               g.     Millennial Media’s February 2013 Acquisition of Metaresolver Supports a
                      Strong Inference that Millennial Media Lacked “Clean” User Data.
                      Although Millennial Media disclosed its acquisition of Metaresolver on
                      February 20, 2013, early reports of a potential acquisition began to
                      circulate as early as February 11, 2013. As AdAge reported that day,
                      Metaresolver was attractive to Millennial Media because, as Metaresolver
                      founder and CEO Seamus McAteer had claimed, Metaresolver’s strength
                      was in providing “clean” data compared to other demand-side platforms
                      that offered a glut of inaccurate information.14 According to AdAge,
                      Metaresolver was able to target mobile ads based on device type, mobile
                      carrier, location and time of day (collectively referred to as the “mobile
                      graph”) and in turn allow for programmatic buying based on such data.15
                      Millennial Media’s acquisition of Metaresolver reflects Millennial
                      Media’s lack of technology that could collect such “clean” user data at the
                      time. In fact, in Millennial Media’s February 20, 2013 press release
                      announcing its acquisition of Metaresolver, the Company stressed that,
                      “Metaresolver uses highly accurate data to identify and build audiences
                      that brands can target with campaigns” and collected “clean and accurate

    14
        http://adage.com/article/digital/millennial-media-talks-acquire-mobile-ad-buying-
platform-metaresolver/239729/
     15
        Id.

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                   foundational data.” Defendant Palmieri stressed the importance of
                   Metaresolver’s “clean” data technology and stated that “Accurately
                   gathering and categorizing this [mobile] data can be the difference
                   between serving an ad that is relevant to a consumer and one that is not,”
                   and “Metaresolver's data-driven approach and technology will allow our
                   platform to go one step further and provide additional value to our
                   advertiser and developer partners.” Millennial Media’s urgency to fill the
                   hole in its technological capability regarding its lack of clean user data is
                   further supported by how Millennial Media acquired Metaresolver after
                   Metaresovler was in existence less than one year, and before Metaresolver
                   showed a profit.

             h.    The April 2013 Departures of Millennial Media’s Co-Founder and Chief
                   Technology Officer, and Chief Operating Officer, Support a Strong
                   Inference that the Company’s Foundational Technology and Operations
                   Were Not as the Company Claimed. Prior to his April 3, 2013 departure
                   from the Company, at the approximate age of 38, Millennial Media’s co-
                   founder and former CTO Brandenburg had been “responsible for the
                   overall technical direction of Millennial Media.” In addition, prior to his
                   April 2013 departure from Millennial Media at the approximate age of 43,
                   former COO Stephen Root was “responsible for its day-to-day operations
                   and results and for executing its overall growth and vision.”16 Like
                   Brandenburg, Root had been with Millennial Media for years and served
                   as the COO of the Company since November 2006. The short time
                   between Millennial Media’s March 2012 IPO, its fourth quarter 2012
                   revenue shortfall and the April 2013 departure of its co-founder and CTO
                   (Brandenburg), and COO (Root), support a strong inference that
                   Millennial Media internally recognized at the time the significant
                   shortcomings in the Company’s foundational technology and operations,
                   as corroborated by numerous CWs discussed herein.

             i.    Defendant Palmieri’s January 25, 2014 Departure from Millennial Media
                   Supports a Strong Inference of Scienter. On January 27, 2014, at the age
                   of 44, Palmieri stepped down from the Board of Directors and as CEO of
                   the Company he founded eight years prior, less than two years after the
                   Company’s March 2012 IPO, in order to become a Venture Advisor with
                   Defendant New Enterprise Associates, which was one of the original
                   investors in Millennial Media and itself made millions of dollars in
                   Millennial Media’s IPO. At the time of his departure, Palmieri stated that
                   he had decided to leave the Company “some time ago,” and that
                   Millennial Media had been conducting a search for his replacement, for
                   “months, not weeks.” This reflected that Palmieri’s recognition of the



   16

http://www.bloomberg.com/research/stocks/people/person.asp?personId=10201615&ticker=MM

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                    problems at the Company stretched back months prior to January 2014.17
                    Yet, the Company did not disclose the fact of Palmieri’s pending departure
                    in December 2013, when Millennial Media awarded Palmieri a raise in
                    base salary from $325,000 to $520,000, an increase in his annual bonus
                    target to 80% of his base salary (from 75%), and an option to purchase
                    900,000 shares of Millennial Media stock over four years at a price of
                    $6.34 per share.18

              j.    Millennial Media’s Acquisition of Jumptap Supports a Strong Inference
                    that the Company Lacked Key Performance Advertising Capabilities or a
                    Third Party Data Strategy. At the time of Millennial Media’s acquisition
                    of Jumptap, Defendant Palmieri stated that the reason for the acquisition
                    was to obtain Jumptap’s expertise in third party data. In Palmieri’s words:
                    “We believe that the combination and integration of our first-party data
                    and Jumptap’s aggregation strategy around third-party data, will quickly
                    give us a much better data asset and will drive even better audiences and
                    results for both brand and performance advertisers, while continuing to
                    respect and protect consumers’ privacy.” As numerous CWs have stated,
                    the emergence of third-party data trackers had led to sharp declines in
                    Millennial Media’s revenues as clients left the Company and Millennial
                    Media’s acquisition of Jumptap was an attempt to fill that hole in its
                    portfolio. In addition, confidential witnesses have stated that Millennial
                    Media’s MYDAS platform was incapable of capitalizing on performance
                    advertising, necessitating the Company’s acquisition of Jumptap.

              k.    Millennial Media Did Not Break Out Its Financial Results Following the
                    Jumptap Acquisition in November 2013 Between Millennial Media and
                    Jumptap, Which Partially Hid That Millennial Media Was Struggling
                    Financially. Millennial Media’s failure to break out its own financial
                    results from Jumptap’s following its acquisition of Jumptap supports a
                    strong inference that Millennial Media was itself struggling financially
                    and Millennial Media had purchased Jumptap as a revenue stream to mask
                    the Company’s own failures.

              l.    Millennial Media Faced Significant Undisclosed Challenges in Integrating
                    Millennial Media with its Acquisition Targets. Numerous CWs have
                    described how Millennial Media faced significant problems integrating the
                    Company with its acquisition targets, despite how Defendant Palmieri
                    described on November 13, 2013 that the integration of Jumptap into
                    Millennial Media was “going well,” and how Defendant Avon stated on
                    February 19, 2014 that “Jumptap’s integration [was] proceeding
                    efficiently.”


    17
      http://technical.ly/baltimore/2014/02/05/millennial-media-paul-palmieri-qa/
    18
      http://www.bizjournals.com/baltimore/news/2013/12/02/millennial-media-ceo-paul-
palmieri.html

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     m.    The May 2014 Resignation of Millennial Media CFO Michael Avon
           Supports a Strong Inference that Millennial Media Was Experiencing
           Significant Financial Difficulties. On May 7, 2014, the Company reported
           results for the first quarter of 2014, including revenues significantly below
           analysts’ expectations. The Company also disclosed grim revenue
           guidance for the coming quarter of between $70 million and $75 million,
           22 percent below analysts’ predictions of $96.4 million. That day,
           Millennial Media also announced that Defendant Avon, Millennial
           Media’s Executive Vice President and CFO at the time, would step down
           from his position at the end of the second quarter of 2014 to “pursue other
           career interests.” Avon had begun his relationship with Millennial Media
           as a venture investor at Columbia Capital, where he led the Company’s
           first round of financing in 2006.

     n.    A Post-Class Period Report Corroborates the Exceedingly Poor Quality of
           Millennial Media’s Data. On December 10, 2014, Business Insider
           published an article detailing the amount of fraudulent ads that appeared
           on the Millennial Media platform, entitled “Study Shows Millennial
           Media, Yahoo And AOL Are Littered With Low Quality Ads.” The story
           read that: “Today, Pixalate, a programmatic advertising analytics
           platform, has released its first monthly Global Seller Trust Index, which
           ranks programmatic advertising sellers . . . [based on] areas such as
           viewability, fraud, engagement and domain masking . . . . [Pixalate CEO
           Jalal] Nasir says the “biggest surprise” among the low rankings was
           publicly listed company Millennial Media, which . . . ranked at No. 300 of
           the 400 companies analyzed, due to a ‘high ratio of fraudulent traffic.’”
           This corroborates the CW accounts herein of Millennial Media’s poor
           technological platform and its lack of “clean” data.

     o.    Numerous Web Postings by Current and Former Millennial Media
           Employees Corroborate the CWs’ Accounts. Postings by current and
           former Millennial Media employees on the website Glassdoor.com
           corroborate the accounts of CWs detailed herein, including how:
           Millennial Media’s foundational technology was of poor quality;
           Millennial Media had significant problems integrating its technology and
           culture with those of its acquisition targets; the Company’s sales
           organization made promises to clients on which its technology simply
           could not deliver; and the Company engaged in improper practices to “hit
           the numbers” each quarter. For example:

           •      On September 24, 2013, a person identified as a current Millennial
                  Media employee posted on Glassdoor that the “Cons” of working
                  at Millennial Media included “Shady practices to ‘hit the
                  numbers’ for each quarter.”

           •      On September 21, 2013, a person identified as a former Millennial
                  Media Software Engineer posted on Glassdoor that, “The emphasis


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                 seems to be getting software out quickly as possible, as opposed to
                 doing it correctly. The desire for mass-produced software tended to
                 rear its ugly head in the sense that the software teams always
                 seemed to be running around like a chicken with its head cut off,
                 either fixing old bugs or getting that must-have feature by Monday.
                 This meant that overtime was the norm instead of the exception.
                 In addition, the desire to get everything done quickly means that
                 old technology is used instead of taking the time to learn new
                 technology. I was rather surprised to find many of the developer’s
                 skills were rather stale.”

           •     On January 23, 2014, a person identified as a then-current
                 Millennial Media Developer posted on Glassdoor that the “Cons”
                 of working at Millennial Media included that “the sales team runs
                 the company - tech and other teams are driven by the wishes and
                 desires of sales for better or worse... in the past year + it hasn’t
                 worked out well” and the Company’s “poor infrastructure in
                 terms of existing technology.”          That person’s “Advice to
                 Management” was to “Create products that work and function as
                 planned. This will keep sales from selling things that don’t work
                 (or just making it up as they go).. it will also keep the other teams
                 from having to put out fires with duct tape on an hourly basis.”

           •     On February 13, 2014, a person identified as a former Millennial
                 Media Developer wrote on Glassdoor that the “Cons” of working
                 at Millennial Media included how “The CEO bailed, and the board
                 brought in someone entirely unfamiliar with the company to fill his
                 shoes,” as well as the “Constantly changing business strategies
                 that never seem to amount to anything.”

           •     On June 19, 2014, a person identified as a then-current Millennial
                 Media employee wrote on Glassdoor to describe working at the
                 Company in the following terms: “Utter lack of direction since
                 the merger. There has been zero integration plan to date. No one
                 is taking responsibility either which is baffling to see at the senior
                 exec level. Where is the accountability? Engineers are leaving in
                 record numbers, can’t get necessary work done to operate
                 efficiently or potentially scale. There is a general inability to
                 attract solid talent which is a vicious cycle. We have far more
                 attrition than anyone can keep up with. The identity of the
                 company since the merger seems in question. The Baltimore HQ
                 no longer has the weight it used to but those here haven’t fully
                 recognized that.”

           •     On July 18, 2014, a person identified as a former Millennial Media
                 Software Engineer posted on Glassdoor that: “After the co-
                 founder and CTO [Brandenburg] left they went through a series of


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                 frankly bad moves. First they fired all of the tech managers
                 (including the people in charge of QA [quality assurance].) This
                 caused quality to seriously drop. So they bought a much less
                 successful company from Boston [Jumptap] and had their people
                 replace all of the managers they just fired. The new managers
                 wanted to try to replace all of the Baltimore tech (not perfect but
                 was well tested and is making most of our revenue) with Boston
                 tech (many problems and frankly some parts don't work at all.) We
                 basically spent 6 months trying to put features that were already in
                 the Baltimore tech into the Boston tech (and in most cases the
                 resultant product wasn't as well engineered as what was always in
                 the Baltimore tech.) They are now backing off that position but the
                 damage has been done. A huge amount of the best people who
                 knew the most about the Baltimore tech have now left the
                 company (Baltimore tech is still making the lion's share of the
                 revenue and the Boston tech cannot replace it without serious work
                 and maybe even a re-write.) The people who are left are going to
                 have to take years to relearn how everything works. If you ask
                 “does anyone know anything about such and such software from
                 the Baltimore tech?” and you get a lot of “no, everyone who did
                 left.” I think they can probably recover from this but it will likely
                 take quite a while (in the mean time the company's competitors
                 haven’t exactly stopped innovating.)” The commenter’s “Advice
                 to Management” was to “Maybe you should check to see if a
                 company’s algorithms actually work before you buy them; not
                 after you buy them, place all of the people at the new company in
                 charge of technology, and then have them try to replace all of your
                 tech with their tech (thus forcing many of your best people to find
                 other companies.).”

           •     On October 4, 2014, a person identified as a then-current
                 Millennial Media Account Executive wrote on Glassdoor: “I once
                 heard an Account executive wonder out loud ho[w] it was that she
                 became such a liar, telling her clients that she was delivering on
                 contracted media as the agency wanted. When presented with
                 making revenue, no one in operations or sales seems to care
                 about being honest with the client.”

           •     On November 17, 2014, a person identified as a former Millennial
                 Media Account Executive wrote about the Company: “Weak
                 technology, poor managers who didn't know what they were doing,
                 lack of communication between sales and operations leading to
                 breakdown, inability to deliver what was promised to our clients.”

           •     On January 15, 2015, a person identified as a former Millennial
                 Media employee wrote in a Glassdoor post: “The company has
                 made the choice to grow through acquisition rather than


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                              innovation. The result of this is multiple technology stacks all in
                              varying states of decay.”

                      •       Millennial Media’s failure to integrate employees and technology
                              following its acquisitions is shown by statements from former
                              Millennial Media employees on Glassdoor. On January 15, 2015,
                              a person identified as a former Millennial Media employee wrote:
                              “W[a]nder the halls and you’ll routinely hear people referring to
                              each other as green or blue (a reference to former Jumptap
                              employees)”; and On January 16, 2015, a person identified as a
                              former Millennial Media employee wrote: “Most acquisitions or
                              mergers bring in further animosity into organization with people
                              referring to each other as team green (legacy millennial), or team
                              blue (jumptap) , or by Office location name.”

               p.     The Exchange Act Defendants had a duty to monitor Millennial Media’s
                      financial performance, the status of its technological offerings, and the
                      status of its integration with Metaresolver and Jumptap. The Exchange
                      Act Defendants failed to check information they had a duty to monitor and
                      their recklessness led Defendant Barrett to issue bullish guidance shortly
                      after becoming CEO and then later admit, on May 7, 2014, that he was
                      wrong to have done so since he was only at the Company 14 days when he
                      made those statements, and the Company’s true financial condition proved
                      to be worse than he claimed.

       202.    Additionally, the following facts, taken collectively with the scienter allegations

above, give rise to a strong inference of scienter with respect to each of the Individual Exchange

Act Defendants:

               a.     Defendant Palmieri

                     i.       Palmieri was, at all relevant times prior to January 25, 2014,
                              President and CEO of the Company, and a member of the
                              Company’s Board. He also acted as Principal Operating Officer
                              from April 5, 2013 until his resignation. By virtue of his positions,
                              Palmieri knew and/or had access to material non-public
                              information about the Company.

                    ii.       During the Class Period, Palmieri certified the Company’s periodic
                              financial reports filed with the SEC and spoke with investors and
                              securities analysts regarding the Company on a regular basis.
                              Palmieri also signed the Registration Statements of the Company
                              in connection with the Offerings.




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         iii.    On or about April 3, 2012, in the March 2012 IPO, Palmieri sold
                 more than $8.85 million of his personally-held Millennial Media
                 shares to investors, while he was in possession of material adverse
                 non-public information about the Company.

         iv.     In the Fall of 2012, Palmieri met regularly with Repetti regarding
                 discrepancies in Millennial Media’s revenue due to the
                 introduction of third party trackers, which was a serious,
                 undisclosed threat to Millennial Media’s ability to retain clients
                 and generate revenue.

          v.     In September 2012, Palmieri received a grant of restricted stock
                 units (“RSUs”) that would vest in the event of termination for
                 cause, or “as a result of [his] resignation for good reason.”
                 Further, as stated in the Secondary Offering Registration Statement
                 filed on October 15, 2012, in the event of change of control or
                 termination, Palmieri, under the terms of his key employee
                 agreement effective July 21, 2006 was entitled to:                “(i)
                 continuation of base salary for six months, and (ii) payment of that
                 portion of healthcare premiums that the company was paying prior
                 to the effective date of termination for six months, subject to him
                 signing a release of claims. Additionally, under the stock option
                 grant notice for an option to purchase 10,000 shares of our
                 common stock granted on March 31, 2009, Mr. Palmieri is entitled
                 to (i) acceleration of 50% of the then-unvested shares of stock
                 subject to the option upon a change in control, and (ii) acceleration
                 of 100% of the then-unvested shares of stock subject to the option
                 if he is terminated by the company without cause or resigns for
                 good reason within one month prior to or 12 months after a change
                 in control.”

         vi.     On or about October 29, 2012, in the Secondary Offering, Palmieri
                 sold $14.8 million of his personally-held Millennial Media shares
                 to investors, while he was in possession of material adverse non-
                 public information about the Company.

         vii.    In 2012, Palmieri’s total compensation was $1,550,851. This was
                 comprised of $298,750 in base salary, $229,613 in bonus,
                 $993,888 in stock awards, and $28,600 in all other compensation.

        viii.    From July 24 to 26, 2013, Palmieri engaged in another round of
                 stock sales, selling 262,500 shares of his own Millennial Media
                 stock at prices of $10.00-10.04, for gross proceeds of more than
                 $2.63 million. These sales were made pursuant to a Rule 10b5-1
                 plan that Palmieri entered into on March 8, 2013—at a time when
                 Millennial Media was experiencing significant undisclosed internal
                 turmoil.


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          ix.      On November 9, 2013, Millennial Media filed a form 8-K with the
                   SEC which announced that Palmieri’s base salary would increase
                   from $325,000 to $520,000 and his bonus target would be
                   increased to 80% of his base salary. Additionally, Palmieri was
                   given an option to purchase 900,000 shares at an exercise price of
                   $6.34 to vest over four years, ending November 15, 2017, “subject
                   to accelerated vesting in specified circumstances.”

           x.      In 2013, Palmieri’s total compensation was $7,304,058. This was
                   comprised of $343,688 in base salary, $210,000 in bonus,
                   $1,014,000 in stock awards, $5,706,000 in option awards, and
                   $29,970 in all other compensation.

          xi.      On January 25, 2014, Palmieri resigned from his roles as President,
                   CEO, and member of the Board. Palmieri remained as a consultant
                   and advisor to the Company through February 1, 2015. In
                   exchange for his services, the Company agreed to pay his 2013
                   executive bonus, which he would have received if he had remained
                   employed by the Company. The Company also accelerated vesting
                   of his outstanding RSUs over the course of his consulting
                   agreement.

     b.      Defendant Avon

            i.     Avon was CFO of Millennial Media from November 2009 through
                   July 1, 2014. He also served as an Executive Vice President of
                   Finance & Corporate Strategy. He was responsible for the
                   Company’s overall financial, legal and corporate development
                   activities. By virtue of his positions, Avon knew and/or had access
                   to material non-public information about the Company.

           ii.     During the Class Period, Avon certified the Company’s periodic
                   financial reports filed with the SEC and spoke with investors and
                   securities analysts regarding the Company on a regular basis.
                   Avon also signed the Registration Statements of the Company in
                   connection with the Offerings.

          iii.     Prior to joining Millennial Media, Avon was principal at Columbia
                   Capital. The Company’s Schedule 14A dated April 30, 2013 states
                   that, Avon “co-led” Columbia Capital’s investment in Millennial
                   Media and served as an “observer” to the Board from 2006 to
                   2009.

          iv.      On or about April 3, 2012, in the IPO, Avon sold more than
                   $897,000 of his personally-held Millennial Media shares to
                   investors, while he was in possession of material adverse non-
                   public information about the Company.



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            v.      On or about October 29, 2012, in the Secondary Offering, Avon
                    sold more than $1.59 million of his personally-held Millennial
                    Media shares to investors, while he was in possession of material
                    adverse non-public information about the Company.

           vi.      In 2012, Avon’s total compensation was $1,082,489. This was
                    comprised of an annual base salary of $232,250, a bonus of
                    $135,648 and stock awards for the amount of $714,591. In March
                    2012, the compensation committee approved an RSU grant to
                    Avon with a fair value of $225,000 that was effective upon the
                    closing of the IPO. These RSUs vested in full six months after the
                    IPO.

          vii.      In 2013, Avon’s total compensation was $4,261,722. This was
                    comprised of an annual base salary of $322,500, a bonus of
                    $300,000, stock awards for the amount of $77,847, option awards
                    for the amount of $3,555,000, and $6,375 in 401(k) plan matching
                    contributions.

          viii.     On July 1, 2014, Avon resigned from his roles as CFO and
                    Executive Vice President to “pursue other career interests.” Avon
                    remained a consultant and advisor to the Company through
                    December 31, 2014. In exchange for his services, the Company
                    agreed to pay him a pro-rated portion of his 2014 executive bonus
                    and $10,000 per month. The Company also accelerated vesting of
                    his outstanding RSUs over the course of his consulting agreement.

     c.       Defendant Jeanneret

             i.     Jeanneret was appointed Senior Vice President of Accounting and
                    CAO in 2011 and served in that role throughout the Class Period.
                    By virtue of his position, Jeanneret knew and/or had access to
                    material non-public information about the Company.

            ii.     During the Class Period, Jeanneret signed the Company’s annual
                    financial reports filed with the SEC and spoke with investors and
                    securities analysts regarding the Company on a regular basis. He
                    also signed the Registration Statements of the Company in
                    connection with the Offerings.

           iii.     Jeanneret’s base salary was initially $325,000 per year eligible for
                    an annual discretionary cash bonus of up to 70% of his then-
                    current base salary.

           iv.      Jeanneret’s only open-market sales of Company stock during the
                    Class Period occurred in the months leading up to the
                    announcement that the Company would be acquiring Jumptap. On
                    June 10, 2013, Jeanneret sold 2,336 of his personally-held shares at


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                             a weighted average sale price of $8.4569 for proceeds of $19,755,
                             which represented 12.5% of the stock he beneficially owned at the
                             time. According to Jeanneret’s Form 4 dated September 21, 2012,
                             these shares were acquired as part of RSU grants.

              d.      Defendant Barrett

                     i.      Barrett was, at all relevant times after January 25, 2014, President
                             and CEO of the Company, and a member of the Company’s Board.
                             He has also acted as Principal Operating Officer since January 25,
                             2014. By virtue of his positions, Barrett knew and/or had access to
                             material non-public information about the Company.

                    ii.      During the Class Period, Barrett certified the Company’s periodic
                             financial reports filed with the SEC and spoke with investors and
                             securities analysts regarding the Company on a regular basis.

                   iii.      Barrett’s base salary under his employment agreement was initially
                             $500,000 per year, with eligibility for an annual discretionary cash
                             bonus of up to 80% of his then-current base salary. Barrett is also
                             eligible to receive restricted stock unit awards with a value of up to
                             $2,000,000 annually, if he meets performance goals as may be
                             determined by the Company in its sole discretion.

                   iv.       On January 28, 2014, the Board approved a new hire equity award
                             to Barrett that covered 2,000,000 shares of common stock,
                             consisting of an option to purchase 1,500,000 shares of common
                             stock as well as 500,000 RSUs. The RSUs and stock option are
                             subject to accelerated vesting in specified circumstances, including
                             one-half of any then-unvested shares will vest upon a “change in
                             control” and 100% of any then-unvested shares will vest if
                             Barrett’s employment is terminated without “cause.”

       F.     THE PRESUMPTION OF RELIANCE WITH RESPECT TO THE
              EXCHANGE ACT CLAIMS

       203.   Co-Lead Plaintiffs are entitled to a presumption of reliance established by the

fraud-on-the-market doctrine in that, among other things:

              a.      the Exchange Act Defendants made material public misrepresentations or
                      failed to disclose material facts during the Class Period;

              b.      Millennial Media stock traded in an efficient market;

              c.      the misrepresentations alleged would tend to induce a reasonable investor
                      to misjudge the value of Millennial Media stock; and



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                 d.     Co-Lead Plaintiffs and other members of the Class purchased Millennial
                        Media stock between the time the Exchange Act Defendants
                        misrepresented or failed to disclose material facts and the time the true
                        facts were disclosed, without knowledge of the misrepresented or omitted
                        facts.

          204.   At all relevant times, the market for Millennial Media stock was efficient for the

following reasons, among others:

                 a.     as a regulated issuer, Millennial Media filed periodic public reports with
                        the SEC;

                 b.     Millennial Media regularly communicated with public investors via
                        established market communication mechanisms, including through regular
                        disseminations of press releases on the major news wire services and
                        through other wide-ranging public disclosures, such as communications
                        with the financial press, securities analysts, and other similar reporting
                        services;

                 c.     Millennial Media was followed by several securities analysts employed by
                        major brokerage firm(s) who wrote reports that were distributed to the
                        sales force(s) and certain customers of their respective brokerage firm(s)
                        and that were publicly available and entered the public marketplace; and

                 d.     Millennial Media stock actively traded in efficient markets, including the
                        NYSE, where the Company’s stock trades under the ticker symbol “MM.”

          205.   As a result of the foregoing, the market for Millennial Media stock promptly

digested current information regarding the Company from all publicly available sources and

reflected such information in the price of Millennial Media stock. Under these circumstances, all

purchasers of Millennial Media stock during the Class Period suffered similar injury through

their purchase of Millennial Media stock at artificially inflated prices and the presumption of

reliance applies.

          206.   Further, to the extent that the Exchange Act Defendants concealed or improperly

failed to disclose material facts with regard to the Company, Co-Lead Plaintiffs are entitled to a

presumption of reliance pursuant to Affiliated Ute Citizens v. United States, 406 U.S. 128, 153

(1972).


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       G.      THE INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND
               BESPEAKS CAUTION DOCTRINE

       207.    The safe harbor provisions for forward-looking statements under the Private

Securities Litigation Reform Act of 1995 are applicable only under certain circumstances that do

not apply to any of the materially false and misleading statements and omissions alleged in this

Complaint.

       208.    First, many of the identified false and misleading statements and omissions herein

are not forward-looking statements, but instead are statements of current or historic fact.

       209.    Second, to the extent there were any forward-looking statements that were

identified as such at the time made, there were no meaningful cautionary statements identifying

important factors that could cause actual results to differ materially from those in the purportedly

forward-looking statements.

       210.    Third, such false and misleading statements were not accompanied by cautionary

language that was meaningful because any such warnings or “risk” factors contained in, or

incorporated by reference in, the relevant press release, SEC filings, earnings calls, or other

public statements described herein were general, “boilerplate” statements of risk that would

affect any mobile advertising company, and misleadingly contained no factual disclosure of any

of the specific details of the endemic problems affecting the Company during the Class Period,

or similar important factors that would give investors adequate notice of such risks.

       211.    Fourth, to the extent there were any forward-looking statements that were

identified as such at the time made, Defendants are liable for those false and misleading forward-

looking statements because at the time each of those forward-looking statements was made, the

particular speaker knew that the particular forward-looking statement was false, or, by reason of

what the speaker failed to note, was materially false and/or misleading, and/or that each such



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statement was authorized and/or approved by a director and/or executive officer of Millennial

Media who actually knew that each such statement was false and/or misleading when made.

       H.      CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                           COUNT I

                     For Violation of Section 10(b) of the Exchange Act
                      and SEC Rule 10b-5 Promulgated Thereunder
                           Against the Exchange Act Defendants

       212.    Co-Lead Plaintiffs repeat, incorporate, and reallege paragraphs 1 to 211 by

reference.

       213.    During the Class Period, the Exchange Act Defendants disseminated or approved

the false statements specified above, which they knew or recklessly disregarded were misleading

in that they contained misrepresentations and failed to disclose material facts necessary in order

to make the statements made, in light of the circumstances under which they were made, not

misleading.

       214.    The Exchange Act Defendants violated Section 10(b) of the Exchange Act and

SEC Rule 10b-5 in that they:

               (a)    employed devices, schemes, and artifices to defraud;

               (b)    made untrue statements of material facts or omitted to state material facts
                      necessary in order to make the statements made, in light of the
                      circumstances under which they were made, not misleading; and/or

               (c)    engaged in acts, practices, and a course of business that operated as a
                      fraud or deceit upon Co-Lead Plaintiffs and others similarly situated in
                      connection with their purchases of Millennial Media stock during the
                      Class Period.

       215.    Co-Lead Plaintiffs and other members of the Class have suffered damages in that,

in reliance on the integrity of the market, they paid artificially inflated prices for Millennial

Media stock. Co-Lead Plaintiffs and other members of the Class would not have purchased



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Millennial Media stock at the prices they paid, or at all, if they had been aware that the market

prices had been artificially and falsely inflated by the Exchange Act Defendants’ misleading

statements.

       216.   As a direct and proximate result of the Exchange Act Defendants’ wrongful

conduct, Co-Lead Plaintiffs and the other members of the Class suffered damages in connection

with their purchases of Millennial Media stock during the Class Period.

                                          COUNT II

                     For Violation of Section 20(a) of the Exchange Act
                      Against the Individual Exchange Act Defendants

       217.   Co-Lead Plaintiffs repeat, incorporate, and reallege paragraphs 1 to 216 by

reference.

       218.   The Individual Exchange Act Defendants acted as controlling persons of

Millennial Media within the meaning of Section 20(a) of the Exchange Act. By virtue of their

positions and their power to control public statements about Millennial Media, as well as their

substantial participation in the fraud, the Individual Exchange Act Defendants had the power and

ability to control the actions of Millennial Media and its employees. By reason of such conduct,

the Individual Exchange Act Defendants are liable pursuant to Section 20(a) of the Exchange

Act.

IV.    THE SECURITIES ACT CLAIMS

       219.   In the allegations and claims set forth in this part of the Complaint, Co-Lead

Plaintiff Mississippi PERS asserts claims under the Securities Act. These claims are asserted

against Millennial Media; the Individual Securities Act Defendants (defined herein); and the

Principal Shareholder Defendants (defined herein)—who signed Millennial Media’s Offering

Documents and/or were members of the Board, or had certain of their agents on the Board at the



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time of the filing of the documents incorporated by reference in the Offering Documents; and the

Underwriter Defendants (collectively, the “Securities Act Defendants”).

       220.    Each of the Securities Act Defendants is statutorily liable under Section 11 of the

Securities Act for the materially inaccurate statements contained in Millennial Media’s Offering

Documents. Co-Lead Plaintiff Mississippi PERS also asserts claims under Section 12(a)(2) of

the Securities Act against the Underwriter Defendants and the Individual Securities Act

Defendants, and control person liability claims under Section 15(a) of the Securities Act against

the Individual Securities Act Defendants and the Principal Shareholder Defendants.

       221.    Co-Lead Plaintiff Mississippi PERS expressly disclaims any allegations of

scienter in these non-fraud claims, which are pleaded separately in this Complaint from Co-Lead

Plaintiffs’ Exchange Act claims except that any challenged statements of opinion or belief made

in connection with the Offerings are alleged to have been materially misstated statements of

opinion or belief when made.

       A.      THE SECURITIES ACT PARTIES

               1.     The Co-Lead Plaintiff

       222.    Mississippi PERS, headquartered in Jackson, Mississippi, is a defined benefit

retirement system, established for the benefit of current and retired public employees of the State

of Mississippi, including individuals employed by the state’s public school districts,

municipalities, counties, community colleges, and state universities. As set forth in Exhibit B,

Mississippi PERS purchased Millennial Media common stock at artificially inflated prices

pursuant and/or traceable to the Offering Documents and has been damaged thereby.




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               2.     The Securities Act Defendants

                      (a)    The Company

        223.   Defendant Millennial Media is a corporation that is organized under Delaware law

and maintains its principal executive offices at 2400 Boston Street, Suite 201, Baltimore,

Maryland. Millennial Media completed offerings of its common stock through the IPO and

Secondary Offering on the NYSE, where its common stock trades under the ticker symbol

“MM.”

                      (b)    The Individual Securities Act Defendants

        224.   Defendant Palmieri was, at all relevant times prior to January 25, 2014, President

and CEO of Millennial Media, and a member of the Company’s Board. Defendant Palmieri was

also the co-founder of the Company. He resigned from Millennial Media less than two years

after the IPO. Palmieri signed the Company’s Registration Statements in connection with the

Offerings. Palmieri is currently a Venture Advisor with Defendant NEA, which held more than

9.8 million shares of Millennial Media common stock prior to the IPO, held more than 5% of

Millennial Media’s voting securities at the time of the IPO, and had a partner of NEA (Defendant

Kerins) serve as a member of the Millennial Media Board. NEA sold more than 1.6 million

shares of Millennial Media stock in the Secondary Offering.

        225.   Defendant Avon was, at all relevant times prior to July 1, 2014, CFO and an

Executive Vice President of the Company. Avon signed the Company’s Registration Statements

in connection with the Offerings. Prior to joining Millennial Media, Avon was a principal at

Defendant Columbia Capital, whose affiliate entities held investments in Millennial Media stock

and sold more than 2.2 million shares through the Secondary Offering. He is currently the

Founder and Managing Partner of ICX Ventures.




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       226.   Defendant Jeanneret was CAO and a Senior Vice President of the Company

during the Class Period and currently serves as its CFO. Jeanneret signed the Company’s

Registration Statements in connection with the Offerings.

       227.   Defendant Robert P. Goodman (“Goodman”) is a member of the Company’s

Board and signed the Company’s Registration Statements in connection with the Offerings.

Goodman is also the founding partner of Defendant Bessemer Venture Partners’ investment

office in Larchmont, New York. At the time of the Secondary Offering, Goodman was a

managing member of Deer Management Co. LLC, the management company for Bessemer

Venture Partners’ investment funds, including Bessemer Venture Partners VI L.P., Bessemer

Venture Partners VI Institutional L.P., and Bessemer Venture Partners Co-Investment L.P. (the

“Bessemer Funds”), which held investments in Millennial Media stock and sold 2.2 million

shares of Millennial Media stock through the Secondary Offering. At the time of the Secondary

Offering, Goodman also was a member of the board of directors of several private Bessemer

Venture Partners portfolio companies.

       228.   Defendant Arun Gupta (“Gupta”) was a member of the Company’s Board prior to

the conclusion of the Company’s 2013 Annual Meeting of Stockholders held on or about June

11, 2013, and signed the Company’s Registration Statements in connection with the Offerings.

In addition, at the time of the Secondary Offering, Gupta was a partner with Defendant Columbia

Capital. At that time, Gupta also served on the boards of directors of several privately held

Columbia Capital portfolio companies.

       229.   Defendant Patrick J. Kerins (“Kerins”) is Chairman of the Company’s Board and

signed the Company’s Registration Statements in connection with the Offerings. In addition, at

the time of the Secondary Offering, Kerins was a general partner of Defendant NEA, whose




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affiliate entities held investments in Millennial Media stock and sold more than 1.6 million

shares of Millennial Media stock through the Secondary Offering. At that time, Kerins also

served on the boards of directors of a number of privately held portfolio companies of NEA.

       230.   Defendant MacIntosh was a member of the Company’s Board during the Class

Period until his resignation on August 11, 2014, and signed the Company’s Registration

Statements in connection with the Offerings.

       231.   Defendant John D. Markley, Jr. (“Markley”) was a member of the Company’s

Board and signed the Company’s Registration Statements in connection with the Offerings.

From 1996 to 2009, Markley was a partner at Defendant Columbia Capital. He is currently a

member of the board of directors at Bear Creek Capital Management.

       232.   Defendant Wenda H. Millard (“Millard”) is a member of the Company’s Board

and signed the Company’s Registration Statements in connection with the Offerings.

       233.   Defendant James A. Tholen (“Tholen”) is a member of the Company’s Board and

signed the Company’s Registration Statements in connection with the Offerings.

       234.   Defendant George Zachary (“Zachary”) is a member of the Company’s Board and

signed the Company’s Registration Statements in connection with the Offerings. Zachary was at

the time of the Secondary Offering, and still is, a general partner of Defendant Charles River

Ventures, whose affiliate entities held investments in Millennial Media stock and sold almost 1.7

million shares of Millennial Media stock through the Secondary Offering.

       235.   The Defendants described in paragraphs 224 to 234 are referred to collectively as

the “Individual Securities Act Defendants.”

                      (c)    The Principal Shareholder Defendants

       236.   Defendant Bessemer Venture Partners advised or managed funds, including, but

not limited to, the Bessemer Funds, that held more than 13.5 million shares of Millennial Media


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stock prior to the IPO, held more than 5% of Millennial Media’s voting securities at the time of

the IPO, and had a partner of Bessemer Venture Partners (Defendant Goodman) serve as a

member of Millennial Media’s Board. Bessemer Venture Partners sold more than 2.2 million

shares of Millennial Media stock in the Secondary Offering. Bessemer Venture Partners is

headquartered at 1865 Palmer Avenue, Suite 104, Larchmont, New York.

       237.   Defendant Columbia Capital, a communications, media and technology

investment firm, advised or managed funds, including, but not limited to, Columbia Capital

Equity Partners IV (QP), L.P., Columbia Capital Equity Partners IV (QPCO), L.P., and Columbia

Capital Employee Investors IV, L.P., that held more than 13.5 million shares of Millennial Media

stock prior to the IPO, held more than 5% of Millennial Media’s voting securities at the time of

the IPO, and had an affiliate (Defendant Gupta) serve as a member of Millennial Media’s Board.

Columbia Capital sold more than 2.2 million shares of Millennial Media stock in the Secondary

Offering. Columbia Capital is headquartered at 204 South Union Street, Alexandria, Virginia.

       238.   Defendant Charles River Ventures is a venture capital firm that advised or

managed funds, including, but not limited to, Charles River Partnership XIII, LP and Charles

River Friends XIII-A, LP, that held more than 10.3 million shares of Millennial Media stock

prior to the IPO, held more than 5% of Millennial Media’s voting securities at the time of the

IPO, and had a partner of Charles River Ventures (Defendant Zachary) serve as a member of

Millennial Media’s Board. Charles River Ventures sold almost 1.7 million shares of Millennial

Media stock in the Secondary Offering.       Charles River Ventures is headquartered at One

Broadway, 15th Floor, Cambridge, Massachusetts.

       239.   Defendant NEA advised or managed funds, including, but not limited to, New

Enterprise Associates 13, L.P. and New Enterprise Associates Ventures 2009, L.P., that held




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more than 9.8 million shares of Millennial Media stock prior to the IPO, held more than 5% of

Millennial Media’s voting securities at the time of the IPO, and had a partner of NEA (Defendant

Kerins) serve as a member of Millennial Media’s Board. NEA sold more than 1.6 million shares

of Millennial Media stock in the Secondary Offering. NEA is headquartered at 5425 Wisconsin

Avenue, Suite 800, Chevy Chase, Maryland.

        240.   The Defendants listed in paragraphs 236 to 239 are referred to as the “Principal

Shareholder Defendants.”

                       (d)    The Underwriter Defendants

        241.   Defendant Morgan Stanley & Co. LLC (“Morgan Stanley”) acted as an

underwriter of the Offerings and as a representative of the underwriters for the Offerings.

Morgan Stanley maintains its principal place of business at 1585 Broadway, New York, New

York.

        242.   Defendant Goldman, Sachs & Co. (“Goldman”) acted as an underwriter of the

Offerings and as a representative of the underwriters for the Offerings. Goldman maintains its

principal place of business at 200 West Street, New York, New York.

        243.   Defendant Barclays Capital Inc. (“Barclays”) acted as an underwriter of the

Offerings and as a representative of the underwriters for the Offerings. Barclays maintains its

principal place of business at 745 Seventh Avenue, New York, New York.

        244.   Defendant Allen & Company LLC (“Allen & Company”) acted as an underwriter

of the Offerings. Allen & Company maintains its principal place of business at 711 Fifth

Avenue, New York, New York.

        245.   Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel”) acted as an

underwriter of the Offerings. Stifel maintains its principal place of business at 501 N. Broadway,

St. Louis, Missouri.


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        246.       Defendant Canaccord Genuity Inc. (“Canaccord”) acted as an underwriter of the

Secondary Offering. Canaccord maintains an office at 350 Madison Avenue, New York, New

York, and its principal place of business at 609 Granville Street, Vancouver, British Columbia,

Canada.

        247.       Defendant Oppenheimer & Co. Inc. (“Oppenheimer”) acted as an underwriter of

the Secondary Offering. Oppenheimer maintains its principal place of business at 85 Broad

Street New York, New York.

        248.       The Defendants listed in paragraphs 241 to 247 are referred to as the

“Underwriter Defendants.”

        B.         THE SECURITIES ACT DEFENDANTS ARE LIABLE FOR MATERIAL
                   MISSTATEMENTS AND OMISSIONS IN THE OFFERING
                   DOCUMENTS

        249.       The Offering Documents were misstated and failed to disclose that Millennial

Media’s software and related technologies were either not yet functional or not sufficiently

functional to offer the features and services as set forth in the Offering Documents. Co-Lead

Plaintiff Mississippi PERS incorporates by reference herein the allegations in paragraphs 23 to

35 above setting forth the materiality of Millennial Media’s technology to its business, and the

materiality of Millennial Media’s ability to accurately track and report user data to the Company

and its clients.

                   1.    In the March 2012 IPO, Millennial Media and Company Insiders Sold
                         More than $152 Million in Stock to Investors Based on Material
                         Misrepresentations and Omissions

        250.       On January 5, 2012, Millennial Media filed a Form S-1 Registration Statement

with the SEC in connection with the Company’s contemplated IPO. The Company filed five

amended versions of the IPO Registration Statement between February 10 and March 27, 2012.




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         251.   On March 28, 2012, Millennial Media’s IPO Registration Statement was declared

effective and the Company finalized its completed IPO Prospectus. As set forth in the IPO

Offering Documents, Millennial Media registered 10.2 million shares of common stock plus an

underwriters’ over-allotment option for an additional 1,530,000 shares to be offered to the public

at $13.00 per share.19

         252.   On March 29, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the IPO Registration Statement and filed its IPO Prospectus pursuant

to Rule 424(b)(4) with the SEC. The IPO Offering Documents included materially false and

misleading descriptions of the Company and its technology in the four respects discussed below.

                         (a)   Millennial Media Misstated the Company’s Ability to
                               Accurately Measure, Attribute and Report User Behavior

         253.   In the IPO Offering Documents, the Company and the Individual Securities Act

Defendants made material misstatements that:

                Each time an app makes a request to receive an ad, the MYDAS
                platform performs several tasks automatically and in real-time,
                including identifying unique users; targeting ads based on user
                interest, behavior and location; delivering those ads to millions of
                users through tens of thousands of apps, running on thousands of
                different device types; ensuring that the ads will work over
                wireless connections of varying quality and speed; and measuring
                user engagement and ad performance.

                                         *       *      *

                We offer developers sophisticated reporting and analytics through
                an integrated dashboard on our mmDev portal, which includes
                comprehensive ad revenue generation reports for their apps
                across all major mobile operating systems. These reports help
                developers gain insight into user interaction and behavior and
                the performance of their apps. We share this performance data
                with developers to help them improve their apps and their
                deployment of our [software development kits, or “SDK”s] in

    19
       On or about April 4, 2012, Millennial Media completed its IPO, including the full
exercise of the underwriters’ over-allotment option.

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               order to maximize their ad revenue.

       254.    The foregoing statements in paragraph 253 were misstated and overstated the

Company’s ability to “measure[e] user engagement and ad performance”; issue reports that “help

developers gain insight into user interaction and behavior and the performance of their apps”;

“gain important insights about users”; and how Millennial Media had “sophisticated reporting

and analytics,” which include “comprehensive ad revenue generation reports.”

       255.    In reality, as discussed below, third party data tracking companies were able to

expose serious deficiencies in how Millennial Media reported to developers the amount of user

interaction on Millennial Media’s platform; the Company was unable to accurately perform

conversion matching; and the Company’s reports to developers were inaccurate, which was

causing Millennial Media’s clients to depart or significantly reduce their advertising

expenditures with the Company.

       256.    According to CW2, in or around February and March of 2012, Millennial Media’s

clients began employing “third party tracking services,” which exposed the Company’s inability

to accurately track and report advertisement-related clicks and actions by users. CW2 joined the

Company in October 2011 in its home office in Baltimore, as an account associate on the

performance team, and relocated to the San Francisco office in September 2012 where he was

promoted to account executive. In October 2013, CW2 left the Company in part because of

Millennial Media’s chronic technology issues. CW2 explained that, once third party tracking

services began tracking revenue and customer lifetime value information (i.e., the projected

revenue that a customer will generate during their lifetime) for apps, it became apparent that

Millennial Media had “huge integration issues” with how it integrated its technology with

developers’ apps, which, while it was not common knowledge, would force Millennial Media to

entirely rebuild its systems.


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       257.    Specifically, CW2 stated that he learned from Millennial Media’s engineers that

the Company’s technology was originally built very quickly, and adaptations were built on top of

that foundation, making adaptation to changes time consuming. As a result, Millennial Media’s

foundation needed to be completely rebuilt.        According to CW2, Millennial Media had

difficulty matching conversions by users. For example, CW2 explained that, when a user opened

an app, a conversion event occurred, which was then transmitted to the third party to track. The

third party then in turn sent the conversion event to Millennial Media to “match” the conversion.

But a disconnect occurred when Millennial Media tried to match the conversions. And when

Millennial Media tracked user conversions directly (as opposed to when they were tracked by

third parties), according to CW2, Millennial Media over-counted user conversions.

       258.    CW2 stated that, after Millennial Media’s clients began employing these tools, the

Company’s revenue decreased substantially, by approximately 60%. This included clients who

had been spending $50,000 per day on advertising through Millennial Media, and suddenly, with

the advent of third party trackers, the amount they spent on advertising dropped to $6,000 per

day because of huge discrepancies in user tracking data between what Millennial Media reported

and what the data trackers reported.

       259.    For example, CW2 stated that Millennial Media saw a significant decline in the

revenue generated from Supercell (the developer of the video game “Clash of Clans,” among

others), who began using a third party tracking service known as “HasOffers” in February and

March of 2012.

       260.    Millennial Media’s inability to collect and report clean and accurate user data is

corroborated by confidential witnesses by CW3, who was a User Interface Architect in

Millennial Media’s Baltimore office from May 2011 through March 2013. According to CW3,




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data reporting at Millennial Media was not sophisticated and an overhaul was long overdue.

According to CW3, there were seven or eight tools on the Company’s “backend” from which the

Company needed to collect data, which made it difficult to perform reporting. In addition, a

former salesperson at Millennial Media, without a programming background, was the person

responsible for handling internal queries for reporting purposes, and, overall, the Company’s

approach was not a particularly clean way to report its data.

       261.    The fact that these technological failings existed at Millennial Media at the time

of the time of the IPO is corroborated by developments that occurred after the IPO. For

example, according to CW2, Danielle Repetti (currently Vice President of Performance at

Millennial Media) met regularly with Defendant Palmieri in the Fall of 2012 about discrepancies

in Millennial Media’s revenue due to the introduction of third party trackers. The third party

trackers were able to expose Millennial Media’s inability to accurately track users and report

accurate data (which existed at the time of the IPO) and caused the Company to lose clients and

revenue. By the time CW2 left Millennial Media in October 2013, the Company was no closer

to finding a solution to this problem.

       262.    CW5 corroborated Millennial Media’s loss of customers after the emergence of

third party tracking. CW5 was a Millennial Media account executive and director of sales from

approximately March 2010 to August 2012, and Regional Vice President of Performance from

approximately August 2012 to November 2012. CW5 focused on driving users of an application

or game to view an advertiser’s website or to download their application. To do so, CW5’s team

paired advertisers with application and game developers.        According to CW5, significant

customers such as Zillow, a real-estate website, and DeNA, a Japanese mobile developer,

materially reduced or eliminated their budgets at Millennial Media beginning in late 2012 due to




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the increased usage of third party tracking services. As a result, CW5 stated that CW5’s

performance advertising team lost “well over” 50% of their revenue in early 2013, and the trend

progressively worsened.

                      (b)     Millennial Media Misstated that the Company’s Technology
                              Was “Designed to Address” the Needs of Performance
                              Advertising Clients

       263.    In the IPO Offering Documents, the Company and the Individual Securities Act

Defendants materially misstated that Millennial Media was successfully selling performance

advertisements to large and small clients:

               Our solutions are designed to address the needs of large brand
               advertisers and advertising agencies as well as smaller,
               performance-based advertisers. Large brand and performance
               advertisers typically buy ads on our platform through our sales
               teams.

       264.    The foregoing statements in paragraph 263 materially misstated that the

Millennial Media platform was “designed to address” the needs of performance-based

advertisers – i.e., companies whose advertisements depend on the ability to track user actions

and conversions. As discussed above in paragraphs 254 to 262, these claims were materially

misstated because the Company was unable to accurately track and report user conversions.

       265.    The Company’s true lack of performance advertising capability is also

corroborated by the fact that Millennial Media announced its need to acquire its competing

mobile advertising platform, Jumptap, approximately 17 months after the IPO. As Palmieri told

investors on August 13, 2013, when announcing the acquisition of Jumptap, “where Millennial is

known as the leader in mobile brand advertising, Jumptap has more of a focus on the

performance advertising side of the business.”

       266.    CW6, an executive previously at Jumptap from August 2012 until November

2013, and then an executive at Millennial Media until October 2014, confirmed that it was


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“necessary” for Millennial Media to acquire Jumptap because Millennial Media did not have the

technological capability to grow its performance business, which was “dwindling fast.”

Moreover, after CW6 joined Millennial Media from Jumptap, CW6 found out that not only was

Millennial Media’s technology lacking, but that it was having issues with attribution – i.e., its

ability to attribute user actions to advertisements.

       267.    In addition, CW1, a senior executive at Fiksu, Inc., a media buying entity that

represents over 1000 clients, such as Zillow, confirmed that Millennial Media needed to acquire

Jumptap because its then-current platform could not capitalize on programmatic advertising. At

Fiksu, CW1 oversees Fiksu’s operations, strategic management, planning and implementation

across all of the company’s groups. According to CW1, one of Fiksu’s missions is to track,

attribute, and optimize mobile advertising for clients. CW1 stated that Millennial Media needed

to acquire Jumptap because Millennial Media’s programmatic tools were not competitive and

did not yield the installs necessary for client optimization.

                       (c)     Millennial Media Misstated the True Condition of Its mMedia
                               Self-Service Function

       268.    In the IPO Offering Documents, the Company and the Individual Securities Act

Defendants also made the material misstatement that, “Smaller advertisers typically buy ads

either through our sales team or through our self-service advertising portal, mMedia.” This

statement was materially misstated because the Company’s technological products and services

crucial to Millennial Media’s business model, such as the mMedia self-service advertising portal,

were still in nascent stages when announced, leading to rushed, slipshod programming, poor

performance, failure and an inability to compete with more advanced competitors.

       269.    CW7 stated that CW7’s testing of the Company’s mMedia software often revealed

that it was not functioning well enough to be released. CW7 was a Quality Assurance Manager



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at Millennial Media from approximately October 2010 to May 2013. CW7 managed a team of

five employees who tested new software and software updates related to the Company’s mMedia

self-service advertising portal. CW7’s team was responsible for testing how mMedia’s software

interacted across various platforms and operating systems, such as how the software might

function on an Android system and Apple’s iOS system simultaneously. During CW7’s time at

the Company, Millennial Media published software that was not functioning properly. Yet, CW7

was pressured by the Vice President of Technology, to approve the release of software updates

and releases almost simultaneously with “hot” or “bug” fixes for the underlying, malfunctioning

software. Significantly, even though CW7 voiced objections to the release of malfunctioning

software on Millennial Media’s internal Production Software Release Forms, which were signed

by the Vice President of Technology, Millennial Media still released the malfunctioning software.

According to CW7, the Vice President of Technology was pressured by upper management to

push out software releases, often commenting that “management wants this thing out, [so] it’s

going out,” regardless of whether the software was ready to be released.

                      (d)     Millennial   Media       Misstated   Its     “Real-Time   Bidding”
                              Capability

       270.    In the IPO Offering Documents, the Company and the Individual Securities Act

Defendants also materially misstated that Millennial Media had “real-time bidding” (“RTB”)

capability. RTB capability is a means by which advertising inventory is bought and sold on a

per-impression basis, via programmatic, instantaneous auction, similar to financial markets.

According to the IPO Offering Documents:

               After MYDAS identifies the unique user associated with a specific
               ad request, the context around the ad request and the audiences to
               which the user belongs, MYDAS delivers the request to a real-
               time, bidded marketplace in which it matches available ads with
               available ad requests. MYDAS performs a sophisticated statistical
               analysis to automatically run an instantaneous virtual auction in


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               which each qualified ad campaign bids on each available ad
               request. We call this process optimization and decisioning . . . .
               When MYDAS enters an ad request into the marketplace, each
               agent bids on the ad request, and the platform then matches the
               best available ad to the specific ad request.

       271.    These statements in paragraph 270 were materially false and misleading because

Millennial Media’s platform did not have a “real time, bidded marketplace” until it acquired

Metaresolver one year later, in April 2013. In fact, as Palmieri told investors on May 8, 2013,

Millennial Media acquired Metaresolver because Metaresolver offered “programmatic buying

and selling” – i.e., real-time bidded marketplace technology, which was an admission that the

Company had this significant gap in its own technological capabilities.

                      (e)     The Offering Documents Did Not Satisfy Item 303 or
                              Regulation C

       272.    Pursuant to Item 303 of SEC Regulation S-K, the Offering Documents were

required to disclose, “any known trends or uncertainties that have had, or that you reasonably

expect will have, a material favorable or unfavorable impact on sales or results of operations.”

17 C.F.R. § 229.303. In addition to the identification of such “known trends,” Item 303 requires

disclosure of (i) whether those trends have had or are reasonably expected to have a material

unfavorable impact on revenue; and (ii) the extent of any such impact on revenue.

       273.    Accordingly, the Company and the Individual Securities Act Defendants had a

duty to disclose: (i) whether the increasing presence of “third party tracking services” in the

market had or was reasonably expected to have a “material . . . unfavorable impact on . . .

revenues,” and (ii) to what extent those trends had impacted or were reasonably expected to

impact Millennial Media’s revenue. Nevertheless, Defendants omitted this information from the

Offering Documents and/or otherwise failed to adequately disclose it during the Class Period.

Specifically, in violation of Item 303, the IPO and Secondary Offering Registration Statements



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and Prospectuses failed to disclose that the known trends of increasing third party tracking

services in the market and the Company’s increasing technological failures were having a

material unfavorable impact on Millennial Media’s revenues and financial results. See ¶¶ 254-

262.

       274.    Finally, the Offering Documents were also materially false and misleading

because they failed to disclose the information required by Rule 408 of SEC Regulation C,

pursuant to which registrants have an overarching duty to disclose material information

necessary to ensure that representations in a registration statement are not misleading.

Specifically, Rule 408 requires that, “[i]n addition to the information expressly required to be

included in a registration statement, there shall be added such further material information, if

any, as may be necessary to make the required statements, in light of the circumstances under

which they are made, not misleading.” 17 C.F.R. § 230.408(a).

       275.    The IPO Offering Documents, in their entirety, and as set forth specifically above,

were materially untrue and misleading and omitted to state material information necessary to

make them not misleading, in violation of Defendants’ duty of disclosure under Rule 408.

Similarly, the Secondary Offering Registration Statement and Prospectus, in their entirety, and as

set forth specifically below, were materially untrue and misleading and omitted to state material

information necessary to make them not misleading, in violation of Defendants’ duty of

disclosure under Rule 408. The Offering Documents specifically failed to disclose that the

growing presence of third party tracking services in the market and the Company’s increasing

technological failures was having a material unfavorable impact on the Company’s revenues and

financial results. See ¶¶ 254-262. The Offering Documents also failed to disclose the material




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undisclosed facts in paragraphs 171 (a), (b), (c), (d) and (h) that were in existence at the time of

the IPO and the Secondary Offering.

         276.    On March 29, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the IPO Registration Statement and filed its IPO Prospectus pursuant

to Rule 424(b)(4) with the SEC. Trading in Millennial Media shares commenced on the NYSE

on March 29, 2012. The Company’s stock price rose $12.00, or 92.31%, to close at $25.00 per

share during the trading session that day.

         277.    On or about April 4, 2012, Millennial Media completed its IPO, including the full

exercise of the underwriters’ over-allotment option.

         278.    In the IPO, Millennial Media and certain of its officers and directors, including

Securities Act Defendants Palmieri and Avon, sold more than $152 million in stock to public

investors. Insider sales amounted to approximately 13% of the total value of the IPO. Indeed,

Defendants Palmieri and Avon, and CTO Brandenburg and COO Root, alone, sold nearly $20

million in common stock:

                Individual                   Number of           Price             Value of
                                             Shares Sold                         Shares Sold20
Former CEO Paul Palmieri                       732,562          $12.09           $8,856,674.58
Former CTO Chris Brandenburg                   605,605          $12.09          $7,321,764.45
Former COO Stephen Root                        237,936          $12.09          $2,876,646.24
Former CFO Michael Avon                        74,241           $12.09            $897,573.69
             Total                            1,650,344                         $19,952,658.96

                 2.      Millennial Media’s Secondary Offering in October 2012

         279.    On October 15, 2012, less than seven months after its IPO, Millennial Media filed

a Form S-1 Registration Statement with the SEC in connection with the Company’s

contemplated Secondary Offering.


    20
         The cost basis for almost all of the above transactions is not publicly available.

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       280.    On October 18, 2012, the Company filed an amended version of the Secondary

Offering Registration Statement.

       281.    On October 23, 2012, the Secondary Offering Registration Statement was

declared effective and the Company finalized the Secondary Offering Prospectus.

       282.    On October 24, 2012, prior to the opening of the markets, Millennial Media filed

the effectiveness order for the Secondary Offering Registration Statement and filed its Secondary

Offering Prospectus pursuant to Rule 424(b)(4) with the SEC.

       283.    As set forth in the Offering Documents for the Secondary Offering, Millennial

Media registered 10 million shares of common stock plus an underwriters’ over-allotment option

for an additional 1.5 million shares to be offered to the public at $14.15 per share.

       284.    The Secondary Offering Documents included misstatements concerning the

Company’s abilities to accurately track and report user data; its “design” for performance

advertising; the mMedia self-service platform; and a real-time bided marketplace, in

substantially the same way as the IPO Offering Documents.             For example, the Secondary

Offering Prospectus claimed:

               We enable advertisers to gain insights into the performance of their
               ad campaigns and to manage their campaigns with a view to
               maximizing return on their advertising investment. Our solutions
               are designed to address the needs of large brand advertisers and
               advertising agencies as well as smaller, performance-based
               advertisers. Large brand and performance advertisers typically
               buy ads on our platform through our sales teams. Smaller
               advertisers typically buy ads either through our inside sales team or
               through our mMedia self-service advertising portal.

                                          *       *      *

               As a result of the amount and nature of the data we collect through
               our platform, our reporting to advertisers goes beyond traditional
               post-campaign analysis to provide actionable insights for current
               ad campaigns and future marketing strategies. We offer real-
               time reporting and analytics to help advertisers understand why


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               some campaigns perform better than others.

                                        *       *      *

               After MYDAS identifies the unique user associated with a specific
               ad request, the context around the ad request and the audiences to
               which the user belongs, MYDAS delivers the request to a real-
               time, bidded marketplace in which it matches available ads with
               available ad requests. MYDAS performs a sophisticated
               statistical analysis to automatically run an instantaneous virtual
               auction in which each qualified ad campaign bids on each
               available ad request. We call this process optimization and
               decisioning . . . . When MYDAS enters an ad request into the
               marketplace, each agent bids on the ad request, and the platform
               then matches the best available ad to the specific ad request.

                                        *       *      *

               We offer developers sophisticated reporting and analytics
               through an integrated dashboard on our mMedia portal, which
               includes comprehensive ad revenue generation reports for their
               apps across all major mobile operating systems. These reports help
               developers gain insight into user interaction and behavior and the
               performance of their apps. We share this performance data with
               developers to help them improve their apps and their deployment
               of our SDKs in order to maximize their ad revenue. In addition,
               through the more than 1.5 billion ad requests that we typically
               receive each day, we are able to gain important insights about users
               that we are able to share with developers on an aggregated basis.

       285.    The foregoing statements made in the Company’s Secondary Offering Documents

in paragraph 284 were materially false and misleading for the reasons set forth in paragraphs 254

to 262, 265 to 269 and 271 above. Specifically, according to CW2, Danielle Repetti (currently

Vice President of Performance at Millennial Media’s Baltimore office) met regularly with CEO

Palmieri in the fall of 2012 to discuss the Company’s significant loss of revenue caused by third-

party tracking services exposing the Company’s inability to accurately track and report user data.

Despite these significant material internal developments, and the Defendants’ failure to disclose

the material omitted facts set forth in paragraphs 171 (a), (b), (c), (d) and (h) above, the

Company and the selling shareholders went forward with the Secondary Offering.


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       286.    In addition, pursuant to Item 303 of SEC Regulation S-K, the Secondary Offering

Documents were required to disclose, “any known trends or uncertainties that have had, or that

you reasonably expect will have, a material favorable or unfavorable impact on sales or results of

operations.” 17 C.F.R. § 229.303. In addition to the identification of such “known trends,” Item

303 requires disclosure of (i) whether those trends have had or are reasonably expected to have a

material unfavorable impact on revenue; and (ii) the extent of any such impact on revenue.

Accordingly, Defendants had a duty to disclose: (i) whether the increasing presence of “third

party tracking services” in the market had or was reasonably expected to have a “material . . .

unfavorable impact on . . . revenues,” and (ii) to what extent those trends had impacted or were

reasonably expected to impact Millennial Media’s revenue. Nevertheless, Defendants omitted

this information from the Secondary Offering Documents and/or otherwise failed to adequately

disclose it during the Class Period. Specifically, in violation of Item 303, the IPO and Secondary

Offering Registration Statements and Prospectuses failed to disclose that the known trends of

increasing third party tracking services in the market and the Company’s increasing

technological failures were having a material unfavorable impact on Millennial Media’s

revenues and financial results. See ¶¶ 254-262, 285.

       287.    Finally, the Secondary Offering Documents were also materially false and

misleading because they failed to disclose the information required by Rule 408 of SEC

Regulation C, pursuant to which registrants have an overarching duty to disclose material

information necessary to ensure that representations in a registration statement are not

misleading. Specifically, Rule 408 requires that, “[i]n addition to the information expressly

required to be included in a registration statement, there shall be added such further material

information, if any, as may be necessary to make the required statements, in light of the




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circumstances under which they are made, not misleading.” 17 C.F.R. § 230.408(a). The

Secondary Offering Registration Statement and Prospectus, in their entirety, and as set forth

specifically above, were materially untrue and misleading and omitted to state material

information necessary to make them not misleading, in violation of Defendants’ duty of

disclosure under Rule 408.

         288.    On or about October 30, 2012, Millennial Media completed the Secondary

Offering including the full exercise of the underwriters’ over-allotment option. The Principal

Shareholder Defendants (as defined herein) sold approximately 7.7 million of their privately held

shares through the Secondary Offering.

         289.    Millennial Media executives, including Individual Defendants, used the

Company’s October 2012 Secondary Offering to sell more than $38.7 million of their personally-

held Millennial Media shares to unwitting investors, while the same insiders were in possession

of material adverse non-public information about the Company. As set forth below, these

executives and Individual Defendants sold the following massive amounts of Millennial Media

shares at artificially-inflated prices on or about October 29, 2012:

                Individual                   Number of           Price             Value of
                                             Shares Sold                         Shares Sold21
Former CEO Paul Palmieri                       1,100,862         $13.4425          $14,798,337.44
Former CTO Chris Brandenburg                     895,672         $13.4425          $12,040,070.86
Former COO Stephen Root                          355,861         $13.4425           $4,783,661.49
Former CFO Michael Avon                          118,349         $13.4425           $1,590,906.43
Former Director Alan MacIntosh                   205,273         $13.4425           $2,759,382.30
Former Director John D. Markley, Jr.              88,423         $13.4425           $1,188,626.18
Director Wenda H. Millard                         85,155         $13.4425           $1,144,696.09
Director James A. Tholen                          30,025         $13.4425             $403,611.06
Total                                          2,879,620                           $38,709,291.85




    21
         The cost basis for almost all of the above transactions is not publicly available.

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       290.    The Securities Act Defendants owed Co-Lead Plaintiff Mississippi PERS and the

Class a duty to make a reasonable and diligent investigation of the statements contained in the

Offering Documents to ensure that the statements contained or incorporated by reference therein

were true and that there was no omission to state a material fact required to be stated therein or

necessary to make the statements therein not misleading.

       291.    The Securities Act Defendants did not make a reasonable and diligent

investigation of the statements contained in or incorporated by reference into the Offering

Documents and did not possess reasonable grounds for believing that the Offering Documents

did not contain an untrue statement of material fact or omit to state a material fact required to be

stated therein or necessary to make the statements therein not misleading.

       292.    Co-Lead Plaintiff Mississippi PERS and the other members of the Class

purchased or acquired Millennial Media’s common stock pursuant and/or traceable to the IPO,

the Secondary Offering, or both, and were damaged thereby.

       293.    Co-Lead Plaintiff Mississippi PERS and the other members of the Class did not

know, nor in the exercise of reasonable diligence could they have known, of the untrue

statements of material facts or omissions of material facts in the Offering Documents when they

purchased or acquired Millennial Media’s common stock.

       C.      CLAIMS FOR RELIEF UNDER THE SECURITIES ACT

                                           COUNT III

                        For Violation of Section 11 of the Securities Act
                            Against the Securities Act Defendants

       294.    Co-Lead Plaintiff Mississippi PERS repeats and realleges paragraphs 219 to 293,

as if fully set forth herein, except that for purposes of Counts III, IV, V and VI, Co-Lead Plaintiff

Mississippi PERS expressly excludes and disclaims any allegation that could be construed as



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alleging fraud or intentional or reckless misconduct, as these counts are based solely on claims of

strict liability and/or negligence under the Securities Act.

       295.    This Count is brought against the Securities Act Defendants on behalf of all those

who purchased or otherwise acquired the Company’s common stock pursuant and/or traceable to

the Offerings. The Offering Documents for the Offerings were inaccurate and misleading,

contained untrue statements of material facts, omitted to state other facts necessary to make the

statements made not misleading, and concealed and failed to adequately disclose material facts,

as described above.

       296.    The Securities Act Defendants are strictly liable for the misstatements and

omissions and for the damages that Co-Lead Plaintiff Mississippi PERS and the other members

of the Class have sustained thereby. The Securities Act Defendants are responsible for the

contents and dissemination of the Offering Documents, and did not conduct a reasonable

investigation or possess reasonable grounds for the belief that the statements contained in the

Offering Documents were true and without omissions of any material facts and were not

misleading.

       297.    The Securities Act Defendants issued, caused to be issued, and participated in the

issuance of materially false and misleading written statements to the investing public that were

contained in the Offering Documents, which misrepresented or failed to disclose, among other

things, the facts set forth above. By reasons of the conduct herein alleged, each of the Securities

Act Defendants violated and/or controlled a person who violated, Section 11 of the Securities

Act.

       298.    Less than one year elapsed between the time the facts upon which this Count is

based were or could reasonably have been discovered and the time this claim was brought. Less




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than three years elapsed between the time that the securities upon which this Count is brought

were bona fide offered to the public and the time this action was commenced.

                                            COUNT IV

                  For Violations of Section 12(a)(2) of the Securities Act
     Against the Underwriter Defendants and the Individual Securities Act Defendants

       299.    Co-Lead Plaintiff Mississippi PERS repeats and realleges paragraphs 219 to 298,

as if fully set forth herein, except that for purposes of Counts III, IV, V and VI, Co-Lead Plaintiff

Mississippi PERS expressly excludes and disclaims any allegation that could be construed as

alleging fraud or intentional or reckless misconduct, as these counts are based solely on claims of

strict liability and/or negligence under the Securities Act. This Count is brought against the

Underwriter Defendants and the Individual Securities Act Defendants on behalf of all persons or

entities who purchased the Company’s common stock issued pursuant to the Offerings.

       300.    The Underwriter Defendants and the Individual Securities Act Defendants were

sellers, offerors, and/or solicitors of purchasers of the Company’s common stock offered

pursuant to the Offering Documents. The Offering Documents contained untrue statements of

material facts, omitted to state other facts necessary to make the statements made not misleading,

and failed to disclose material facts. Their actions of solicitation included participating in the

preparation and dissemination of the false and misleading Offering Documents.

       301.    Additionally, the Individual Securities Act Defendants signed the Offering

Documents pursuant to which Millennial Media common stock was offered and sold. Each of

the Underwriter Defendants and the Individual Securities Act Defendants was motivated in part

to serve Millennial Media’s financial interest and their own.

       302.    The Underwriter Defendants and the Individual Securities Act Defendants owed

to the purchasers of the Company’s common stock, including Co-Lead Plaintiff Mississippi



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PERS and the other members of the Class, the duty to make a reasonable and diligent

investigation of the statements contained in the Offering Documents to ensure that such

statements were true and that there was no omission to state a material fact required to be stated

in order to make the statements contained therein not misleading. The Underwriter Defendants

and the Individual Securities Act Defendants knew of, or in the exercise of reasonable care

should have known of, the misstatements and omissions contained in the Offering Documents, as

set forth above.

       303.    Co-Lead Plaintiff Mississippi PERS and other members of the Class purchased

the Company’s common stock from the Underwriter Defendants and the Individual Securities

Act Defendants pursuant to the defective Offering Documents. Co-Lead Plaintiff Mississippi

PERS did not know, nor in the exercise of reasonable diligence could have known, of the false

nature of the statements and omissions contained in the Offering Documents.

       304.    By reason of the conduct alleged herein, the Underwriter Defendants and the

Individual Securities Act Defendants violated and/or controlled a person who violated Section

12(a)(2) of the Securities Act. Accordingly, Co-Lead Plaintiff Mississippi PERS and the other

members of the Class who hold the Company’s common stock purchased pursuant and/or

traceable to the Offerings have the right to rescind their purchases of and recover the

consideration paid for their Millennial Media common stock.

       305.    Co-Lead Plaintiff Mississippi PERS, individually and representatively, hereby

offers to tender to the Underwriter Defendants and the Individual Securities Act Defendants any

Millennial Media common stock that Co-Lead Plaintiff Mississippi PERS and the other members

of the Class continue to own, on behalf of all members of the Class who continue to own such

common stock, in return for the consideration paid for that stock, together with interest thereon.




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Co-Lead Plaintiff Mississippi PERS, individually and representatively on behalf of Class

members who have sold their Millennial Media common stock, is entitled to and hereby claims

rescission damages.

       306.    Less than one year elapsed between the time the facts upon which this Count is

based were or could reasonably have been discovered and the time this claim was brought. Less

than three years elapsed between the time that the securities upon which this Count is brought

were bona fide offered to the public and the time this action was commenced.

                                             COUNT V

                       For Violation of Section 15 of the Securities Act
                       Against the Individual Securities Act Defendants

       307.    Co-Lead Plaintiff Mississippi PERS repeats and realleges paragraphs 219 to 306,

as if fully set forth herein, except that for purposes of Counts III, IV, V and VI, Co-Lead Plaintiff

Mississippi PERS expressly excludes and disclaims any allegation that could be construed as

alleging fraud or intentional or reckless misconduct, as these counts are based solely on claims of

strict liability and/or negligence under the Securities Act.

       308.    This Claim is brought against the Individual Securities Act Defendants pursuant

to Section 15 of the Securities Act on behalf of all persons or entities who purchased the

Company’s common stock pursuant and/or traceable to the Offerings conducted pursuant to the

Offering Documents.

       309.    As set forth in Count I herein, the Company is liable pursuant to Section 11 of the

Securities Act. Each of the Individual Securities Act Defendants was a control person of the

Company with respect to the Offerings by virtue of such individual’s position as a senior

executive officer and/or director of the Company and had direct and/or indirect business and/or

personal relationships with other directors, officers, and/or major shareholders of the Company.



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By reason of their positions within the Company and/or positions on the board of directors of the

Company, the Individual Securities Act Defendants had the requisite power to directly or

indirectly control or influence the specific corporate policies that resulted in the unlawful acts

and conduct alleged in Count I.

       310.    Each of the Individual Securities Act Defendants was a culpable participant in the

violations of Section 11 of the Securities Act alleged in Count I above, based on their having

signed the IPO Documents and/or the Secondary Offering Documents and having otherwise

participated in the process that allowed the Offerings to be executed. The Individual Securities

Act Defendants, by virtue of their managerial and/or board positions with the Company,

controlled the Company, as well as the contents of the Offering Documents, at the time of the

Offerings. Each of the Individual Securities Act Defendants was provided with or had unlimited

access to copies of the Offering Documents, and had the ability to either prevent their issuance or

cause them to be corrected.

       311.    As a result, the Individual Securities Act Defendants are liable pursuant to Section

15 of the Securities Act for the primary violations of Section 11 of the Securities Act by the

Company.

       312.    By virtue of the foregoing, Co-Lead Plaintiff Mississippi PERS and other

members of the Class who purchased or otherwise acquired the Company’s common stock

pursuant and/or traceable to the Offerings are entitled to damages against the Individual

Securities Act Defendants.

       313.    Less than one year elapsed between the time Co-Lead Plaintiff Mississippi PERS

discovered or reasonably could have discovered the facts upon which this Count is based and the

time this claim was brought. Less than three years elapsed between the time that the securities




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upon which this Count is brought were bona fide offered to the public and the time this action

was commenced.

                                            COUNT VI

                        For Violation of Section 15 of the Securities Act
                         Against the Principal Shareholder Defendants

       314.    Co-Lead Plaintiff Mississippi PERS repeats and realleges paragraphs 219 to 313,

as if fully set forth herein, except that for purposes of Counts III, IV, V and VI, Co-Lead Plaintiff

Mississippi PERS expressly excludes and disclaims any allegation that could be construed as

alleging fraud or intentional or reckless misconduct, as these counts are based solely on claims of

strict liability and/or negligence under the Securities Act.

       315.    This Claim is brought against the Principal Shareholder Defendants pursuant to

Section 15 of the Securities Act on behalf of all persons or entities who purchased the

Company’s common stock pursuant and/or traceable to the Offerings conducted pursuant to the

Offering Documents.

       316.    Immediately prior to the IPO, the Principal Shareholder Defendants owned 71.6%

of Millennial Media’s common stock (or the equivalent number of shares of Millennial Media

preferred stock, which automatically converted into common stock at the time of the IPO) giving

them 71.6% of Millennial Media’s total voting power. Immediately prior to the Secondary

Offering, the Principal Shareholder Defendants owned of 61.5% of Millennial Media’s common

stock giving them 61.5% of Millennial Media’s total voting power.

       317.    The Principal Shareholder Defendants, through their voting power and the

appointment of Defendants Goodman, Gupta, Zachary, and Kerins as their designated directors

to Millennial Media’s nine-member board of directors, were each controlling persons of




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Millennial Media within the meaning of Section 15 of the Securities Act at the time of the IPO

and the Secondary Offering.

        318.    According to the Offering Documents, prior to the IPO, the Principal Shareholder

Defendants had entered into a fourth amended and restated voting agreement, pursuant to which

Defendants Palmieri, Millard, Zachary, Goodman, Gupta, Kerins, MacIntosh, Markley and

Tholen would serve on the Board of Directors during the IPO.

        319.    At the time of the IPO, Defendants Goodman, Gupta, Zachary, and Kerins served

as representatives of Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and

NEA, respectively, on the Millennial Media Board of Directors and were, effectively, the agents

of those entities:

        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               were the direct employers of Goodman, Gupta, Zachary, and Kerins, respectively;

        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               had access to all reports, agendas, information and other information available to
               Goodman, Gupta, Zachary, and Kerins as Company directors;

        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               participated in the preparation and dissemination of the IPO Documents through
               Goodman, Gupta, Zachary, and Kerins.

        320.    At the time of the Secondary Offering, Defendants Goodman, Gupta, Zachary,

and Kerins served as representatives of Bessemer Venture Partners, Columbia Capital, Charles

River Ventures, and NEA, respectively, on the Millennial Media Board of Directors and were,

effectively, the agents of those entities:

        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               were the direct employers of Goodman, Gupta, Zachary, and Kerins, respectively;

        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               had access to all reports, agendas, information and other information available to
               Goodman, Gupta, Zachary, and Kerins as Company directors;




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        •      Bessemer Venture Partners, Columbia Capital, Charles River Ventures, and NEA
               participated in the preparation and dissemination of the Secondary Offering
               Documents through Goodman, Gupta, Zachary, and Kerins.

        321.    By reason of the foregoing, the Principal Shareholder Defendants were able to,

and did, control the contents of the Offering Documents, which contained materially untrue or

misleading information and omitted material facts.

        322.    As a result, the Principal Shareholder Defendants are liable pursuant to Section 15

of the Securities Act for the primary violations of Section 11 of the Securities Act by the

Company and Defendants Goodman, Gupta, Zachary, and Kerins.

        323.    By virtue of the foregoing, Co-Lead Plaintiff Mississippi PERS and other

members of the Class who purchased or otherwise acquired the Company’s common stock

pursuant and/or traceable to the Offerings are entitled to damages against the Principal

Shareholder Defendants.

        324.    Less than one year elapsed between the time Co-Lead Plaintiff Mississippi PERS

discovered or reasonably could have discovered the facts upon which this Count is based and the

time this claim was brought. Less than three years elapsed between the time that the securities

upon which this Count is brought were bona fide offered to the public and the time this action

was commenced.

V.      CLASS ACTION ALLEGATIONS

        325.    Co-Lead Plaintiffs bring this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all persons who purchased or otherwise acquired

Millennial Media’s common stock during the Class Period and were damaged thereby. Excluded

from the Class are Defendants and their families, directors and officers of Millennial Media and

their families, and affiliates.




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       326.    The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits

to the parties and the Court. As of March 9, 2015, Millennial Media had 139,032,526 shares of

common stock, $.001 par value, outstanding.

       327.    There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class that

predominate over questions that may affect individual Class members include:

               a.      whether the Securities Act Defendants violated the Securities Act;

               b.      whether the Exchange Act Defendants violated the Exchange Act;

               c.      whether Defendants misrepresented material facts;

               d.      whether Defendants’ statements omitted material facts necessary in order
                       to make the statements made, in light of the circumstances under which
                       they were made, not misleading;

               e.      with respect to Co-Lead Plaintiffs’ Exchange Act claims, whether the
                       Exchange Act Defendants knew or recklessly disregarded that their
                       statements were false and misleading;

               f.      whether the prices of the Company’s securities were artificially inflated;
                       and

               g.      the extent of damage sustained by Class members and the appropriate
                       measure of damages.

       328.    Co-Lead Plaintiffs’ claims are typical of those of the Class because Co-Lead

Plaintiffs and the members of the Class sustained damages from Defendants’ wrongful conduct.

       329.    Co-Lead Plaintiffs will adequately protect the interests of the Class and have

retained counsel experienced in class action securities litigation. Co-Lead Plaintiffs have no

interests that conflict with those of the Class.

       330.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.



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VI.      PRAYER FOR RELIEF

         WHEREFORE, Co-Lead Plaintiffs pray for judgment as follows:

         1.      Declaring this action to be a proper class action pursuant to Federal Rule of Civil

      Procedure 23 on behalf of the Class defined herein;

         2.      Awarding Co-Lead Plaintiffs and the members of the Class damages and interest;

         3.      Awarding Co-Lead Plaintiffs reasonable costs and expenses incurred in this

      action, including attorneys’ fees and expert fees; and

         4.      Awarding such equitable or other relief as the Court may deem just and proper.

VII.     JURY TRIAL DEMAND

         Co-Lead Plaintiffs demand a trial by jury.


DATED: April 15, 2015                                 Respectfully submitted,

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                                  Class




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